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                                                                          ~uge l
 1

 2                    UNITED STATES DISTRICT COURT

 3                     SOUTHERN DISTRICT OF NEW YORK

 4

 5   CAROL MELTON,                  )
                                    )
 6         Plaint i ff,             ) Index No . 19 CV 09755 (VB)
                                    )
 7   - against-                     )
                                    )
 8   POUGHKEEPSIE CITY              )
     SCHOOL DISTRICT,               )
 9                                  )

10   ______________
        Defendant .
                    )
                                    )



11

12                               DEPOSITION OF

13                         NADINE ELTING-DARGAN

14                    CONDUCTED VIRTUALLY VIA ZOOM

15                        TUESDAY, JUNE 29, 2021

16                              10 : 48 A.M . EST

17

18

19

20

21

22

23   Reported By:

24   Cheryl A . Dixon, RPR, CRR

25   Job No:   196258


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                              flrtpm1i t.ion or NA01HR Rl,T TtlC •nASl\"'.AN', 1:<mdu1:1.nd       7.
           virtu-1)ly.                                                                            ;

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                                                                                                             399 Park Av,mu e

    •                                                                                             8          New York, NY 10022


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                                                                                                 10
 ll                                                                                              11

 12                                                                                              12
 ll                           Pursuant to notice, beto re cneryl A. Dixon,                       13    0)1 DWI.ALF OF TIJE DBFElIDAIIT,

 14       Registered Proreasiona l Reporter, certitieo Realtime                                  14          Mn . MARK RUSRPIELD. BSO,
 15       Reporter a nd. tio tary PUlllic in and tor tne State or                                15          S!ti\W PBR&LSON MAY £< LA.'mE:RT

tG        Texas.                                                                                 lG          21    van   Wagner Road.

17                                                                                               17          Poughk.eepsie, N'/ 12603
18                                                                                               10
19                                                                                               19
20                                                                                               20
21                                                                                               21
22                                                                                               22    Also Preaenc ,
23                                                                                               23    carol Malton
u                                                                                                ,.
25                                                                                               25

                                                                                        Page 4                                                                               Pages
  1                                                                                               1                          lladioo Elting-Dargan
  ?.                                               [ N D 6 X
  3                                                                               PME
                                                                                                  2                                    P RO C B E D I II C S
                                                                                                  3
                                                                                   '
  4       Appearances                                                                                                                        ••• oOo •••
  S       NADill'E BLTIM:i- OM.GAtf                                                               4                                   Nl\DINE llLTIN::-0/IRCAN,
  6
  7
             Bxami nation ey ~r. ~.rffl.:l.n
          witness Brrata Stw3et
                                                                                   •
                                                                                   160
                                                                                                       having been first duly s...,m, testified as foU""8,

 til      Coertiti<:~t.e of. Gtior th.inQ llq(l(>rtAr:                             16.t
                                                                                                                                          EX/\.\IINi\TI00
                                                                                                  7    B'l ~R . CIIRMl\N :
10'                                          8 X K I ft J T S                                     8          Q.       Good morning, Ms. Dargan.                Q:,uJ.d yoo please
J1        no.                     D££:CRIPTI0ll                                    PAO~           9    state your narrr:! ard. address for the record.
L~        Bx.hlblt .2             Dcpo!li t l o n NC-Lice: to                      12
                                                                                                 10                     MR. RUSHFIBlD, Ms. Darga,,, you can give
                                  Pougllkeepsle City S.chool Distric t
                                                                                                 11    the district 1 a address as your addres..c;.
13
          Rxhiblt       3         i.e t come Baek Memo                             OJ            12                          nlB WI'INESS:           Nadi.n,, ~lti ng-Oa,gan, 12

"         lbr.h1b1t
                       •          6111.8.11 S tring, Dates PCS00043 - 04G          108
                                                                                                 13
                                                                                                 14
                                                                                                       South Perry Street, PoughkeefGie, New York 12601.
                                                                                                       BY MR. CARMAN,
lS
          Kxhibit 5               Poughkeepsie City School                         122
                                                                                                 15          Q.       Have     you ever Ileen deposed before?
                                                                                                 16          A.       Yes.
"
17        b"Xt1U,i t 6
                                  District Health Ctt~ck Yorm
                                  MOTt;:8 ~t:.:1tr H~.il t h Ch clck 'Porm         l '.3'1       17          Q.       How tmny times?

"         B:r..hlbit    lS        Deposition Notice to Nadine                      12            18          Pt.      once, c.."1e other t ime.
,..                               F:lt i.ng . 0.1ry,111
                                                                                                 19          Q.       And what did that case relate to?

,.        ffx tl'i b i.t L6       Email £trj~g. Batea PC£0227                      87            20           A.      It was the case in reference to the eaue
                                                                                                 21    ecrpl oyee, carol Melton.
l1                                                                                               22           Q.    llnd was that her first suit that she brought
22
                                                                                                 23    against the district?
23
24                                                                                               24          A.       I don't te1iP.\te so.             I wasn't deposed in any
25                                                                                               25    other, but it was "'I understanding frc,n the ruoor mill


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                                                                                                                                                             Page 7
    l                          lladine Rl ting-oargan                                l                       NacH ne El t ing~oarg-a.n
    2   or just l:alk around the distr ict that she has sued the                     2    cccrpl et PJ.y and accurat el y. Urtdemt and?
    3   dist rict a n~r of ti~s.                                                     :;           A.       Yes.
 4                             MR . RUSHFJP.l.J):   Counsel, 1 think •.;.-e may                   Q.       Okay.     Plea Re let roe finish my questions
    S   have the saire siluatior1 wl~m thn e ' s some                                5    before you begin to answer             l«l   that the court rcp:irter
    5   misunderat and.ing vernut. dep<)s~ vernus testi.[yi_rig .          Yzy.J     6    can trarmcd.be -...hiil:. i s bejc>:J sa\d . Gcxxl?
    7   ll\.'iY ,,,.,mt to inv~stigat e that .                                       7            A.
 8      BY MIL CAR!'AN,                                                              8            Q.       You can also l eave a pause for your oounzol
 9           Q.     ~Ir.en did you previously gi ve testi~y                          9    to enter any objections that he cay have . He ill allcwed
10      =JOrdin,3 ~.s . Melton?                                                    10     to object to the form of a question, gcnoral1y tt-,.at ' s
11           A.    NaybP. t 1'u "'~eks ago, week ot · two weeks n.90, I            11     the only objection he is allowed to oake, unless
12      believe.                                                                   12     scxnethi03 ir.plicates privilege or in a few ve ry lim.itcd.
13           Q.    Was that in a 3020-a proceedir.g?                               13     cir~tanceD; but if you just give him a !r'Cm'mt to
14           l\.   Honestly, I •m not sure of what the                             14     enter ,n objection, that will allow the court reporter
15      p=edin.30 """".             I just kru,~ t hat I needed to be asked        15     to take that down. Makes sense?
16      questi~.                                                                   16          A.     Yea.
17           Q.      I just want to go O'Jer sane quick logistie1J                 17                             IIR. RUSIIFIE!D, 'Ihlnk you, Counsel.
lS      here. I 'm going to be asking questions and i t ' s ycur                   18                             IIR. Cl.&>M,    SUre .
19      job to     ans,..,,.
                        thooe questions completely and accurately.                 19     BY IIR. CI\Rl-111N:
20      Uildcrctond?                                                               20           Q.     To it t he anm,.-er to a quezt ion is •yes" or
21            A.        Yes, I do .                                                21     nno, n ple.aze say "yea" or "no" so that the court
22            Q.        If you do not hear or understand any of my                 22     reporter can transcribe ycur a.nm.er. It ' n difficul t for
23      questions, please let we knew ard I will rephrase th€fll.                  23     the court reporter to transcriw nods or ohakes of the
24      If you answer a question, f wi ll as s\.UOO t hat you have                 24     head.        ~.akes sense?
25      heard i t and understood i t and have answered i t                         25             A.       Yes.
                                                                Page B
 1                           Nadine Elting·lrugon                                   l                             Nadine Rlting·Dargan
 2            Q.        O:<ay. Are you wider the influence ol any                   2             A.       No.
 l      rredications or drugs that .wl d affec t your ability t o                   3          Q.    Did '.t')U discuss your doposition t oday with
 4      testify truthfully and oocpletel y today?                                   4     anybody other thrul Mr. Rushfie ld?
 s            A.   No.                                                              5             A.       No.
 6            Q.   lo there any rcanon you can think of that you                    6              Q.    Could you plcaoo describe your educatie<l,
 ?      would not bo able to testify truthfully and ocn'!)letely                    7     beginning •,ith high nchool ?
 8      todaY'I                                                                     8              A.    1 have a bachel or's i n elerrentary education,
 5           A.         No.                                                         9     ceJ;'t ificat ion conce.ntr:ation in cCJ'm1.ini.c.atioo , I have a
10            Q.        1<.iat did you do t o prepare for your                     10     mast er's jn educationa1 pS}'Chology, and l 'm working on
11      de-position to::lay?                                                       ll     11'11/ doctorate in educat ional leadership. 1 ha'le a school
12            A.        lxcuse ?OO?                                                12     d istrict adm.in.istrat ion leadership certi ficate . I'ra
n            Q.         What did you do to prepare for yoor                        1,3    working on my do:torate in leadership.
14      dep::>sition t oday?                                                       14              Q.    llnd -.ner:e d id you go t o high school?
1S            A.    I didn't do anything to prepare except for                     ]5              A.    1 gi:aduated high school in 1568.
16      make sure rr.; caler.dar was clear.                                        16              Q.    ~'here did yoo go to high school?
17           Q.     Did you speak with Mr. Rushfiel d before y,:x,r                1,1             A.    t •m oorry, [ thought you said lrwheu.
18      deposition today?                                                          18              Q.    That's fine.
19           A.     Net today, no.                                                 19              A.    Washingt<in Irving High Schc',ol in Mmhattan,
20           Q.     Did you speak wit h him before today?                          20     New York.
21           A.     Let ,re know that I needed to be prepared to                   21              Q.    And ,1,ere did you go to college?
n       speak, yes.                                                                22           A.        SUNY Kew Pa ltz for undergrad, fl. arist for
23           Q.     H<Y, Jeng did y,:x, <eet with Mr. Rushfield?                   23     gr;-dd, MCI.A fo.r: Iii'/ acinlnist rati ve tertificat.ioo, and
24           A.         A f~ m.inutes, l 1m not sure .                             24     cu_rrent.ly Sage College .
25           Q.         Did i'CU revie,,., any docurrents?                         25           Q.         And t hat 1 s for your doctorat e?


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                                                                    Page 10                                                                          i,;;age 11
     J                       Nodine Bl ting-Dil:gJn                                1                          Nadine Rl ti ng-0.rgan
     2         A.      Y~.                                                         2           Q.         And i,,.,ere }'OU the principal of a particular
     3         Q.    OkJ.y. I); you have an anticipated ccrnpletion                3   school ?
 4       date for your doctorate?                                                  4       A.             I wa5 the prindpal of r.brse R1errrJJtary
     5        A.     I do oot.                                                     5   School.
 6            Q.     OkJ.y. Where do you work now?                                 6           Q.         Okay. l\r.d how long did ycu hold that
     7        A.     I •'<>rk in the Poughkeei,sie City School                     7   position?
 8       Dictrict. I 'rn the interim director of inotructional                     8           A.         I'm sony?
 9       technology.                                                               9           Q.         lb.I long did )'OU bold too position of
10            Q.     And hew long have you hald that f.<)Si ti.<>n?              10    principal of Morse Eleirentacy School?
11            A.    This iD rrrt firct year in thi o ponition. I                 11         A.    Piv~ years.
12       woo appointed to this role in Noveirber of 2020.                        12         Q.    And what were your respcx,sibili ties as
13            Q.    Okay. P.nd siiat are your responsibilities ha                13    pd ncipa} of M::>.r:se?
l~       your current role?                                                      11           A.    As a princi pal, you are the instructional
l!,            A.      r•m the IM.nager and overseer of     the                  1S    leader for the buil ding. Yoo oversee the buil ding and
16       tedut0logy depart~nt. 1 manage all onlir.e resources                    16    all aspects of t he bu i lding froo, instructioo to
17       fo.r the instruction within the district.                               J'/   ma.l ntenanoe, cvstodlal ataf( to kitchen, the day-to-day
18             Q.    Can you jw,t repeat your full title for ,ne                 18    runnings o{ l he build ir)3. t visit classroors and
19       again, just to make sure I have i t do·,,n correct?                     19    monitor instruction, eval uate ~achera, evaluate
20              A.      I am interim director of instructional                   20    teaching assist ants. l evaluate all staff of the
21       tech..,:,logy.                                                          21    buil ding .
22             Q.   Okay. Prior to becoming the interim director                 22          Q.    Why di d you cl"<lose to transition from
23       of i nstructioml technology, .mt was ycur previous                      23    pr incipal of Mo~ to the lnterim di rec:Lor of
24       position?                                                               24    instructional technology?
25             A.    Princip.u.                                                  25          A.    l have been in education for 26 years and as

                                                                    P.:e.ge lZ                                                                       Pago 13
 1                           Nadirl& 8ltl.ng·Jl:irgar1                            l                   Nadine Blting-Dargan
 2       one of my goals Wd$ to work in central office, a.crl this                2         Q.    Let ire kn<r, when )'Q'J 've got trat op,n in
 3       i s my 27th year and an opportuni ty car.ie about that I was             J    front of you.
 ,       excited to apply for, and w--a.s acct!pt~d and so I a111 in a            4         A.    Yes, I have it open.
 S       """' xole , hoping for change.                                           5           O.          Have you ever eeen this docment before?
 6             Q.     All right . I am no, going to share with )""                6           A.          No, I have not. I cbn I t believe, oo anyway,
 ?       what we will ~k as Plai ntiff•s Exhibit 15.                              ·1   no.
 B                     !Exhibit 15 narked.}                                       a         Q.    So ycu w.dcrctand that ha\'c been &>si gnated
 9       BY }ll\. CAA.'WI:                                                        9    to testify on behalf of the diotrict as to certain
10            Q.    1his should be c<>lling through the chat. Let                10    topicc; is that r i ght?
11       me know if you have any is.sues c:p<>.ning th,, <lo<:urent.             11         A.    Ye::i, I do.
12            A.    l 'rn t.rying to <:pen l t . I'n on a Surface. I             12          Q.     Okay. And so i f ,,, scroll CDWJ\ to page 3,
13       have it oore.                                                           ).J   there I s a beading that• s 11 Topicc . • And you have been
14            Q.    Okay. Have you ever seen this d::>cull"ent                   14    designated to testify an behalf of the district as to
15       before?                                                                 15    topico 1, 2, 3, S, 13 and 15; correct? And I'll let
16
17
              "·
              Q.
                    t;o. ['ve never- seen it.
                    Okay. You uroerst and that you ' re here
                                                                                 16
                                                                                 17
                                                                                       ycu - - ycu can take a nxxrent to 1-ead them and let me
                                                                                       know if that I s correct. And if you need 1r.e to re~at
lB       testifying based on ycur per:,;ooal kmwledge in response                18    any of thonc null'ioer::i, pleane let me r.Jl.C\\I.
19       to tbe qu.e~tions that T aak; correct?                                  19         A.      I'm going to ask you to repeat th~ just so              j

20            A.      Yes.                                                       20    can wri te them down.
21            Q.     Okay,      You can c losP. out of that d.x:unen>;,          21           Q.          SUre.
22       l'm going to share another one with you now, what has                   22           /1..        Just a secoOO, and I'mnot in Tlr/ Cf#lt office
23       previously been narked •• Plaintiff's f.xhibit 2.                       2J    so I   illll - -   go ahead, 1.
24                      IExhilii t i marl«,d . J                                 24           Q.          Yes. 2, J, S, ll and 15.
25       BY MR. CAAMAN,                                                          25           l,.         Okay.


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                                                                   Page l4                                                                Page g
     l                       tladine Blting-Dazgon                            l                   Madine l!lting-Oargan
 2            Q.      ))> you unde rstand that you've been dcci9""tcd         2   another buildir.g, I believe, previously.
 3       to tcct i fy to those topics co behalf of the l'oughkcepcio          3        Q.    I believe you previoosly said yoo were a
 4       City School District?                                                4   principal at Morse for f ive years; is that right?
 s             /\.    Yes.                                                    5        A.    'lhat i s correct .
 6             Q.     Did you discus:. t hese topics with anyone e lse        6        Q.    Did you work with Ms . Melton for the full
 7       at Poughkeepsie Cit y School District?                               1   five years th.:;.t you were at l/orse?
 8            A.     I was told that I will need to recollect what            8         A.       Yes.
 9       occurred during sore incidents that occurred, ond I was              9        Q.    And did you knol< her before you becam,
JO       asked aOOIJt specific incide.nts, did I address inc idents          JO   principal at MJrse?
11       with Mrs. M:!ltoo, ye.a.                                            11         A.       Ye.s.
12            Q.     lind who as~..ed you those questioou?                   12          Q.    Had you i.«:irked with lter before yoo bccrure
13            A.     I believe it was Mr. Rushfield wltP.n we sroke .        13   pr j ucipal a t tl.orse?
14            Q.     ~then you say 11 when we spoke, n ynu 1 re              14        A.    Yes, I worked with Mrs. Melton \<mCll l •,as the
15       referring to the Etr11 minutes that you SJX'>ke to h)m in           15   assistant princi pal at the middle school.
16       prepardti.on for toc.ay •s depositi on?                             16        Q.     And •ilen ""'" t hat?
17            A.     Correct.                                                17        A.     I believe 2012, ' 13, aooewherc in there, I'm
18            Q.     Okay. Do you know the plaintiff in this                 18   not positive.
19       case, carol ~lton?                                                  H         Q.     Until .ti,.n?
20            A.      Yes, I do.                                             20        A,     I was only at the llliddle school for • year
21            Q.     l!cw long ruive you known Ms. Melt<>~?                  21   and a half.
22            A.     As l ong as I 've been in the district. I               22        Q.     SO approx.ir.;itely the ' l2· ' 1J school year; is
23       probably first worked with Ms . Molten, perh.,ps I can't            23   that right ?
24       recall the BXact year, tut i t 's been a nwrber of years            24        A.        Yes .
2S       that wa've worked together a.t ~~rse, as well as in                 2S        Q.      Okay.     In what capacJty d id you work with
                                                                Page 1ft                                                                  -P/lg8 17
 l                       Nadine R)tlr,g•Dargan                                l                    Nadine Elting-Dargan
 2       Ms. Melt on while you .,,re at the middle oohool?                    2        h.      Edgar Glasstot.
 J            A.     I was the "/t h grade a,$$i st&lt principal on           J        Q.     You referred. to one interactio.'l you Md wi th
 4       the seoond floor in the buildi ng and frt:rs. Meltoo w;;.s the       ~   Ms. r.elton, I believe at least one interaction, during
 5       teaching assistant in tha e<.np..1tel1 lab on tl~ aarre              5   that school year in reference to t he l ab. What did that
 6       £!oor:.                                l                             6   relate to?
 7            Q.     Oid you oversee Ms . tt.elton in her day~to·day          7         A.    It rel ated to Mrs. Meltcn act wanting to give
 8       q;erat i005?                                                         8   the keys over to the lab. Toe lab, I guess, had bee.~
 9            A.    She d ide't report to me per se. The building             9   Jocked . I don t recall tM e.."ltire situation, but she
                                                                                                     1



10       principal pretty much oversaw her responsibilities and              10   asked for representation to com d.c\m. W~ held a
11       assi gned •• 9"'-"' her her assisn11>?11t and her schedule,         11   or,eting with myoolf, Mrs . ».,ltoo, and the bui lding
12       """"'•r, I did have one i nteraction with Mrs. »eltco               12   principal. I was directed to ask her for the keys to
13       just in reference to the lab.                                       n    the lab in which she refused to give tl'.em to me in which
14              Q.     OMy. So i t 'a fair to say tmt you were               14   I went back to t he principal ond t here was another
15       cx;,.-orkera 00~ you were not OOr S'Jpervi sor at that point        15   Meting held after that m.,eting with represent ation from
16       in tiwe ; ia that right?                                            16   her union.
17              A.     Correct, I W'QS not her aupervlsor. I was an          17         Q.    Olly. So you referred to "representation' a
18       administrator in t ~.e wilding but not her imrediate                18   ooopl e of t i ?OOS, I j ust want to mke sure l'm clear.
19       supervisor . I believe that again t he principal kind of            19   When you cay "representation,• ycu ir~an a unioc:,
20       oversa~ the depart<rent . If I needed to interact as an             20   representative?
2]       admini eti:atot" addressing atudPellts, dealing with                21        A.      Yes .
22       situations wit hin the lab then, yes, i did in:;eract with          22        Q.    SO I just want t o ~akc sure I unde,st:and the
23       Mrs. Melton.                                                        23   aequence of events here . Ms. Jibltoo was assigned to a
24              Q.     And woo .-as the princ ipal of the llliddle           24   particular ooaputcr lab oo the aecond floor in the
25       school at that tire?                                                25   middle school; is that correct?


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                                                                            Pagt: lS                                                                         P.age 19
 1,                             Nadine Elting-Dargan                                    l                           Kadirte F.lting-Dargan
 ?.          A.          Yeah.                                                          ?.        Q.    And did - · -.-a.s t he assist;.1:1t principal on
 3           Q.    Ar.d she wa.s in poosession of a l:ey to t hat                       3    each f1oor n'!sp:;nsibl& for the activjtie& on that
 4    <:onJAfter Jab; oorrect?                                                          4    f loon
 5           A.          Correct.                                                       s           A.     Yes .
 6           Q.          Waa trull the only key to t he 0-.'Xu{ru: e.r lab?             6           Q.     Bul Lhay didn' t necessarily oversee all of
 'I         A.     J 00 rot k"rim.'. r did not reaHy i.«>rk wit h                       1    the ~npl o]'P.P-"i on that f1oor; is that dght?
 B    the lab at au other than when the princi~l said to~                               8          A.    Well, we all shared the r"'lponsiliility so --
 9    to get the keys fran Mrs. tt.el ton, other than that , l                          9    but r did oot ha•,e • - - there was no flo-< cJ,.art that
10    don' t know. I'm sure the custodial staff had a key to                           10    said that Mrs. Meltcn was my responsilii lity as the TA
11    the Jab, but. ..                                                                 ))    assigned to I.hat ]ab. lt ;..--as oo rrr1 Cloor 50 therefore l
12          Q.    l)o you know why the key was teqUired?                               17.   was tlie one wl~ 'Nt:IS asked to &~ak wi.th her and get the
ll          A.    I do not.                                                            13    key.
l~          Q.    Do you know why the principal reguested that                         14           Q.     !):,es   Glassoott still work for
                                                                                                                    Mr.
15    you get the key from Ms. lleltoo?                                                15    Poug~.keepsie Sct.ool District?
16          A.    Because I was tile adntinistrator on that floor                      16         1~.    He does r.ot .
17    so I overeaw that floor.                                                         17                Okay. l\oo when did he leave?
lB           Q.          Okay. So in the school -- well, st rike that.                 18                Maybe five, six yeare ago perhaJ!6.
19                           Htr" CM.'lY floors ~-ere there in the middle              19         Q.     D:> you kr.ow why he left?
20    school.                                                                          20         A.     I do oot know the cirC\IJ1\Stanceo behind - - I
21           A.          'l11ree plus the baserneJ1t, so fow:.                         21    know there was sooe -- 1 don't          mow.    I don't hav41
22           Q.          And did each floor have ao aooiatant                          22    detail to what occurred, no.
23    principal on it?                                                                 23         Q.    Okay. Did r,. . Mellen give you a reason •'ny
24         A.    11,e first, second, and third floor had ao                            24    she did not •-.at to gi ve you tl,e key to that oo,puter
2S    assistant pd.od pal on it.                                                       25    lab?
                                                                           Fage 20                                                                       Png1' 21
 1                              Hoo.inc Bl ting-Dargan                                  l                      Nadine Rltir.g-Dargan
 2
 3    fa.b"
             -and
              ~-   Pim what I recall, she just said "It's my
                 N::>. 11
                    11
                                                                                        2
                                                                                        3
                                                                                                  Q.    Im during those five years, llrs . llel tcn was
                                                                                             assigned to Mol'."".:oe; is that right?
 4          Q.    So that ' • all you recall of that interaction                        4           1-i.    Yes.
 5    is t hat she refused t o give }'O'J the key?                                      5           Q.      W.'l.at were f'a-s. Melton's as.signmcnts in Morse
 6          A.     Correct.                                                             6    while you ,,,re principal there?
 7          Q.    C'.<ay. /Ind llhat role did the union                                 7            h.     When I first care she was acsigned to a
 8    representative play in th.i.G interaction?                                        8    classroon i n 'lrhtlch she <,i-orked with a teacher in a
 9                        MR. RUS11l'I2LD: Objection to fonn.                           9    s~cial education classroooi. Teaching assisl:ant.s l.'ere
10                              You can anS'i\'er.                                     10    at this tir.,e being phaood into the speci al education
11                              TllE Wl'nl&SS: You mid I    C'1ll?                     11    progr""~ so .,, did not have addi tional teachir>]
12                              MR. RUSHFIELD:     You can, ye!;.                      12    assistants throughout the building. All of t he teaching
l3                              'IHE WI'INESS:            we
                                                 His role b.1sically   'il-'aS         13    assistants woric.ed with one of oor special edt.:cation
14    asked qucoticno ond l~s. Ve!ton would not q:eak direct ly                        14    classroans. V.Orse, I was fortunate that T had two
15    to me or Mr. Glossoott. Sho only spoke to the                                    15    additional -ms that worked with our prill\aty classes as
16    representative that was there 1 so I gue&i be sel"VOO as                         16    "11'ell. V.:rs. V.el ton was asoigncd to one of the
17    her spokeapcroon .                                                               17    self-contained classroc:ms.
16    BY MR. CARl'AN:                                                                  18         Q.    M!l when )")11 say "self-contained, • what does
19         Q.    And do you recall the union representative                            19    that m,an?


                                                                                                                                                     =
20    giving a reason •'ny Ms. Melton did aot provide the                              20           A.     Special education where it's a small class.
21    key?                                                                             21    'Self -contained" nx,anillJ they don't l!Dve fron       to
22           A.  I don' t recal l. It' a been oc:m, ti.ire.                            22    room. They stay with one teacher all day.
23         Q.    So for awroximately five )"'aro ycu ,,,re the                         23         Q.     l\r"1 do t hey also stay in one classrocxn all
24    principal of ~lorse Elementary School; is that right?                            2~    day?
25           A.          Yes.                                                          25           A.     Yes, except foe l!mic or gym. 111ey leave

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                                                                     Page 22                                                                                   Page 2 3
 1                   Jlodino Elting-Dargon                                      l                            Nadlne &1 tfog-Jlargan
 2   t~·ice a day, once for l unch ar.d. one for a special cla,s s              2     i tem.q aOO 1:het:"P. was 9Cre" c.xmn i.d l:ecause Mrs . ~lto.'1
 3   whether that i s art , music, g'/lt'I, libra.r;{, one of those;            J     fel t thtit t he s~ce that she w~s fo was considered her
 4   other than th.."lt, they arc with the o~ teachGr and                       4    space, and the c:lassro:xn t eacher fel t that Mrs. Helton
 5   teachw.<J assistant full ti.mo.                                            5    didn' t undei;stand that it. was a clasRi:ocm and she felt
 6        Q.     Ard so you said Mrs . t{Ql ton was assigned to a               6    LhaL Lhe enLire cbsst"OOln ..ras to l:e                u.aed for students.
 7   self-contained classroom; is thnt right?                                   'I   sa:ne of tOOse i t ems we~ - - t:he:-e were a couple of
 8         A.     Yes.                                                          a    different <:Up$ th::t Ms. Mel tci'I h.:id btot;ght in, ooro she
 9        Q.      And when did nhc hold that assigrn,:,nt?                      s    had brought i n for s tudent s, but t he t eacher felt t hat
10         A.     My fin;t year at !~roe.                                      10    it was dar.gercus. these ·~:ere students that had s~ial
11        Q.      And then did her assignment change your                      ll    needs and individualized educn.L ion plans, I.EPc Md sare
12   s«:o!'Y.i year at f•brsc?                                                 )2    of t hem <.."O'Jld get ar.qry fo a m:::ment , t:hro~ sarethill(J rutd
13          lt.    Her assi 9rb.1ent c,:hang~ hefo.r;e the end of that         .lJ   she felt that t he cupe were not a_opropriate to be in the
H    year, J l~lieve it was.     M_ra . .. _ the?"e 1,,,as a. ccoflict         14    claasroan.
15   between ~.rn. ~.el ton and the cla"5room teacher an:l t he                15                       Mrs . 1\elton alsc had her porsonal iPad
)6   cla~sroom tea<.:hec requested that Ms . Jile] ten be renx)Ved             16    that she used "hen ""rking with stooents and
]7   fran her c1as-s.cooo,.                                                    17    C>'a:s. 0' leacy felt t hat she did not want Mm. Melton to
18        Q.      And what ...:as t hat c lassr<X':f:'I lea-d1er ' s nmre?     18    use her perscoal device, again for fear th.1t it will be
l9   00 ycu recall?                                                            19    broken, thrcwn, destroyed, according to her,                     Arr.cl
20        A.    Kath]e().n O'E.,eary.                                          20    Mrs . i:elton felt that she should be able to use them,
21        Q.      And what was tht! oatuN of the ccmf1ict                      2)    and unt il I had t o ios·,e her a directive that she rust
22   between Mrs. Melton and t'.s. 0 ' 1.e.aty?                                22    take t hem home, l,ecause the teacher is requesting that
23        .~.     Ms. O' Leary conplained t hat Mrs . tt.el ton had            n     they   be   ret:?Qva)   f i:on the   c.:l assCQQ11,.
24   broc..'ght in sane personal itens that she stot:00 on a                   24           Q.    And t.ow old       ,,..re
                                                                                                                       the atudents that woro in
25   shelf in the room an::l si"e h;d asked her to m.we those                  25    thi s self ·contained <~la.i,srQ(Til?


 l                  Nadine Blting-Dargan                                        1                         r;adinc Elting-Dargan
 2        A.    This was a c..x:xnbinatioo three. to five, grades               2    using.
 J   three to five, so the children could have been from 8 to                   3                     So lrrf first step is to have the teacher
 4   11.                                                                        4    sp,.'lk to the indivimial on their              °""
                                                                                                                              first, as the

 •
 6
          Q.    Okay . So Ma. O' Leary approached ycu
     regarJing the i.ssue of Ms . f/al ton having cups .in the
                                                                                5
                                                                                6
                                                                                     teacher i n that classrw.n. If t hat doesn't work t he.n I
                                                                                     wi ll ireet with them to t ry to rrediate the situation ao:I
 1   =•   and also u.oing her personal \Pad with the student;                   7    return than to the classroon wit h t he hopes that the
 8   ic that correct?                                                           8    situation wi ll go a:1i1-ay. In this case it did not and
 9        A.     Yes.                                                           9    Krs. O' Leary then follClo'ed up with another emai l and
10        Q.    l\nd then •nen a teacher approaches )'OU with •                10    asked for Mrs. Meltcn to be ren-oved frcm her clai,a. Per
11   cooplaint about a teaching assi s t ant , what i s the f i rst            ll    the teacher's contract, thc:y ha,•c a -- thare is a clau..,e
12   step t hat you ""uld t ake as a principal. to ruldrenn that               12    in t he contract ~"hero they can request the ceachlr.g
ll   situation?                                                                l3    assistant be reroved from their classrocm if they do not
14         A.    Pirst , I would as!< the teacher if they've                   14    feel they aro able to l<lrk with the person.
l,   spoken with the et her peroon to see if they can                          15          Q.     And can you toll ro what t he tiire frame waa
16   reconcile the issue, to see if t hey can reconcile                        16    bet,-ccn the initial =t>laint rcgaroing the "'t)S and tr.e
11   what ever the prob1"11 is with the individual, and she                    17    iPad - -    ,,,11,let "" take a step h.,ck.

                                                                                                                           =
18   says she wasn't oomfortahle doing that, so we oot.               We       18                       Were the oocrplaint s about the wps and
19   then had a treeting with lll'fSelf, !,\rs, O' Leary and                   19    t he i Pad sul:fflitted at the      time?
20   Mrs. Melton a11d we spoke aboot her personal. i tems and                  20          A.     Well , one said items. She talked about
21   r.ot havi ng thi ngs in the classrooo,. Krs. ~Jeltcn shared               21    item. Md I thin~ f irnt it was the cups and I think
22   that she was using the iPad to aUj:pleirent the                           22    tre iPad c~ late r . I don' t OOlievo it '""1.S at the s~
2)   iru,truction with t he children. Mrs. O'Leary did not                     23    tiloo. 'lbase are separate inci dents.
24   agree -.ith t hat because ehe felt that s.ie was t he                     24          Q.    So -- I 'm oony, I didn 't t'l'lean to cut }'t'.J
2S   teacher and she did not a91>rove '-'·hat Mrs. Kelton was                  25    off. Aro you f inished?


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                                                                                                                                                           Page   n
     )                        Nadlne Blting·~cyan                             1                   Nadir.e El ting-Dargan
  2             /\.     T just S()id that I'm n~,t sure.                      2        A.    An adult - J believe it waz Mrs. Melton wM
                                                                                                                4




  3            Q.     Okay . can ycu • • what was t l"' ticre frrure          J   hit .ith something, and I believe it wao c:ie of the cup.s

  '
  5
         bet.wee.n th@. initial c:tnpla int al:oul. thP. c1.:ps ar.d when
         Ma. O' Leary i:eguested that M,a. Meltcn be moved to a
                                                                              4
                                                                              5
                                                                                  or something of that nature that a student thre...•.
                                                                                       Q.    O}.ay. So it 1 s your recollection that
  6      different roon? Do yw recall?                                        6   Mro. Melton""" hit with one of the aips that                      she
  7            A.      l don 't recall .                                      ?   herself had brought in; i s t hat right?

  ,
  B
         A
               Q.     Okay. Was it over the (.'00.C'Se of a few daya?
             fe-"' weeks?
                                                                              8
                                                                              9
                                                                                        11.     I think • •
                                                                                                       !lll. RUSlll'!EW:       Objection to fom.
 10           A.       It my ti.we spo.nned about two weeks.                10                         '1111! WI'l'Nr5S:   l   'mnot positive ••       you
 11      possibly.                                                          11    know, i t's been a while but there              •,ra,.o   an incident.
 12             Q.   Ol<ay. And so ultiwately ~ls . O'leary                 12    DY MR. Ci\lil'i,N:
 13      rcqueoted that Mn: . Melton be moved to a different room;          ll          Q.     Okay. ll."l<i after !ls . O' le<>ry requested that
 14      iG th.1t right?                                                    14    Ms. l'-~lton l:c r£11X.1Vcd from hor classrocm, ,tiere was she
 15           A.     Yes. At s~ point I tclievc one ot the                  15    movod to?
 16      children -· oom:,thing ha?P""OO with a cup, I c,in't               16          A.     That •s when 1 · · we had the lab, t he lab was
 17      recall eJ<lctly. I believe t~.1t MG. Melt on nuy have been         17    open and it w.as not D~rviscd by an adult at all tirres
 lB      hit with a cup or = t hing that <>=11.Ted in thnro in              18    throJghcut tho day, so in on offort to place Ms. ~lt on
                                                                                  in another environment that I knew- 't.""OUld be be.oeffoial
                                  =
 19      between thiv t ime. I <lcn' t recall exactly, but I do,            19
 20      you know - · I have           "''""Y
                                         of oanc oort of incident           20    t o the buildir.g, I assigned hor t o the cmi,uter lab.
 21      t hat occurred with the cup at oore point where caueonc            21          Q.     Okay. And wncrc "'" ·· take anot her step
 22      was injured.                                                       22    bock. How oony f loom docc flm:cc rove?
 23           Q.       So there was a ·· it 's your recollection that       23          ll.    'Ihe ba:::cm:mt plus throe floors tt-.at cl~sses
 24      at so.rie p:,int in t ire a student was i njured in the            24    are on.
 25      classroom; is that correct?                                        25          Q.      Ok.ly. lmd sni ch floor t1ao Ms. o •te.,i:y•a
1-- - - - - - - - - - - - - - - - - - - - = ~  = + - - - - - - - - - - - - - - - - -- - - - ·Page
                                            Page 2B
                                                                                             --                                                                   29
  1                           Nadine Bl ting·Dargon                          1                        Nadi ne El tir.g·Dargan
  2      classroetn on?                                                      2           Q.      Ok.ay. So Morse has a basrur,;nt that is also
  J            l\.     Tho firnt floor.                                      3    refenxtl to a.s the II first floor-"; is that correct?
 4             Q.      i\nd which floor was the oo,puter lob on?             4           A.      niat is correct.
  5            1\, )   First floo r .                                        s           Q.      And ~bat •s lccated on that f1oor?
 6             Q. )    Okay. And how arc clas,,roomo distr ibuted in         6           A.     On that floor iti tho gymnasium, the a,eic
 1       tho c lementa1y school? lllld by t hat I "'""' are they             ?    room, the art rcom, and thcre•s a self-coctainecl wi ng.
 8       arranged by grade?                                                  e    ffe ~.ad autistic cl asses i o tl"' building and tbooe
 9             A.      Yes.    Whrm I ca.-ne to ?-brse the cJasses ~re       9    cl afx>~ "-'er.e r()!Jsed toget her. 11-.ey were on a wing of
10       just rando:nly throughcut the ruildir,g. I n o = to                10    that floor as ....11. Arxl the a<k!itional room where tho
11       structure the buil ding to make it oore liveable for ""            11    physical educat ion stored l:.he i.r Pl< equiprrent .
12       to monitor classrocm instruction, I grcu:ped the grades            17.          Q.      I want to make sure I •ve got t his strai ght .
ll       together. So the f irst ard - - the f ir.st floor was t.M          ll    So co the bas..-ent/first floot, ,t,ieh is a singular
14       first grade and s,,clO!ld grade classes, a long with tlle          14     floor, t'.hei;e was the gym, rus-ic h:XJTIS, I believe you
1S       conputer lab, min offices, nurse •s office . 'llte -- I            JS    said a classroom or wing for autis tic s t udents; iu that
16       keep saying first f loor but l'hen ycu com:, into the              16    correct?
17       b.Jilding, it 's actually the second floor; so there •s            17              A.    Yes.
18       really throo floors in the wilding . It's the basea,mt             18              Q.    Mythi ng el se?
19       and th.e.re 1 s the Tl'ain floor that ycu cane in on which is      19              A.    The art rocrn, OTP'!' wt.ere they did their
20       lal:eled as the seccrd floor, and then t here 's the third         20    oocc;,atior.al therapy and physical therapy. 1llere wa,, a
21       floor up alxwe. I do.'1 1 t want it to seem like there 1 s         21    rornn thE!re where they storOO eill t heir belongings and
22       four floors in the bidding. There's three floors in the            22    they sa'"' stlrlents there in that r<:an. W      e had a
23       building. So the first was first and second grade, t he            23    class.r<;:Qn where PE t ead1e(s stond all their bclo~ingo,
24       top floors were gr.,des three, four, and tive. The                 24    and d g'nt nP..x.t door to that was a reset roan for rur
25       classes were clustered together.                                   25    st1..r.'denta with disabilities woo need a rron:ent, a jVJit)inJ


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                                                                    Page )0
  l                      lladine Elting-ilat9an                                1                           l{adir.-0 Eltin;J~furgtlD
  2    sp.ice.    There was a big mat for them to j lJll and                   2    tho caq:utcr lab?
  3    regroup.                                                                l          A.     l'lhon she 1ras ,roved to the lab she atay<d
  4         Q.      All r igl1t .   And then on the oa::oo:I floor .-as        4    thcn-c fe r the oext few years . She's been t here s ince I
  5    i icst and ~     rrl grade classro:tnn; correct?                        5    assigned her there. That was her assi grurent until I
  6         A.       Yes.                                                      6    left in Nove<roor of 2020 .
  'I        Q.      And t hen on the top floor , the third floor,              7          Q.    Oby. llnd is t he =i;uter lab still Jocat.oo
  e    was tl1ird, fourth, and fifth grade; right?                             8    en the first floor -- I 'm oorry, the cecond floor, wha t
  9         A.      Yes.                                                       9    lle're colling the seoond floor?
10          Q.        Okay. Aud t he ·· both Mrs . O'Le,u:y's                 10          A.    1t is not.
ll     d assi:-oc.m a.i)d the OOtt'pUter lab t-o which you m:>ved             11          Q.    ~Mre is it loc.1ted now?
l ?,   Nrs. Me l ton, those 'a.'ere both located on what ""-e're              12           A.      It ic llOft' -- lrl~ recei ved an additfor,al
ll     calling the second Clwr- which had fi rsl and seccnd                   13    classf"t'X'ln at 1-brse, an addi tional group of students, and
14     classrooms; correct ?                                                  14    so it is na.- on the first floor which ~~ call baseirent,
15           A.     Correct .                                                 1S    i t 's on the first on that OOttan level . There was a
16           Q.     Okay. AU r ight. De, you "'call aw,t •hen                 1.6   dassroan wherE! the PE teachers stored t.he ir equipnent
17     in the school year you ttl)ved Mrs. Mel ton to the cnrputer            l"/   a:rid that had to be repi.1rposed as a classroooi because it
18     lab?                                                                   18    was th~ onl y classrocm left in t he buil ding.
19           A,     I don ' t. t don' t kna11 the d;;,te or the rronth .      19           Q.      Okay. Al'ld you said t his irove was necesaarf
20           Q.     lb 'JOU recall if lt ...-as in t be spring                20    because Morse was receiving a new set of students and a
21     earester. or l:he fall s~st er ?                                       21    claMroo:11; is that correct?
22           A.     Honestly, 1 don•t rett¥!-:nber.                           22         A.    'Ihat is correct.
n            Q.     That's okay. I f you don ' t know, you don' t             21         Q.    And were the.so studcnt c caning fran a
24     kn<M.                                                                  24    different school ?
7.S                      So roll l ong was Mrs. Velten located in             25           A.       Yes.

                                                                                                                                             Page 33
 I                       lladine Elting-Dargan                                 1                           Nadlne P.1 t ing-tJ:1rgan
 2          Q.      Aoo what school w-,s tl1at ?                               2    thrcug.i finot and fifth, and this was now go~ t o be
 J          l\ .   All different scoools. It '• a special                      3    our fifth SSl'AR class ccming in. So t here was a domino
 4     educat ion cl ass, a.gain a self¥oontained cla ss, so based             4    effect, so the l ab 11.eOt to the first floor, t he ne-..-
 5     oo the needs of tlie student, t~.ey •-ere assi gned to these            5    ssr.AR class was goir:g into the room that a. current first
 6     classes. l11ia W-d.S coru.ide:red -- it ' s called a SSTAR              6    gi:-dde class wai; in, and that current f lr:st grade class
 7     class for autistic students, and so our ss·rp_~ cla&ae$                 ·,   was m:,ved dc,,m the hall to be en the same wing with tbe
 e     had students whose hc<reschool could have been any                      8    rest of the first grade classea.
 9     builclir.g in the district.                                             9           Q.    A.ad was that first grade claso that ,-as
10             Q.    So the new claas which we'll refer to as a               10    moving, was that also a SSTAA class?
11     SS'll'IR class; is that okay?                                          11           A.       It was not.
12             A.    No, it ' s positive.                                     12           Q.       It was a ael f -contait:ed class?
ll             Q.    Yeah, I juot wanted to make sure you and I               13         A.     It """ called an integrated section in which
14     are on the same page if I refer to a SS'l71R class, you' ll            14    they bad ecce atudenta with ex.<:ept.ionalities, but it waD
15     undcrctand this is what I 'm referd ng to?                             15    a mixed class . So a nwdmwn of 17. students rith a
16          A.    ~ -                                                         H     disability would be assigood to t hat class, rith up to
17          Q.    Okay. So ycu nr,ve t he computer lab from the               17    18 regular ed s t udent s, so it was a mixed c lass. A full
18     second floor to tlie first floor with t he inte.,tion of               18    class i t was going to be, not a smaller class l ike the
19     putting the new SSTAI\ cl ass Oil the aecor.d floor; is t hat          19    S'17!RS .
20     oorrect?                                                               20           Q.   Okay. A.'ld thi s ne,, class, t his new SS'Il'IR
21          A.    That i.s correct.                                           21    class that was C011Ung in t o the buildir.g, I believe you
22          Q.     Now you alr"4dy hod • •                                    22    said that ..ras the fif th SSfAR class; is that correct'?
23           A.    There was a doo.iro effect. So it was not                  23           A.      YOB.
24     j ust those t \l.Q classes that 1roved. We had now inherited           24           Q.      So wP-. re t he~ al ready four SS1AA classes in
25     five secticos on each grade level , first, second, third               25    Morse before this ne-.,,• one started?

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                                                                Page 34
  l                      Nadine Elt i.ng-Dorgon                             1                      Nadine El tfog-Dargan
 2          A.    Yeo, there Yerc four.                                     2   on the new ·,ing of tt.e building a.ad they had th• regu1a r
 3          Q.    Ar.d where wcr~ t OOoc c lausroom:l located, vo           J   win<bl<o and they did not havo to go cut -- that wasn't
 ~     those other four?                                                    4   the.ir e:rergency exit.
 5          A.   On t he first floor.                                       S         Q.     And does each class only have one e~rgency
 6          Q.   'li,.ooc woro a ll on the first fl oor?                    6   exit?
 7          A.     B.::"IS«fent f loor, the first floor.                   1          ll,    You bave one designated window as t~ rescue
 B          Q.   Okay. So sty -- what was the mtivation for                8    wirub"'. There are ceveral winder~ in the rooo"t l:ot one
 9    putting the new SSTI'IR claso on the second floor ,~n the            9    is designated as the rescue. /ind L-1 this partirula-r
10    rest of the SSTAR cl ass;,s were located on the fi rst              JO    toon\,    hct h of t he win<lcws had the ladder that you had to

                          =
11     floor?                                                             11    90 U? to act ual!y end up on the ot rcet level.
12          A.    '!hat     on the f irst floor, the cm:,rgcncy           12         Q.     l\nd oo on t he -- what we' re calling the
13    wirrlcw yoo had to climb up to get out of the 8m$!rgeocy            13    secood floor, blW high off the grou.od are the wir.do<.-s on
14    window and go up a slight ladder which led ycu out into             14    that floor?
15    the parking lot. 'Ibis was not feasi.b1e for stude:ntfi             15         A.      I don't kn<Y,. Probooly about the"""'
16    with disabilities l:ecause if the child was distracted              16    distance off of the ground as the other windct,,I, just not
l"I   and what have you for re.aeons such as this, we decided             17    with an additional ladder that ycu have to clini> up to
18    lt would he safest to have that SSTAR class upstairs and            18    get out.
19    not ·· since this was the only rror, on the first floor             19         Q.     So I just ~·.mt to make sure wa•re talking
20    that WP. had as an option, it was not the safe.st place             20    about tlie same thing. The second floor "'here you were
21    for that class to be.                                               21    going to put the new SSI'AR c lass, what was i ts
n          Q.     A'1d so t hese other four SSTAR cl assrcans that        22    designated wi.nck'1. aituation?
2)    we~ al so oo the first floor, they didn't have                      23         A.     You sil!J)l y cpcn the window aud if rescue i s
24    s imilar --                                                         24    right there, they' 11 be there to rroci ve t~ chtldren.
2S          A.    They did not .    ThJse ether four classes were         25         Q.     Okay. A.'ld is there a drop fran that windci,
                                                                                                                                               Page 37
 l                       Nadi ne FJting-Dargan                             I
 2    to the groJJ>.d?                                                     2    Sclmol.
 3         A.     Yes.                                                     3             Q.   Okay.    l understand t~,at that was the only
 4          Q.    And about """' far is that dttp?                         4    dassro:::rn avaifah)l!. My quest ion is s lightly different
 5           A.     l'm not sure, maybe -· 1 don't even kruw how           5    than that.      was tti-..at classroo:n, the P2: storage   roc:ci,   was
 6    to - - I don' t knew, n-aybe 10 feet, so..-ething like tloat         6    tliat tlte ooly l"OOOI that had this ladder that had to be
 7    waybe.                                                               '/   cliriled to reach ground level?
 8           Q.     Okay. />nd the windows on the f i rat floor, on        8          A.     Yes.
 9    t he l:ot ton floor, are they above ground l evel or belo,;          9          Q.     O.\ay. The other four SSJ:AR classroom did
10    grou.'ld level?                                                     10    not have a lad:i.er?
11         A.    Bel"".                                                   11         A.       'llley d id not .
12         Q.    They' re below g=nd level. So t o exit one               12         Q.       Jlow did ycu aoce,,s t hose four other SSTl\R
13    of those roore, yoo woold have to cpen the window and go            l3    claesroare?
14    outside; correct?                                                   14          A.    'ibe way they 11o0re h·Jj l t there was a -· I •m
15         A.     Yea.                                                    15    t rying to pi cture the outside •• h<xlestly, I <bt' t
16         Q.     And then you would have to cliri:h a lad:le.i;          16    rarernber ac tually how you got out of those wi.o:l?ws.
17    f rom a recessed JX)rl:.ioo around the ••indow up to the            17    This only ca:ne up because the_re was the questioo of
18    ground level; is that correct?                                      18    using th.is particular room. So that •s why I hare all
19         A.     'that ia oorrect. t'ttere was a gr.ate over .it         19    this knowl edge aoout this part: iculat classroan; bot
20    t hat you wcold also have to reo,ve.                                20    honestly, I •m not s·.rre what the othP.t process was.
21          Q.    Ok;Jy. And the Qnly d assrccrn that had this            21    Those u:xms 1rr,,er,e ther:e and as.,;.igned when I arrived and I
22    extra ladder waa the rocrn in -.tiich tt-.e Pe teachers wete        n     never changed t helll ar.d never: adkessed the is:rues with
2)    storing their equi poo11t; is tli.at right?                         23    those nxxra, so I can' t posi tively sa.y hC\11 they - - 'li'hen
24          A.    Yes, that \trl'aS the oo)y cla,ssroon left              7.4   they got out , wl-.ere they actually exited to.
25    available in t he boildirg . W    e had J J sections i n r<>ree     25         Q.     Okay . So s Jttl ng here today, yoo don' t know


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                                                                     Paget JO
 1                   Nadme Eltlllg·C8.l'()atl                                    1                    Nadir" £It ir,g-Dargan
 2   exactly how you '10Ul d have to exit thooc other four                       2                                     So the -- this •· there
                                                                                                              'lllE WITh'!lSS:
 3   classrooms; is that correct?                                                3    were several ether cl ass.en i n the bu.ildit"W3 that \l.'OU}d
 4         A.   I do not.                                                        4    have all of t he claosco together aoo they may have been
 5         Q.   Okay. You are oonficfunt that there 's no                        S    separated by naybe t he library or llCparated by another
 G   ladder requi red?                                                           6    rcxm. So this ',ii,lS s imilar in that this was the case on
 7         A.   I 'm confident that we ·- I 'm confident                         7    o ther floors <AS well.
 B    there 's no l adder because "'"' never had the conversation,               8    BY MR. CARMA!!:
 9   and t here was a lot of convcrDation about this                             9            Q.       There could be oomcthing in hetween
10   particular rooo lll which I originally •·•• goi ng to put                  10    classroan5?
11   t he SSTAA class in there and then the teachers brought                    11         A.    Correct.
12   all of t hese things to icy attention. So I wa.ot to                       12            Q.       But not a chasrocm f roo a di fferent grade?
13   l:elieve that there •11;-a s not t hi s i.asue ir. the other TtXXTIS       13            A.       Correc:L.      I n 01Y.t case we di.d have that
H    becauae one of the teachers waa g:>l ng to be 11oviny i nto                14    because we li.::d or1e teacher go fran fourth to fifth, oo
15   that ro:xo with the new student.a c~1.fog i n, aOO that's                  1S    there w-«a one separation wi thin t he act ual grade.
16   how it     came to my att en~icxt to beg:in.                               16         Q.     And so that tea<:her j ust kept their cl.wst'OOtl\
17         Q.     Was the new &,1AA classroom that ycu planned                  17    but ta~gh, a d.iffe,:e11t grade?
19                                            goiitg to~ the
     to !CY..:at:e on t he second floor, is Lhat                                18            'A.C.'orrect , because ~:e rol l the furniture next
19   onl y classroom that was separated from too other                          19    door or just stay here ar.d yaJ have one class in
20   cl assrocnq o( its type? l'or exairple, all of the first                   ?.O   h?tlo:een.
21   g rade classes together , all of tM second grade cfas ses                  21          Q.   So yoo 1re.nticw.ed earlier that you originall y
n    t ogether, all of the ss·1AA classes togeth"r except for                   22    were considering putting the SS'rAA - - the new SS'J1IR
23   thi£. cr.e?                                                                23    class into what had bee:1 the PE storage roan; j5 that
24                      MR. RUSl!FIELD:        Objection to forni.              24    r ight?
25                          You can .answer.                                    25           A.        Yes.

                                                                     Poage 40                                                                            Page 41
 l                   lladine Elting·Dai:g;m                                      l                            lladine E)tL11<J•Da,:gan
 2        Q.     Aoo then at sc:ce point one o r lfOre teachers                  2           A.        So the t eacher' s        union •• in each buildmg
 3   in these SS!AR classrOO!l\S raised the ooncern regarding                    3    there is • teacher that represent s the union and they as
 4   this l adder; is that correct?                                              4    a team that rreets with t:he bu.i l ding principal en a
 s        A.        Yes .                                                        5    nmthl y basis to go over ne-11 decisions, changes, thingG
 6        Q.        Okay.      r.o you rec.a l1 which teachers                   6    that a.re cx.'C."U.triug within the building, a."ld that per"..on
 7   awroached you?                                                              7    represents the union and ct-.eir right$ to en.sure that
 8        A.    Well, t he one teacher was the chief buil ding                   8    their righto are not violated in any w:ly J.rtd that •.-e are
 9   rep . So the teachers, when t hey had a ooncern, they                       9    in agreeo:ent wit h changes and thinga that will occur in
10   '"'uld go through t he building repreoont ative for their                  10    the buil ding.
11   Wlion. And so it was the oooversat ion that I had was                      11         Q.     Okay. Aid cb you kncY• ,tiether
12   with }Is. Her.dricY..son, at the tiioo we had not decided                  12    Mo. Hendricksoo was raisUJ<J the ooucem rc<J•rding the
13   which teacher would be in the room. We were only                           lJ    ladder en her o,u accord or whether she had discussed it
14   talking about the arlditional section that """' coming .                   14    with other teachers?
15   llnd it ...,, Ms. Kri stin P.endrickaon is the chief l>,ilding             15         A.    They bad d.iscussed it with other teachers
15   re;,, and she brought it to icy at tenti<m.                                16    because there were fi ve sectior.B and we 'lr"l ere gett ing --
17         Q.      And so ,..,. Ms . Hench:i clwcn, ,ras slie a SSTl\R          11    there were four sect ions, excuse me, ar.d we were gaining
18   teaCOOr?                                                                   18    a fifth aection aoo one of t he teachers fron the four
19        A.       res.                                                         19    sections would be nxr:ed into t he new room. So there was
20        Q.       c:<ay.     So she served in n>Jltiple roles, she             20    definitel y conversation runongst all of the SS'll\R
21   was for the SS'D\R teacher and a buil di ng representa~ive;                21    teachers about ·,dx, would be ,roved . They didn' t know at
22   is that right?                                                             22    t he t i rre .   I had not d iscussed who was going where.
23        A.    Yes .                                                           23           Q.  When yw rrade the decision that tho """ SS'll\R
24        Q.    And when you say "bJ.il d.ing representative, "                 24    classrocm should not be l cx:ated wi th t he other SST/\R
25   what does that rrean?                                                      25    cla85roans but instead shcul d le a floor above, ""re


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                                                                         Page u
 1                   lladino Elting-Dargan                                          1                   l!adir.c Eltin9-llm'9Jll
 2    there any oon<:erns that the students who >wld be in t he                     2   whatever ::itudenta were in that lab would need to e.'<lt
 3   clazsroom do-"netafra •.rould aloo struggle wi th the ladder                   3   via th.1t windmi', l adder, and grato; correct?
 4   and t he grate?                                                                4        l,.    Possibly, yes.
 5                           MR. RUSHFIELD: Ohje<:tion to form.                     5        Q.    Oily. Were there JJ1Y concerns that tliose
 6                           If you understand it, you can J.I1Zwer it.             6   students who would be there throughout the day also
 7                          'JUE Wlll!ESS: I don' t understar.d the                 7   would be unable or it would be unsafe for them to have
 8   qucation.                                                                      8   to exit in that r:unner?
 9   BY MR • CJI.Rl,l1\N:                                                           9        A.    l.bsolutely. There ,;as definitely o:,,,.cen) fo r
10          Q.      I' l l rep,'lrase. it t ~.en .                                 JO   any atudent which ls •.In}• that •..,'as the l ast rO<XD t hat wac
11                       You tcotified that t ~.e aotivation from                 11    UGCd as a cla~sroan.
12   coving the SSTAR cl ass fron placing i t not iu t he PB                      12          Q.      llnd oo hew did you 90 abcut 11\lki.ng the
13   s t or...ge roo.n but on the floor above was related to                      13    -decision to not put the SST>.R class in t here b.tt t o
14   concerns that it '"'Culd be unsafe for the stlrlents in                      14    put -- or at le.ast have a rotating group of other
15   t hat classrocm to have to navigate this l adder arrl grate                  1S    students be in that classroom?
16   in the event of an errergency; is that correct?                              16          A.      so the decision cat'!'e when l tr.ied t o get t he
17           A.     Toot in correct.                                              11    SSTAA class relocated to soon,place el~, ar.d at t he
18           Q.     Okay. Were there al so concerns that -- ~-ell,                18    district level I was unsuccessful, and when I 1raS t old
19   Jet me take a s t ep oock. St rike that.                                     19    that I \,1,)U}d have to use a classrocm. at vt)rae, lil1e: were
20                   When Y"" moved the ccq,utor lab to the                       20    now well into CO\IID and l.t! were using Chro~ks and
21   baserrent, there would sti ll be students in that coop2ter                   21    our students i'l1"e using: Chroroobooks; so at this p::,i nt J
22   l ab throughout the day; correct?                                            22    recognized t hilt i t waa oo l onger necessary for us to
23         A.    Thro.19hout th? day frem p,riod -- dcpcnd.ir.g                   2l    hJ.vo a.,actu.il lao \rt.bcre students would ha~ to ~ t:.o.
24   en the period of the day, yco .                                              24    n,, pcroon who swld be m:mning the l ab                  n..,..
                                                                                                                                           and lo'hen
25         Q.    Right. And in on event of ru, C100,:gency,                       25    Ms. Kelton returned my pl an was that she would be

                                                                                                                                                           Page 45
 l                          Nadine 81ting-lla,gan                                  1                            Nadi n~ lilting-Dargan
 2   pushing into the classrocns. So t here ',,l)Uld 00 oo re.al                   2    was that sbe was doir.g with t he stlrlents, project it in
 l   r.eed for the use of the lab every single day, but only                       3    the classrocxn, set up a ~ t , s t OO.e nts could log in t o
 4
 S
     periodically because all students r..c,11 have OU'anebooks.
     so ther.> wculd be no need for a full lab tbe way it                          '
                                                                                   5
                                                                                        submit .ar:d o::xrpl et e their assi.gnrtents or \rt.'hatever they
                                                                                        had to do . We were ,,,,e11 into using Goc:gle Cla.ssrr.x::ffl as
 6   QXisted before.         We had broken dcwn a ll of our                        6    a plat for.:n for instruct ion. So she would not hii.vj a
 7   Olwreboaks.        The carts had been distributed to all                      1    need for a lab full of cc,rputers a.rd student s woul d have
 8   s t udents because      •-e   d idn' t have enotigh Oirocreboo-ks             8    to c-..xre to the lab in order to do whatever l eGSOO was
 9   during CO'/ID to dls tdbute to all students , sc             ~   ended        9    there .
10   up using what ,.., had in t he l ab. So by the time the                      10                       Ms. Melton assi sted with our assecmnonts
11   deci s ion crure to irake t hat rocrn tlte lab, l was                        I.I   and aasessmen.t s ate all on t he c:x:mp.iter a.rid so she could
12   cx::mf'ortable with th:! fact that Mrs. f'..elton woul d t:e able            12    pull tha:n up. n,ey •re all w<>.b-based. Yoo can fUll them
13   t o push into classroom!I a/ld not be ccnoo,:r,ed with                       13    up wherever you. are, any e<:4t{JUter. Students can acccSD
14   studP.nt s being in the ac;tual n'X'.'Y.fl all day .                         14    them fran their Chrareboo.1cs and log m and she can still
15         Q.       When you say "push into classrOCf\'IS," what                  JS    supervlae that 1n•ttuetioo aoo S'Ot k wi th the teacher
16   does t ~.at rrean?                                                           16    du.ring that tiire frcm a.: y rocm. lt didn't have to - -
11         A.       SO instead d the -- Ms . Melton wc,rked in t he               11    any l onger •• it did not need t o be in a si:ecific room.
18   c0ttput ~r lab and she \irrw'Ould conduct lesson~ in the l ab                18           Q.     Okay. l t hlnk I under$tand 1,ot I w.mt to
19   with students . lnst ~ad of students ccmirtg int o the lab                   19    make sui:E the recotd is clear., and so I'd l ike to walk
20   to do those lessons, she "'o uld now go to the cl assl"OCr.l                 20    tht wgh t his step by st•p because r think there were --
21   so sha t'X'.)U]d have her plan for •.natever it was that she                 21    1 t hi.nk t hat 'Iii-as a farge anou.'\t of t irre       that you were
22   was 9:-,J,ig to do with t he student s. She could have t hat                 27.   covering there and kind of fonr.,u:d th.inking and I want
23   <m a c-.oogle Drive . She <."OUld .acoess it in a classrcxm.                 21    to mke sure     ,,.;e   get t hat a11   dc::,..m.   So • •
24   All classroom.,; have a sir.art board or a ~tiite board with                 24                                    Chje<:tion t o ti.. colloquy
                                                                                                            r-R. ~LBHPrBlJl:
25   a projector . She ~ool d be able to access whatever it                       25    but just waiting for- a question.


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                                                                             Page 44.                                                                        Page 47
  1                            llodino El ting- DJ.rgan                                   1                   Nadine El ting-Dargan
  2                            MR. C'I\RJ.1/\N:     Sure.                                 2   rerrote1y; correct?
  3    BY MR , CA.~'!:                                                                    3         A.      Yes.
  4         Q.    ll'hcn CO'IID firot otarted t he school went                                      Q.      Okay. lfaile that was going on, you l earned
  s    reiroto; is that correct ?                                                        s    that ycu r,.~re gettintj a fifth ~ c:lasaroom;
  6          A.      Yos.                                                                 6   correct?
  7         Q.     So the students ore co,pleting t heir                                  7         A.      Yes.
  8    coursev.ork from OOITC; right?                                                     8         Q.   IndGenta.lly, when di<i. you l earn that you
  9          A.      Yeo.                                                                 9   were going to be gaining this fifth cla.ssroooi?
1.0          Q.      Teadiers are tP..a.chi ng tran hare; roa;rect?                     JO          A.      l believe the ccnversation started in June .
11           A.      Yes.                                                               11          Q.      And that's Jur.e of 2020?
12             Q.    OkJ.y. ilnd throughout 001/ID, while tbc                           12          A.      Ye.s.
l3     di s t rict was Op:!rating renllte.ly, students were provided                    l3          Q.     Okay.
)4     with their    <Y...n    Chromehooks; i s that right'?                            l4          A.      While    '"''e   were s till out , rrm~hml.
)5           A.      District provided OlromOCoks to stu~.nts wt):)                     15          Q.        Okay. Was that after t he school yoar had
16     needed t he:n.                                                                   16    ~..J)Cf!d aft er the · ·
l 'I         Q.      When you say "t-ho r.eeded them, 11 do             }W   mean       l'/            A.     t>l:), no, no . Yeah, yes .

18     stlkients who did not othetwise have aoooss to a                                 18             Q.     So it wa;,; l:et'ft'een the '19 ... '20 school yoar and
19     COOFJter?                                                                        19    the •20~·21 school ye.ar; is that r ight?
20         A.    Yes. 'It.ere was a survey that went out and                            20          A.     1'h.~t ia oorr.ect .
21     stwents who needed a cctpJter in order to OO(t.plete                             21          Q.   So tl--.a ne-"• classroom 'liKYJld. be starting at the
22     their work at hcfre were provided a Orromebook.                                  22    beginnirg of '20· ' 21 school year?
23           Q.   Okay. So t he district took s teps to ensurs                          23          A.      Yes.
24     that every stuoont had access t o tbc technology                                 24          Q.     And that's '20- '21; correct?
2S     r.ecessary to continue their education while '\loOrting                          25          A.      Yes.

                                                                                                                                                             Page 4 ~
 l                            Nadine Elting•Dargan                                       l                         lladine Elting-Dargan
 2           Q.    Okay. ~t th\s point in ti"'l 1'hen you learned                        2    students in the cl assr00'1I versus the lab. My first
 3     that you no,, needed t o fi nd space in llotsa for an                             3    priority \ro'aS the classrooire and the students iJt the
 4     ent irely new classroom, you ult irr.ately concluded that                         4    classroc:rno every day as O!"POOed to the lab, The lab was
 5     the class that needed ·- tll:lt oould be n-oved was                               5    secooda.r:y in that l create a schedule for the lab to
 6     f.trs. Mel ton's cx::.ftplter l ab that had previously been or1                   6    assls t with cover.age . It was not a randatoiy cL.1.Ds that
 7     the second floor of Morse; is that right ?                                        '/    I had to have . so rcy Cirat priority was to el'lmU'.'C that
 8          A.    Yes.                                                                   8    all of my clasve::: had a :;pace that was <:or.ducive to
 9           Q.     l'Jld the ·· I believe ycu testified the                             9    t.OOir lea.ming. And so that was the last roan tliat we
10     rationale for that """ that Morse no longer had a need                           10    had l ooked at ; and therefore, the lab onded up being
11     for a ocq,uter lab that • • ,!,ere the students ..,,.J.d go                      11    that l ast roan that ·,e decided we """1ld use once "'
12     to access those corrputera; i8 that right?                                       12    figured C\Jt and got all of the classes with studer.ts
ll                        m. RUSlll'J llLD, Obje<:t ion to form,                        lJ    e,it aoliahed.
14                        Ycu can answer.                                               14    BY Ml. CAW.AN,
15     BY MR. CI\Rl'.l\N,                                                               15         Q.    1\00. i!ihen you say •cla!ioes with students,"
16          Q.       Is that right ?                                                    16    you're talking about classrocm.s that yaa anticipate will
17          A.       I 'm sotcy, r didn't hear?                                         l?    have students onoe they returned in per-.:;on; correct?
18           Q.     l di dn't hear yo\lr ans""r to my <r.>estion.                       18         A.      Yes.
19     But: my question was, you decided to rrove Mrs. ~ltoo I s                        19         Q.      l\t the beginning of the • 20- ' 21 school year
20     lab because }'t>U diCTI ' t feel that tt.orse needed a CC4rpUter                 20    were classes in person at that point in ti~?
2]     ).ah "1ere student.A ·1o10uld go in person to access the                         21         A.    At the begi.rming of which year?
22     OOfll)Ut ers an}'tl'Qte; correct?                                                22         Q.    The '20- '21 school year.
23                            MR. RU~lELD:            Object ion to fonn.               23         A.      No.
24                            You can answer.                                           24         Q.    Okay. Di d you have a plar, -- was tllers an
25                            r.n;;   Wl1Ni!.'3S:   My   concem 1<as aJ,o,,c the        25    expectatioo for when students """1ld return in person?


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                                                                        Page s o                                                                          Page Sl
 l                          Nadine Bl ~ing-0;.rgan                                   1                  Nadir£ Elting-Dargan
 2         /\.    'lnere were • omber of dat es that the                             2   basis period by period t he way we had used it
 J   district proposed rutd t hat changed cont inually                               3   previously.
 4   tlu-ougho<,t t ~.e =ths as school began .                                       4        Q.    Js the room on the fi ret floor smaller than
 5           Q.     Okay.                                                            5   the rocm on t he eeccnd floor?
 6                          111!1 REroim:R:     Cour,sel, is this a good             6         A.      1.tiey're exactly t he aarne ai zo.
 7   ti rre for a break yet? We've beeo going for about                 ru,          7        Q.       O'r.a.y.   Hew l'MnY ooup.iters were located i n
 B   hour.                                                                           8   Mra. •1elton ' a l ab on the seoo.,d floor?
 9                          MR. RUSH?I1lLD:      It certainly is for ""              9        A.     l,pproxi.ma;ely 25, maybe she had an extra
10   becaU!lc I think I need to wc the mcn'z ro::n.                                10    table in there, so she could hzlv~ got 11\,e!ybe 27 SO!re"'here
11                          MR. OWi/iN:       Yeah, t hat ' s fine.   We can       11    in there.
U    take a bi-.,ak and cane back in ten minut es; is t hat fa ir'!                12         Q.     l\nd were all 25 or 27 of t hooo co:,puters to
13                    TIIE REroRTER: Thank \'OU.                                   13    bo nx,ved to the ru:,w l ab on the firct floot?
14                          MR. RUSl!FIELD:      Yep.                              14          A.      Yes.
lS                          (Recezs taker..)                                       15         Q.       So when ycu sD.y th:lt    \t.1e 1 re   going to need for
16   BY MR. CAR/1'..iN:                                                            16    the sa:ne cap,.1city going foi,·a.rd, what c.1paci ty a.re you
I?         Q.     Before the break we were talking obout                           17    referring to there?
18   removal of M::s. Melton'c lab fron the oecood floor dew                       18         A.       So when t he l ab wac on the first (Joor
19   to t ho first floor , and b i t fair to say trot yoo                          19    propandemic, pre-C\'.lVID,    ,ro bJ.d a schedule """'""
20   di dn't belie ve that there W.l!. J. need a11.yaorc for a lab                 20    stlXicnts -- where elastics -- Yl'CUld be assigned to go to
21   with all of the oocrputers in it that st udents ""uld                         21    t he hb and t hey ,uuld work in the lab. 1\t thi• t itre we
22   physically go to?                                                             22    would not need to have t heoe cooi:utero set up anym:,re
23         l\.   Not in t he saroe capacity that it had been                       23    :tecause stu:ientiJ i,.;ill now have one-to-coo devices .
24   w;ed prior. OJ.ring t esting, when we have state test ing,                    24    Mr•. •1eltcn coold j w.;t
                                                                                                                 "" easily go t o t heir classroom
2S   '" •""'ld have the need for the space but not on a daily                      25    ac opposed to t hem ooming to t he catpUter lab.
                                                                       Page 52                                                                           Page 53
 1                      !ladine Elting-D.lrgan                                      l                         Nadine Rlting-Dargan
 2          Q.     So it was going to be an expectation tiult                       2         f,,,      Correct.
 3   student s would bring their devioe t o scbool every day;                       3         Q.        Okay. Then t he expectation going fonrard
 4   is tho1t ccnect?                                                               4    wooJd be    t b.lt t~.ey bri~ those devices every da-t to the
 5          A.     That ia the current expectat ion, ye~.                           5    classroan; right?
 6          Q.     O<ay. llnd I belic'Je ya,.i testified earlier                    6         A.       That is correct .
 7   t b.lt you too'.< rooa.Dures to eru;ure th.lt every student who                7         Q.     Okay. Talk a little bit more about tl1e lab
 8   r.eeded access to a device was able to get a Ch.rcAmbook;                      8    on the fi rat floor, the p roposed roan. So t here was a
 9   was that right ?                                                               9    designated wind:-M, right, whe~ the s tudents oould exit
10        A.       Yes .                                                           10    to street l evel up a ladder; right?
11        Q.       Okay.       ~nd is i t t hen a reguiremen, that                 11         A.       Yes.
12   eve.ty stl>::ler.t have their     CMJt   device that they can al so           12          Q.    I/ere t here a l so e"'llJ•ncy exits oot through
ll   bring to school every day?                                                    l.3   t he hallway i n that class?
H         A.        No.      Students -- when we return in person,                 14          A.    Yes. We have fire drills thwJghout the year
15   s t udents w'oo were usL119 their personal devices had to                     15    so that students and staff practice when there is a
16   rece ivo a. device from school. Personal devices are not                      16    drill h::w do they exit. llach roan has a sign w ch
l?   allowed oo t he neh .o rk i n the district . Therefore,                       17    indicates go l eft, go right, up, where t hey • · the path
LB   stude-nts wro •;.-ere c.sing t heir a.n devices at hmle ~re                   18    that they fol low.
19   ru,, 11,tlen they signed up to return to school in person,                    19          Q.     So in that par.:icular class.rcxxo en the first
20   chey were    00\!.'   issued a dist rict device.                              20    f loor that used to he the storage roon for t he PB
21        Q.       So by the t iff'O that students would be                        21    equiproont , if you exit that classrcx::m, there 's an
22   ret urni ng in porson to the classroom it was expected                        22    ecrergency exit either to the l eft or the tight; is that
23   that the school """'1d have enoogh devices that i t could                     23    correct ?
24   provide at least every stu:lent at Mor!le with a device;                      24          A.     That is correct.
25   i s that con-ect?                                                             25          Q.     llbcut how far fron the entrance t o the rooo,


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                                                                                                                                        Page ss
 l                     Nadlne Blting·Dasgan                                 J                   J{adine Elting-Darga.n
 2    is the erreL"geocy exit?                                              2   you estim:tte is al-.out a thousand feet away, once you go
 3        A.      rt is inmediately to th• lef:t: . You go up t he          3   out that OC<>r, are you on growid level or arc thcro
 4   steps.                                                                 4   steps heforP. or after that to get to ground level?
 s          Q.        So you ,ould also go up a teps to access the          5        A.    There are oo steps there. You •rc oo the
 6   emergency ex.it £run the first floor?                                  6   lower level, there •s a rairp, ycu go out the door, you go
 7          A.        No, to go out the ooor,; or •• so depeod.ing oo       7   up the ranp, you 1 re outside. lt t.akes you to the back
 8   where the .rocm is, and this parti~l~r IOOOI, when ycu                 e   parki ng lot in the rear of the wilding.
 9   come out of thia roan imoodiately to the left t here are               9         Q.    Okay. 1'he classroom en the second floor in
10   fire doorn, ~ if t~rc iG a fire t hozc. door:: clo~                   10   whiC'h Mrs. Mel too' a lab wao originally l<X'.at ed, di d it
11   automatically, t ren the atudents ...,uld not go left, they           11   have aoy special confi gurations to make it a coaputer
12   ,oold go right aod there ia an exit right .on t ~.at lo-..,r          12   lab?
13   level down the hall obout o thousand feet.                            13          A.    So cl fow yearn ago when 1 first carre to t,brse
14          Q.       i\bout a thouso.nd feet , really?                     14   there were ootlctc th,::tt 9,-ere in t he floor t-hfoh made it
15          A.        r•rn oony?                                           15   ca.:;icr to uoc ai; a l.tb becauoc then you can l eave t he
16          Q.       A thousand feet?                                      16   devices on t he tabl es and )'OU can plug them r i.ght i nto
17          A.        Frob..'Ully, I'm n:>t exact on t he diatJ.nCc but    17   th:: outlet. Subccquently the year after, that becaire • •
     it •!l ta,1,·ard.c · - it 'z in the center of the hallway. If              it w;io a l.w, t hen i t Wumt 't a lab, i t was back into a
            =
18                                                                         18
19   they           cut of the roat1 and went right, i t •e in the         19   firnt grade clam;roan J.nd oo wo h1d to cover t hosa
20   center of the hall,...y.                                              20   outlets, oo we no longer UDed them onym:,re. W)len
21          Q.       Okay. So the fire doors that are i1llllc"<liately     21   Ms. l/elton wc-nt into that roan as the l ab, "'~ didn' t use
22   to the left, those don' t go to the outside, do they?                 22   thooo labo into the floor which made it conducive to the
23          A.       !10. You' d have to go up t he stairs to get to       2J   lab. There was a laptq, cart that was there in the lab.
24   the tre1in level to go outGide.                                       24   The cart "'" pl ugged up in .hich she oculd charge
25          Q.       0:<ay. Aod this fire ex.it to t he right that         25   the laptops in the cart. She had stations along the
                                                               Page- !iG
 1                    !1adine Elting·llaI:Jon                               l                     Nadine Elt ir.g•Dargan
 2   side. 'lll~m   Wiln a long counter in the roan. She v.tlUl d           2        Q.    And di d you ever sec Mro. r<!elton use tl·.e
 3   put the de\'1.ces on that c0wttcr on the wir.dow le,Q'Jes to           3   cutlets in the f loor?
 4   charge them to make sure t hat they """' ch.u9od, aod                  4        A.    l(ot tb.:lt I recall. I wauldn' t go l oo.'<ing for
 5   then she wculd put them on the ta=les and the etud<>nt o               s   outlets. I'm looking at instruction and d~ling with
 6   would UDO than without the cxmls throughout the day.                   6   students, co I C.00 1 t re~ll .
 7        Q.     Olcoy. So they would be unpkgged while the                 7        Q.    Are thoDc O'Jtlcte tb.1t arc in the floor, are
 8   st'Udente were using them; correct?                                    8   they electrir..all y connected? Are they active live
 9          A.    Correct.                                                  9   <>ut lP.ts?
10          Q.    Ar.cl just running off of battery?                       10         A.      they we.re at c~ point and we had to turn
ll          A.    Correct.                                                 ll   them off because there was an electrical fire, I want to
12          Q.   O!Qy.  Did yoa -- strike that.                            12   say, maybe last year a little bit therQ was an inci dent.
13                   Did you ever spen.1 time cbserving                    13   so yes, they were active and at one pofot we did tum
14   Hrs. ~lton .,.,rking in the lab on the second floor?                  14   t.Mm off. We had covers for mos: of t hem. I thi nk t wo
15                     MR. RUSHPillLD: Objection to form. Are              15   of t hMI the covers had been lost or not m.J.re what
16   you tal king about like a formal cb~rvation or yoo 1 re               16   happened with tiler.I, tut those oo: lets did work at one
11   just saying seen her?                                                 17   point and i t was off ard on.
18   BY MR, CA.'li'WI:                                                     18          Q.     Okay. It's fair to say that yo,, didn' t watch
19          Q.    In any capacity, did y~ observc her                      19   r.rrs. llelton perfonn her duties evety s ingle day;
20   1«>rking?                                                             20   right?
21         l\.   As the luilding principal, I ""°t into the                21         A.      Not evety s ingle day, no.
22   classroom, y~. If I needed to get a student , if r                    22         Q.      So you den 1 t know whether at SO!ll;? point in
23   need<>d to speak with her abco, a project or something                23   t irn:! she ever used th:>se cutl ets in t he floor, &, you?
24   eloo that si".e may have been working on, yes, I did see              24           A.    I dcr,• t believe so because we had
25   her.                                                                  25   oc:mrunicated with the custodi.ms.     I had boon involved

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                                                                  ll.aglol !.fl                                                                   Page !.9
 1                               Nadine Eltl r.g·~rgan                             l                       lladine 8l t lng·Dargan
 ?.   fo requ@.st ing th.al they bP. the po.-.lrr · · the 1x:wer l:e               ?.           Q.    Di d it have a l edge like the roor1abc·.rc t hat
 J    U.J1:t1ed off frcm them to avoid a fire. so I don't ki'lt)'..r               3    tlO\ll d be us"1 w)1ile charging laptoJ)6?
 4     for sun! l.Mt s he 's ~ver plugged anything in it: o-r                      4            A.    1 'm sorry, sny that aga in. Did it have --
 S    ;,d,ether fme d id or she didn' t .                                          5            Q.    Sure. I bel i eve earl ier you tcDtifi01 that
 6             Q.    When ctid that 0011T11.U11icaliun u~,: you j us t             6    the lab on the second floor had a ledge or a counter
 '1   referred to ·ai th t he c,isl:c.i dia.r-s rogardir.g t urning l:~,e          7    that flrs. Melton could s;, the l aptops on while t hey
 a    pc:1..-et off, 1A hen did that happen?
                          1
                                                                                   8    'l<l'ere charging; ia that right?
 9             A.    i t "·• wi t hin .the last year perhap, . Jt was              9         A.    \'es.
10    before <X:iVID - - no, it waa."l't, m)'i,e it was during. I'm               10         Q.    Was t here a similar ledge or oo..rnter in the
11    not JX)si t.ive of the date, but l lwJ ieve jL was wit.hlo                  11    first flooc room where ycu were iroving the l ab?
12    the l ast yeas or hal f or so, """"'llere in Lhere.                         12         I,.     '!here was no 1"1ge oo: tl1e laptop carto '"uld
ll         Q.     Mrs. Ct,:,lton was in t hat lab for fcur years                  13    be going <ic:wn to the lab were rro-ved as we.l 1, oo tl:e
14    prior to that; correct?                                                     14    laptop carts could be w,ed to ch.u'9" the devi ces.
15             A.        Yes .                                                    15         Q.      Jlnd so I 'm net exactly suro wt»t • laptop
16             Q.        So in those foor yc.;rs those outl ets were              16    cart is. How bi g is the l aptop cait?
17    live; r i g.ot?                                                             17         /\,    Lille a metal cabinet, it probably •• it can
18         A.       re I said, l 'm not aure whet her they were off               18    hold up to 30 <ievicet.. It• a pcwcred ruld yoo l eave all
19    or on the i,l,ole tiwe.                                                     19    of the oordo for the laptop in the cart ar.d you s imply
20         Q.       Okay. So you just don 1 t know one way or                     20    at the end of the day you plt>J all of the devices · · }'OU
21    another; oorrect?                                                           21    put all o: the devices in each slot and they charge
22            A.         No.                                                      22    overnight and you take t he:n crut and w:c them the next
23           Q.    Okay. Ol d the room in the baseioon~ first                     23    day.
24    f.lo:>r have electrical cutlets in the floor?                               24         Q.    O.\ay. Go back real quick to sarething you
25            A.         No.                                                      25    were talking about earlier. You said there was an

                                                                 Page GO
 1                     Nadine El ting-Dargan                                       1                      Nadine Elting-Dargan
 2    electrical fire m the """l"'tcr lab on the oecond floor;                     2           Q.   Do you k:oo, hew ma., y are   m t he   new lab i n
 l    i s that correct'?                                                           3    the OOGC111Cnt?
 4          A.    At one point wren the custodians were                            4         A.    I do not know.
 5    cleaning they were buffering the floor, apparently                           s         Q.    Do you know one way or another whe~r there
 5    oomething -· sane type of n,::,i sture 50t into there and it                 6    are mre in the lah oo the ceocnd floor or rrore?
 7    began to srroke, yea.                                                        7         I\.   There are defini tely nore on the secood floor
 8         Q.    And do you recal 1 ,t,en tltis was?                               8    because again this is the ne-.1 wir.g. "l'he new 1rdng, all
 9            A.  I don 1 t. I don 't remrrber th::! tocnth, no.                   9    o f tM classrocxrs have a&Htional ()IJtl et a, ll'Ore outlets
LO          Q.    Do you 11!t00Wber sllich school i t happ,ned                    10    than the old c lassroans had.
11    durin<J, was this aro .llld a year ago when you h.,d --                     11         Q.     O'<I!.y. When you prcposed movi ng t.he ro,puter
12          A.    I believe when ,e were oot of school oocause                    12    lab froo, the second floor to t he base!!lent, who did yo-a
13    there was no one in the building.                                           13    have to discuss t hat proposal with to get that
14         Q.    O?o:iy. So )'OU think it wao in the mr.ircr                      14    awroved?
15    ronths?                                                                     15         A,     I 000' t have to discuss it with anyore. As
16         A.    I believe it was in the sunner rront h.s.                        16    the building pr incipal , I decide which class 9>0S >1here.
17            Q. Okay. ll'as t i>:! fire ru>pa1tment called or                    17         Q.     So t~.ere•s nobody who you consult with
JS    anything when that haj,pened?                                               18    regarding technological requirements or energy
19         A.    I don ' t recall because 1 got a mesGagc f roo                   19    requireirents for particular spaces?
20    tho cuotodian that it occurred. ]gain, ar; I ca.id, no                      20         A.     If there is a question about: the space and
21    one   'lfsl.G   in the building, it was just the custodians,                21    whether or not it i s conducive to lea.mi~ the,
22    they were cleaning; zo I 1 mnot sure.                                       22    whichever representative is making that request wcold
23         Q.     Do you !<now how many olcctrical outlets are                    23    t hen make t hat request to facilities ar.d to 9row,d.s and
24    in the loll on the second flooc?                                            24    facilities to the he.ad of facilities for the district.
25         A.     I don't kn<M oo, many, no.                                      25    That is not und9r my purview. There have been ti~a


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                                                                     Page 62                                                                        Pt1ge 6 3
     l                    Nodine Bl t ing-Dorg,n                                I                            Nadine Rlt ing -Dargan
     2   Ylilerc teachers h..1ve gucctioned t he ai r qualit y ot    ~          2             11.     I do not .
     3   rocro, thot •""'1d go t <> facilit icc in which they cm                l             Q.      Okay. When faci lities ll\,lt...es thia
     4   condu=t all a i rMquality t est . In this caae, the teacher!!          4    determination t hat a room can or cannot 00 osP.d as a
     5   were gucntioni~ whctre-r or not the egresz for cm:?rncncy              5    claGSroo:n, do tb2y catGgorize it a.s to t he t ypes of
     5   Gituationz were oonducivc in 1t.Tiich t hey centacted                  6    student s t hat i t •s approved for?
     1   facilities and we h.ld the ccnversat ion and the room wac              1              No, it 1D e.ith~r safe for studer1ta or not.
                                                                                              :....
    8    dcDignatcd an ~ c..U c roco to ue<: fo= ot udcnt& . Eklwvor,           8        Q.    So it's a binary determinat ion; c..-o:n:ect?
    9    after having the conversation with several teacbern and                9                  1-R. RUSHPJELD: Objection to form.
 to      myself and RTf assistant prir.cipal and thP. mlverrent of             10                  'Jli€ wr n..113SS : r <loo. t know wh.it a 11bin.J.ry
11       other cloccrooms with.in the building to keep cur                     11    deteminationn is.
12       clUflters t ogether, it was my decfoion t o use this                  12    BY MR. CARMl'JI:
 13      particular room.                                                      n          Q.    IV s either one             oc t he other, it 's either
14             Q.     So when you say that the room in thP. base'.'Mnt         14    safe or unsafe; correct?
15       was &!signated as safe to use for students - - I believe              15             A.      Yes.
15       that •s what you j ust said; r ight?                                  16             Q. Okay. And so t here W-<iS no reason £rem
17             A.     Correct .                                                1'I   facHities' point <>f view that t hat roan in the baocmcnt
!8             Q.     W"oo made that determination?                            18    ccold t1Ct be -used as a SSTAA classroan; correct ?
 l9            A.     Facilities and grounds car.ie over. They                 19          A.    Correct.
20       brought in aoother gent lem:in, 1 'm not sure who i t was ,           20          Q.    'l'hat was a detenninat i.on that yoo era.de;
21       someone else to l ook at the setting, the spa,:,, i n the             21    r ight?
22       roan, to det ermine whetOOr or not i t ooul d ~ used as a             22          A.    Yes, based on th• groupings and how r wanted
23       classroan.                                                            23    t he building set up, yes.
24             Q.      Okay.       Md you dco't recall t his o,her             24          Q.    And i n your role as principal , you have total
25       9entlell\111 1 s DJ.m3?                                               25    discretion over what classrco:n goes where?
                                                                                                                                                    Page 6S
  l                          Nadine 81 t ing-Jlatya.n                           1                       Nadir,:, Elting•Dargan
 2              A.     Yes. I a lso had a conversation vith the                 2    W-d.a the ettd of rT1/ conversati on about whet her or not       too
 3       d i rector of st\rlents .,,,\ th exceptiooalities which is the         l    r OCOl"'°u.ld be uaed at all.

 '
 5
         departrMrlt that assigr>.s that class to t he biJildi:ng . l'l'e
         shared with them as well that we were L-i t his dilenma                '
                                                                                5
                                                                                              Q.   So before you rrade the final deci!lion t o ioove
                                                                                     the l ab, you had discusaed with M:rs. Melton whether sre
 6       about whetiler or not the room '1as goi~ to oo able t o oo             6    had any conc."en1s cega.tw.ng nvv ing t he l ab £rem the
 7       usable and s1lere we would put children JDd what have                  1    secood floor to the fi1;11t floor?
 s       you. So yes, I made the ulti .... te decision in t he end,             8                      MR. RUSHF[2UJ: Objectioo to form.
 9       ho°•-ever , there were .sever.a) people involved in ensuring           9                         nm    WI'iNESS:    No.   I sent her a iressage
10       that the room ..as c3 saf e space t o uae.                            10    l etting her know t hat the lab was going to be iooved and
]l              Q.     So by new you've mentiorcOO t hat you consul ted        11    she shared her concern.
l2       wi th facUities and grou,,ds, J,<>U consult ed with the               12    BY t'R. CAAl'llN:
IJ       ssm t eacher who raise<l the concern regatdir.9 t he                  13         Q.       Okay. ,\,d did her aharing thooe oonoems
ll       la.ddei: with you, ar.d then you consu1te.i with, r•m son;y,          14    prorpt yuu to reoansider or thin.'< further en whether
l5       I fol'<?t t:llefr t i tle but tho ••                                  15    that r.i:rn, was t he mve you ultiirately wanted to m,i<e?
16             A.      'l~ d irector for stUOO.n:s wit h.                      16         A.       Absolutely, because [ •,anted to 111<1lce sure
l7       except iona 1i tle.'L                                                 17    that t he outlets that were there ·=l d support at least
18             Q.      Yes . 11ie director for students wi th                  18    tt.,   cart.
19       ~.xceptionalit jes. Did you consult with anyon.e e1,i;.e j n          19          Q.    Okay. l\r,d what did YOJ do to ensuro that
20       waking your doclsicn?                                                 20    t hat was the case?
?.l            A.      I rece:lved a ccrupl e of errails frcm                  21          A.    Faci lities care in and we bad the
n        Mr9 . MP.iton fo r efer,eno& to the room and 'il.1)et he.r or not     22    conversation about what waa g,ing to be in the roan arul
23       she felt t:.lut nxxn was suitable to 00 used as a lab in              23    whether oc oot t he out l ets """' sui tabl e to uoo for a
         t eems of thP. devicP.s and what have~- And again, oooe               24    cart or to plug devices up. Tnere ""-ere not a lot of
         facil itiP.a came in and declar ed the rocm as safo, that             25    outlets i n the room oo that was definitely a concern


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                                                                                                                                                 P.age 67
     l                     Nadine Rlt.ing• llai:ga.n                               1                     Nadine Elting-Dargan
  2      aft er 1't,. t-~ll'.on brought i L t.o my att ention. &lt after       2             Q.    What i!i BOCF.S?
  3      having the conv~rsation and thQ fact r.hat we oould use               3             A.    EOCES io a lccal organization. I believe
  ,.     t~ cart. and we woul d be okay, \'."e a hm had Rl.udents wit h        4        there is a depa1trrcnt within BOCZS, we get scrre of our
  5       thei.r own c.Jevioos, she \o.ould nol ~ i n t.he room all the        5       educaticmal r e"'...a,.irceo from OCCBS. I believe there is - -
  6       tine, ITT/ decision was .i t.'a (ir:,e Cor t he lab to be here.      6       l can't tell you in 1oilat capacity they wn,k wi th the
  7            Q.     F'acil it iP.t. infcmred you_that they believed          7       district in terms of facilitico and grwnds because I
         t he ele<~trical capabilities .i'n thP. rocxn in t he Wsecrent        8       doo' t k:nml. r do kr1cw that in cases s1lere again there
  9      \\~re su((icierit for the lab; is that correct ?                      9       is a ooaplaint that the ::;pace isn ' t suitable, the air
10              A.       'J.bat is correct.                                   10       quality jsn •t suitable, J~rhaps the facilitie!j
i1             Q.        Arxl do you recall. who )W spoke 1'ith at            11       departcoont rcJ.:hcs cut to t his resoorce to cure in a.'ld
l ?.     fa,cil i t:t es regarcHr:9 t hat deterrniciatio:,.?                  12       nm sorre tests and asoco.o wha.t otate guidel.ir.es woul d
13             A.         I remeiroer J irarrt t!cRay wao one of tho people   13       require to make sure that the build i'ng has what ' t:
14       that came over and wa.lked. "As I said, there w,10 another           14       needed.
15       gentlecran, I don' t recall this gentlemm' s nrure.        I want    15             Q.     rx, you Jcncr, 1<hether air•quality tests ,-cro
16       to say he ,ray have been frcm BOCFS.                                 16       run for the roo:n in the baserrent?
17             Q.    Fron what?                                               17            A.       'there was not a question abcut air qu..1lity
15             II.   B·O·C·E·S. I 'm not sure 1'hich OC<:l!S he m.1y          18       for this rc..'<Y.n. I just mt,>.nticrted ah quality bcCJ.UDe
19       have care frco, rut he joined alo~ ,..ith Mr. Roy Tinoloy            19       that's the only other ti"' that I know of .IIOCE:S coming
20       ;.bo is the head custodian for f!'.orse School, ill'f.:;elf,         20       in.
2)       Mrs. Penn, my assistant principal, and I believe th..1t              21             Q.   So s,:,uld air quality only be tested if
22       wae it .                                                             22       sancbody raises a question regarding alr quality?
23             Q.   Ycu re(e.rred to sorethIDJ j ust a rrcment                23             l,.  To ory l<ncwledge, that's the only t ime that
24       August called "SOC'.llS" ; tight?                                    24       I 'vc he~ ~y dis..""'\JSsion about air qua) ity is Ml.en i t
?.5          A.     Yea.                                                      25       wao brought up by an e,rployee.

                                                                   Page GB                                                                       Page G9
 l                       Nadine Elting-Do.rgan                                 l                       Nadine lilting-Dargan
 2            Q.     So if you' re just roving rooms around                    2       racilities and gro,mw, then makes the phone call and
 J       there'• -- strike that.                                               3       they put the ><hole thlng together. That piece of it has
 4                         A.w ti.ere   you rove roomG aro.md, does            ~       ncthing t o do wjth rm. l ainply participate as t he
 5       facilities caoo in to We a determination whether that                 s       building principal.
 6       ro:::ro. is suitabl e for a claasrcom?                                61           Q.     Okay. So when Mrs . Melton expressed to you
 7                A.    tlo. I! the rocm is already in use then we             1       her concerns, did yco refer het to the prooezc of
 S       continue to uoc the zpace \L'iless there is sore sott of              8       subrJtting a "'<lU"•t to the central office or did you
 9       co,rplaint .                                                          9       initiate that engageirent with the oentral office to test
10                Q.    Okay. So only when you're going into a new            10       the <>stlets yourself?
11       apace designating a ner"' space as a cla.nsroom will you             11            A.     I did not. J,,gain, the reason that classrocm
12       bring in facilit ies to "'1ce sure t hat that room is okay           12        became a di scussion is because the teachers indicated
13       to boa classroom; correct?                                           ]3        that they ,-ere not sure that that rocm •·as a safe space
14                          MR. Rl!SHPIBLD: Objection.                        14       and that ' • why the maintenance and facilities got
15                          You can anm.-er.                                  JS        involved,
16                          THE ~'!WESS: l only brought them in               16              Q.     Sorry, I ' tn a little confused. I just lr.-ant t o
17       because it was questioned --                                         17       rra)(e au.re I understand . Di d Caciliti e!; come to the
1S       BY MR. CA!OO\N:                                                      ]8       classroc,n just once or did they oome mult iple ti11'<!S?
19            Q.     I'm oony, could you repeat that question?                ]9              A.     ! ' 111 sorry, did ><ho ce<re?
20            A.     I only brought them in becaw,o i t was                   20              Q.     The representatives from facilities and
21       questioned. /loo I did not ask for them to oom in. As                21       grounds departirent.
22       I said , tea:hcr m.:"UCen a requeot, they Dend it over to            22              A.     l recall one visit.
23       central office, I 'm net sure M)Q in central offi ce, but            2l              Q.     So t here was a singular visit where they
24       they send a rcque,Dt to say they would like to make sure             24       .assessed the suitability of the 1vcrn to be a classroom
25       that this place is suitable or ,mt have you.                         2S       and also t he electrical capal,ilities to be a ccq,uter

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                                                                            Pag e! 70
     I                           Nadine ~:ltlng~())rg;in                                 1                         Nadi ne F.lti.ng-J>argan
  2       lab; is that r ight?                                                           2   infr.1str:ucture t hat sul"t'a.lrxfa where :; de-, i c:e is
  3            A.    YP.A, to 1fYf kw ,;,l edge.       l don't kno-.• that               3   1ocated?
  4      l:here \o.'i! ~ any othe.r visi ts. I partic.ipated in one                      4                    MR. RUSHl'rnJl: Objection to the [orm.
  5      vi s i t wi lh sar0.:111e outside or the district. As J said,                   S                         You c:an ant.......'et'.
  6      J believe it. w-...s OCCE'.S, I 'm r:ot JXl!:litiv~. Prio r Lo that             6                         '111:K W.l'l'NESS:    Once t he rooo is selected
  7      pP.rHOn c,rxning in, I did have a ooov~rsr1t ion with the                       ?   then I T ccr.es i.n l:o build or do what rtBP.<Js t o be done 50
  B      head of our facili t ies departimnt, indicat ing that r                         8   that ynu t'.ave th9 aetvi~s that you n~. lltlether it 's
  9               using this as a classroom, that t he tP..achers
         \I.U':J)d be                                                                    9   Wi-Fi or l arrllir:e or 1.."Mtever lt rnig:ht be.
10       did share with me t hat they wanted to make sure that i t                      10   BY MR. CAAJ,J/\11,
11       'ot.'a,S soit.ab]e for s t udP.n.tH.   I had SJX".'ken with t he               11         Q.    And RO did 11' ev,,rr 001-e inLo tbe roan in the
l ?.     asaistat1t superintendent , t}'e director of s t udP11ts Wlth                  12   basement to ensure t:P.at t}l..at room had everJthiDJ t hat it
13       exoept ionali~ies, so I had several cooversations about                        lJ   needed?
14        this room, but I only participated in one visit with the                      14         A.    No. Ms. Malton never returr.ed to work and
15        individuals I na,re;l earlier.                                                15   when we started school, we were using the individual
16                 Q.     Okay. Did you apeak with a;1ybody from the                    16   devi ces, ao agai n s t udeJ1t s d id not go into the 1~.
17       school district •s technology departirent regarding                            17         Q.    So i s there a lab currently? l 'm oony,
18       whether that r<>Cm was suit.ll>l e to be a wrputer lab?                        18   cculd you repeat that? l\\e were t alking over each other.
19                 A.     Ko. 1lte technology departr.ent does not                      19          A.         Th.e room has never beeo co,,pletel y set up.
20       determine ,tet her a opace is sui table. ·n,ey s imply                         20          Q.      Okay. CUrre., tly there i s no ccmputer lab ot
21       provide devi ces, upiate, keep t }ie:n up to date, de;;.) wi th                21   t-:Orae School ; is that correct?
22       the infraat nx:ture. They don ' t handle the space !11                         n           A.       All of Ms. l'.e)t<ln' s belonging• are in that
23       .,.,.t,ich )OJ' re i n.                                                        23   ro::xn 1:h3t 'ir.·il 1 be set up. Teachers have to cooe in and
2~                 Q.     so rr ck:esn• t play any sort of rol e i n                    24   organi7..e their t hings, set things up and put things
25       net working the l'Q();"3 or ""'"'ging any of that                              25   away . €vecythir,g is there. If she had returned then

                                                                            Pag e 72                                                                          Page 7l
 l                       lladi.ne Bl ting-Dargan                                         1                         Nadine Elting-Dargan
 2       she would have set up the room and IT woul d cone in to                         2          A.     Yes, the current COllP\Jter room, yes.
 3       asaist and make oure that she has access t o Wi •Fi and                         3          Q.     But that roan is r"t currently set up ao a
 4       stulenta that """'1.d come into t he rOCOl wcul.d be able to                    4   oorp..1.ter lab; oorrect ?
 5       OOiplete their wo:'<.                                                           s          A.     lt is not . ']';,e devices are not there. We
 6            Q.    Bu.t cu..rrentl y, to your },JX7.-ledge, there 's llO                6   uaed all devi ces and handed t hem O'Jt to students during
 7       functioning cc«puter lab a t l-lorae School; i s that                           7   CQ',fID. So stud-eot5 have the devicea, They are not in
 8       right?                                                                          8   the rQCl\\.
 9            A.    'Iherc io -- that room ia not set up, no .                           9         Q.          Hew tro.ny windows ,-ere i n the cooputer 1"b en
10       l\ctually I can' t t ell that you tod.1y bec.1U!le I left in                   10   the G<!Cond floot1
11       flov,,rober, oo I don't kr,c,. what' o there today.                            11         l\,        There'~ a wall of wind:>ws ar.d. it 1 & probably
12            Q.      You're the interim dire~tor of irwt ructional                     12   maybe four p.,r.eo, maybe four, I believe.
13       tochr,olog'/; conuct?                                                          13           Q.       And I kr.0« you referred to one particul ar
14            A.      Th.lt io correct.                                                 14   wi.ndo-, in the new roan in the baseirent, but how many
15            Q.      Docs that - - in your role ,rould you have                        15   w.i.nc:kr,.-s total were in the ne'l' coir;,uter lru> in the
16       knowledge of which buildings in the d istrict have                             16   basarent?
17       ooaputer laoo?                                                                 17           /1.      Ma~te two, po55ihly three, I'm not sure, but
18            /\.   Yeo. Every rocm in the district -- we've                            18   not four.
19       been building to building ·· t here are wireleao acoeos                        19         Q.      Okay.
20       points in every kuilding to BUppOrt every room. lhat                           20         l\.    I believe i t was tw m,ybe, I think.
21       1'0001   al so has access, an access point for wireless .                      21                    MR. RUS!IFi l!LIJ, Ms . Dargan, do )W want
22                Q.     When you say •that roati, 11 you irean the rocx;i              22   to take a meal break? I see ycu 're at tho m.iCI0111avc.
23       en the first floor; right?                                                     23   D::> you want sane tirre to eat scmethlng?
24
25
                  "·
                  Q.
                         Yes.
                         Okay.
                                                                                        24
                                                                                        25   in bet ...-een.
                                                                                                                   11lB wrrn&SS:         I ' m kind of t ~ to bite



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                                                                                                                                                     ?age 1s
 1                           Nadine Elting-Dargan                                  1                          Nadine Elting-Dargan
 2                           MR. Ci'illMfi.N:   We can take a brea!-< for          2          /1.      Yes.
 3    lunch .                                                                      3          Q.       OJ you k!IO'•' whether any other t:chools in t he
 4                           'llIB Willl!SS: Yeah, t hal; >'0<1ld be great.        4.   Poughkeepsie Cit y ScJ-.ool Oistdct tave caq::uter labc?
 5                            (Recess t aken. )                                    5         1,.    l beli eve all of t he m ildings had a canputer
 6   BY MR. C/13Ml'll!:                                                            6    lab prior t o OOVID.
 7         Q.      Ms. Dargan, how ""11\' students were set to be                  7         Q.     h,1:J biw """Y buildi ngs tctal io t hat?
 B    in the new   ssrAA class?                                                    8         A.     Seven.
 9         JI.     Up to 12.                                                       9         Q.    Do any cf toose • • ..-ell, are you frudliar
10         Q.      A."X'i was that similar in ci ze to the other                  10    with the locatiooc of each of thooe ooaput er l abs i n the
11   SSli\R clil.!l-::ies that you Md?                                            ll    other buildir.gs in Pcugbkeepsi e Ci t y School District?
12         A.    'Ibi s was a chan;;e for the '20· ' 21 school                    12             A.    Most of them. Sette of t hem doo ' t have a
13   year. '!he SS'l'AR cl asses that we had in the building                      13     separate l ab, it ' c a lilira.ty credia cente r St..> t he.re ai:e
14   were up to tl'.e Dix childr en and the crit-0rfo for the                     14    compatcm within the library.
15   prcgram ~,ad cha.aged.                                                       IS             Q.    And arc OIIY of those ccr.puter laha or ll'P.dia
16         Q.      So at this point they were allcs,,cd to have up                16    centers in t he other building,> l ocated on the gmun:l
17   co 12 children?                                                              11     floor?
lB         A.      Yes.                                                           18             A.    I'm not .cure . 1he library at Krieger -·
19        Q.    And wero you cbw.Jing the cize of the ot her                      19    ,,..·ell, they den' t really have a bacancnt , a ground floor,
20   four SSTAA cL1.sc.rcxm;?                                                     20     they only have the firot and the top floor; so it ' s
21                        MR. RUSIIFIELD: Objection to form .                     21     their bottc<n floor for what t hey have.
22                        TIii!- WI'IN"..SS : I wao not changing but              22          Q.     So you mentioned Krieger.        Arc you aware o f
23   additional children were being a:lded to those ooct icno.                    23    an}' others?
24   BY MR. CJ\R/IJ\N:                                                            u           ,...     I ' mnot sure.
25         Q.      />{;ain '-'P to 12; right?                                     25          Q.     Okay. A.'ld do yoo !--row who,..,, ultimate ly

                                                                       Page 7fi
 J                        Nadine Blt ing-Il,.rgan                                  1                        Kadine !Uting-Dargan
 2   designat ed a.s the teacher for the new SSTAR c l ass?                        2    building principal, it ' s shared with the buildirfl
 3         A.      Yes, Ms. Hendricksen.                                           3    pr ir.cipal as an PYI. I don't det ermine wh.o gets an air
 4         Q.      D:::ies   m:lSt   schools have central ai r                     4    caiditiooer. The princi pals dcn't detennine. 111e
 5   conditiooing?                                                                 S    process is that if it 'G a st udent it goes through a CSE
 6         A.      No .                                                            6    1TCOting, a oomn.it tce on cpecial education. The bring l n
 7         Q.      .And hew       many claovcc arc in Moree School?                1    a doctor ' c note and thilt g~c ever to the stuc!i?.nt
 3         JI.     'foday t here are 31 clas~.s; there we.re JO                    8    servi ces d.epartirent and they 'lfl'Ork with facilities . I
 9   classes when r .,,,as there.                                                  9    dt>rt't knct1t what thei r process is. But my unders; anding
10          Q.      And do sare of those classl"Oa!"IS have wind°"''              10    i s any t i.m l get a req.?est fran a pa.rent for a child or
11   a fr ·cxmdi tioni1V::1 units?                                                11    a r,,guest fmn a teacher, I sul:rnit that to t he
12          A.      M::ist of them have wi.ndcM air-condit ioning                 12    departir~nt of s t udent services and t hey ~rk •.-ith
13   w1its .                                                                      13    facil i ties t o get the air conditioner. rt •a not
14          Q.      1t01P..n yoo we~ there, did Mrs. Me.lt on• s                  14    som,thing t hat I have anythi ng to do with • •
15   C'OltpUter lab h.:ive an air·cor:ditioning wt.it?                                                 Please fini sh.
                                                                                                                              =•
                                                                                  15           Q.
16          A.      I t did r.ot . 1 toought i t did but it di d not .            16           A.      Ot~,,r t han notifying          that the request
17          Q.      Old she ever request one?                                     17    was made.
lS          A.      She did request an air conditioner.                           18         Q,      So are air conditior..ers only grant ed i n rocms
19          Q.      Arrl ._·as there an air ocnditionM" ever                      19    whel:'E! t here• s a medical need for one?
20   installed i,,,hile she was there?                                            20         A.      For staf f, yes.
21          A.      Not to rrrt koo,ledge, I 'm not sure.                         21         Q.      So if a st a ff menter has severe allf!rgies or
22          Q.      Okay. What 's tM process for requesting an                    22    sa,-.,thfog like that and a doctor reccmrends that they
23   a ir amdi tiOJll'fr if a. ctx:xn doosn•t have ooe?                           23    hav~ an a ir conditioner installed, they W'JUld he abl e to
24          -~-     R"(JIJests go throogh facilities t hrough                     24    get one; r ight?
25   huildings aud g-roonds . They do not come t hrough tM                        25           A.    Yes.

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                                                                   £1a9c: 76                                                                   Page 19
 1                           Nadil,e i:lting·llargan                            1                       Nadine H1ting-Dargan
 ,.               Q.     But if. a. staff mewher doesn•t preS().nt any          2   t herefore we had a lot rrore rocms with the air
 l    !'.!.Ort    of rredic.aJ reoontMndation for an air conditioner            3   ccn<l.itioners oocaiJse every year children m:,·ve. They go
 4    they would not be abl e co obtain ooe?                                    4   fron OllP. grade to the Mxt . and as they rrove -- once an
 S          A.       '11~y would not, unlass tl"..ey chose co purchase          S   air con.ditione.r is installed, it is not rerro\'ed to
 6    one. Staff reml:ers can purchase an ai r ro-iditiooer,                    6   tl~n l*! placed in another t'Cail. ~ it 's in that room
 'I   then it ~ s - - it has to be dcnated to the district                      1   it stays in t h.at T.'0<'1.tl, so the fol lor..·ing year when t hat
 a    and tl'P..n i t can be :installed, but it is insta:lled as                8   student goes fn:m. f i rst grade in 117 and now they're
 9    di strict property.                                                       9   going over to sooond grade i n 200, 200 no,; wi ll get an
10          Q.       And all that io, I believe you !l<lid, governed           10   air-conditioner based en that request froo, that student .
11    by faci lities ~d t he <.·u1111ittee or. &1-~cial educatioo,             11   So over. t he yeal.'S with tJ~ large m1rUler of spe:;ial
l'-   not t hroJgh a building principal ?                                      12   e&lc.aticn students in the building rr.any rocms in l<brse
13          i\,     Correct.                                                   13   have air conditioners .
14          Q.      I believe you said ""6t o f the claasroors had             14        Q.     Okay. And when a st1..'<lent requcztt: art air
15    1'brse has air oondi tioners; is that right ?                            15   oor.diticner "'.,nat' s the process for that?
16          A.      Yes.                                                       16        A.      Sare proces:J, the notice o:xres in fran the
17          Q.      Io it your uaderotand.ing t hat thcee                      17   doctor, i t gets sent over to the student cervicec
18    class[C()I!\$ that do have air ccoditiooer;s a ce all because            16   departrrestt, special 00.uca:ion depa.ttrrent, ~d they
19    of staff ~e:iller reguest o7                                             19   C<X!U'UOicate with facilities to do ~hat needz to be done
20          A.      Uc, most of those air concHtiooers are ftu11               20   tc get t.hat air conditioner instolled. '!be principal is
21    student requests, We have stlx;l..P.nts that: are • · 11, >rse i s       2)   just t hen ooti fied t hat "°"""'e wi 11 be caning and """11
22    a buildi ng that has a l arge mnhor of speci al educ.ation               22   they •.111 he beoonung to i nstall .
23    studE>Jlts . Sc~ of the buildings do not have as ,rany                   23         Q,    So when a s tudent request s an ai r ocnd.itioner
24    special edu<:ation ·· m)At of the t:uildings d:> not have                2~   i t's for thei r specific classrcom.; right?
25    as many special edu.c ation st~nts as 11..orse does, and                 25         A.    correct.
                                                                   Page ao                                                                     Page Bl
 1                             Nadine Bl ting·D,ugan                            l                       Nadine Elting-Dargan
 2         Q.     Even though they have to go to other                          2   faciliti eo. I did send an email i n reference to the
 l    claosrocrns, for exanple, a cooputer lab, at certain                      )   lab. I didn I t realize t here wasn • t cne in there. As I
 4    points throughout the day, t~.ey would jw,t not have an                   4   said, I was under the relief that there wos an air
 5    air o::mliticoer for that period?                                         5   ccnditi oner in t he lab. Wl'.en I l eat,,ed that there
 6          A.     That is correct . If t~e is a ·· if                          6   wasn 't fnxn Ms. Melten, 1 also reaclled out to facilitie.s
 7    they're -- elerenta...ry school etuden~s a.re in thei r                   7   t o ask for an a i r coodit i or.er to be put in tho lab.
 8    clan::;room - - they arc in .ochool GCVen-a.'lld.-a-half hcur:;.          8         Q.    Do ycu know whether Mm . Mel ton ever follo""'1
 9    'Ibey are in their cl.a:JSroorn all except for 80 minutes                 9   up with t he hrod cw,todian or facilities regat'ding t he
10    out of t he d.,y. So they ooy have their 40-minute ltmch                 10   air co:u:litioner?
11    may be in the cafeteria and t hen outsi de and t hen they                11        A.       I 'mnot aure.
12    e i ther have art, !11.mic, 9)'ifl, library, t hat is the ot her         12        Q.      Oby. Does each school i n the ~ugh!<eepsie
ll    40-minut<J period that t hey arc net in the olasoroom.                   13   Ci ty School District get an allocation of furils each
14               Q.     You mentioneo that Mrs. Mel too di d enter a           14   year to buy equipn,,nt for their scoool.?
15    rcgue!:lt for an air condit ioner        in her lab; correct?            15        A.      Yea.
16               i\.    Yes.                                                   16        Q.     Md i s tb.1t allocation of funds eannarked?
17               Q.     ADl hew did you learn that information?                17   What are the param,ters for open~ t hat ironey1
18               A.     Via croil.                                             18        A.    '!here D.re certain iteas that can fall under
19               Q.     Did facilit ieo notify you that t he request           19   an equipment co&,, and usually t hoae i tems are items
20    had been P'•t in?                                                        20   that ooot up to a toouoand dollar• and rore. 'llley go
21          A.    t:o . Ms . Melt on gave t he req,.:eot to ire,               21   under ycur equipnent code. That •'OU.ld be stuff as
22    oaying that she wanted · · she needed an air conditioner                 22   c lassroan desks, chairs, fw'lllture, cafeteria tables,
23    in t he lab, and I t hen spoke ,.;th ·· I oliared with t.er              23   things of t hat nature. Srall itans did not fall under
24    that ohe should reach out t o the head cw,todian and have                24   equipment . Tney fell under suwlies, <leper.ding on what
2S    a conversation with him ab::>ut talking to sareone at                    25   i t my have :teen.


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                                                                           Page 82                                                                       P~ge 8)
     J                        Nadine Blting·Qa,gan                                     1                         Nadino E:lting-llargan
 ?.             Q.       ~there woul d ah oorxlit ioners fall llJ1der that                 2        Q.     Did you ever serve as principnl i n any school
 3        ca.t.eg:>ri1.at ion?                                                             3   bccidcc M:>rso !"
 4              A.       Air C:c()dit. io.,-w.ra djd nnl:. fall ou the 'l::uildin:7    4             A.     Ye& .
 !i       becau!;e jL was considered B(Xlleth irtg that facilities bad                 5             Q.     ll'.oat school is t hat?
 6        to do.     JC l l.x1\1ght a,1 a i r oonditim;er l still bad to 90            6              A.    I was principal at COlut:'bus School, I 1'as
 "J       t hrvu.gh faciljtie~ to have them install t he air                           7       principal at Smith Ele~ntary School, I 'l,,.;s principal at
 8        c<":>'Oditioner,a.   Air cond.i tfooers ~-ete never pu.r<.tiased out.        8       W.:u:rcn School ar.d I was principal at IICr,se . Moree was
 9       of   m:r bui lding budget .                                                   9       the fourth building.
10              Q.       Co you knew if any other principals ever                     10              Q.    Okay. I n those foJr aJJ!lOinbnents ao
ll       p..ir.chased alt cx.mdj_tio11era oot of thei r budget?                       11       principal in thooe buildings, did you ever use building
l?.             A.     l don' t kn<r,1.                                               l2       fW'l(i!j to pJ.rchaoe air conditioners?

13              Q.     Co you know whether it """ permitted for t o                   13               A.    Never. As l said, l 've never purch.:i~cd ru1
14       you purchase air oooditiooero out of your budget?                            14       air co,1diti,oner wi th buildfog funds , never.
15             J\.  I dco' t knew becaUDe I never tried and I                         ]5               Q.    l ' m goi ng' to trl(itch to a new tcpic here and
16       never asked. I alwa.ys '\rent t hrough facilities. I don't                   16       l 'm going t o sel'Xi yoo thrm:qh the c.'-lat what'D previously
17       know.                                                                        l1       l:<l<!n m>rked •• IWlihi t J , Plaintiff' • Bxhibi t 3.
16             Q.   Okay. Fair to say that you dcm 1 t kncr,q ono                     18                         (l!xhibi t 3 marked.)
19       way or another why Mrs. •5eltoo never received an a i r                      19       BY MR. CAA.'Wl,
20       conditioner in her lab?                                                      20             Q.     You can see it?
21            A.    l don' t kn<>t. I never followed up. I novcr                      21             A.     Y&s.
22       went behind her to ask her if she got it and no, I don't                     22            Q.     Have you ei1er seen t his docwnent before?
23       kno11. Once that request g:;es on • • mo'les oo to SCfl'eOnO                 23            A.     Yes .
24       else, there are ... it's not •· no l onger a concern for                     24            Q.     What is i t?
n ~-                                                                                  n             A.     This is a welco:re bac'.< letter from Dr. Wade,
                                                                          Page 84                                                                        Page 95
 l                             !Iodine filting-O>rgon                                  l                      Nadine Elting-Dargan
 2       our assistant superintendent for adminiotrative                               2       •on s«pterber 8, • do you see that?
 3       services.                                                                     3            A.     Yes.
 4              Q.     l\nd what was the purpose of this letter or                     4            Q.     Thia stat.eo that "On September 8, 2020, all
 5       -.recrorandum?                                                                5       enp)oyees will partici;,ate virtually in the
 6              A.     To ..,1cane back staff. l\nd in the beginning                   6       superinterrlertt' s con(erartce day. 11
 7       of the year, you typically get a notice oock from                             1                         ():) you see t hat?
 6       central office ,,,leaning staff oock, l etting you kn<r•                      6            A.     Ye,,.
 9       any net,,• init iatives, protocols, whatever nri.g.,t be 'i n                 9            Q.     Cl> you Jo,o,, whether Mro. Meltoo attended the
10       place, district expectations.                                                10       superintendent 'a conference day virttl;)lly on
11              Q.     I bclic•,c you ...ntioned t hat t his is fmn                   ll       Septellter 6?
12       Dr. Timothy Wade; is that correct ?                                          12            A.     There 'ii-ere sign-in sheets. I do belie•m that
13              A.      Yes.                                                          13       she did. There '11.<ere sign-in st:eets for the conferences .
14             Q.       And who in Or. Wade?                                          14            Q.     Okay. So s~ 'A'as • • it wan virtual but she
15           A.     1bo asoistant superintendent of                                   15       was present ; correct?
16       adminiGtrative services.                                                     16            A.     I believe that she signed in to the trai~.
17           Q.    And wh..1t i s his role ao the assistant                           ]7       It was virtual so honestly I can't say •to was there or
18       superintendent of administrative services?                                   16       wasn't other than -- and I don't rmembcr, you kno.•, \mo
19            A.      He ""'rko directly under the superi.nteooe.nt                   19        r sa·,r. 81..Jt there was a sign-in sheet and I do believe
20       and I kn.OW' he ~rks withi n t he hwran resources                            20       t hat Me. lleltoo did sign in on the sign-in sheet.
21       dcpartoent and other adminiatrative services throughout                      21              Q.       You don't have any reason to believe tt>-.at she
22       the district.                                                                22       was not present ; correct?
23            Q.      Coos ho oversee hwran reoouroes?                                23              A.       No, l WO'.ild have believed she would have been
24            A.      Yes, r believe I just said th.it.                               24       there.
25            Q.      Okay.   Go to t bo secor.d p..,ragraph t hat begins             25              Q.       i\nd if we look at the next paragr,ph that

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                                                                                                                                                      Page 87
 1                          1/adina F.lting•IJargan                                   1                            Nadi.'le El tir.g-Dargan
 2     begins "On Sept.e1rhter 9, 7.020," -- says -- "all P.r:ployee_i;;              ?.           Q.        l 'rn g:>fog to introduce a new exhibit but I'm
 3     wH l be expected to report ir. peroon to the assigned                          3    goi ng to ask you to keep llxhibit 3 open because wo may
 1     buildings with the P.X<'.e'pti.on of       t!Y.):$(t   i n th~ PPS'tA          4    contlnue to refer to it ~jng forward. I 'o ocnding you
 ,.,   unit . 11                                                                      5    Plaintiff's llxhibit 16, 1'llich is an email cha.in. The
 6                          0o )'OU F..€e thal?                                       6    la~t e.nail is dated 1hursday, Septe,wer 10, 2020. IP-t
 '/           A.    Yes.                                                              1    rrP. lmr.M" wti.P.n you have it open.

 a            Q.    What 's the vi;:S1'A uni t?                                       8            A.       I have it.
 9            A.    Pc,19itk<!ei-\Si.e 1/ubli.c School 1'eachers                      9            Q.       Okay. Have yoo see;i this e:rail chain
10     l>ssociation. So all of the members of the teachers                           10    before?
l1     union were t he only e:rp)oyeE!s t.hal were J!Ot r:ep:n1:jng iJ1              ll         A.         Yes.
ri     person.                                                                       12                            (Exhibi t 16 marked. )
ll          Q.     And do you ~.oow •net her Mrs. Mel ton a;)J)".ai-.d               13    BY !o!R. C/.Rl>l'IN :
14     in perooa at ~lorse School en Septarlier 9, 2020?                                          Q.       So I' 11 start by directing your attention to
15          A.    She did not.                                                       15    the second email on the ~ t lrt.ilere it says 11orighial
16          Q.    l\od the only dates for which instxuctioas are                     16    me,nsage. '' 1hfo iz an C111J.i1 th.at you Gent to several
17     provided in this 1Ta10randum are Septe,wer 8 ar.d                             17    reci?ientc on September 9, 2020, at 7:5S p.m. ; is tha.t
18     Septe,wer 9, 2020; is that correct?                                           18    right?
19
20
              A.
              Q.
                    Ye3 ,
                    Ju.at for reference, on a normal -.-eekday, what
                                                                                     19
                                                                                     20
                                                                                                  "·
                                                                                                  Q.
                                                                                                      That is correct .
                                                                                                      If we look dowa at the bod>/ of that
21     tine are teachUlg assistants in M
                                       orse expectOO to report                       21    Septe,wer 9, 2020 em.ul , i t states that 'Teaching
22     to school?                                                                    22    assistants are to report to the buildiDJ each day; 11
23            A.    7:50.                                                            23    correct?
24            Q.    A,'ld when does the achoo! day er.cl?                            24           A.       Yes.
2S            A.    2:35 .                                                           2S           Q.       And the building you're referrin.3 to is Morse
                                                                           Page 88                                                                   l?.a.99 89
 1                      Nadine Elting-Dargan                                          1                   Nadine Elting-Dargan
 2     El.err.entar/ School; right?                                                   2    been in tM clanoroans. I md been in oo.mrunication
 3           A.     Yeah.                                                             3    with all of my teachers, I krur• th.lt the teachiI,g
 4           Q.     Okay. The next sentence aays 111 know this ic                     4    a&Distants were, in fact, lC9Jing in to the cl assrocm;
 5     what I camn.micated earlier, however, this                                     5    and supporting in the claODrocm, so I told thetl that J
 6     misunderstanding W-dS corrpletely on rre. 11                                   6    woold try to oeo if I oould '"rk it out so that they
 7                    Do you ... that?                                                7    oould otay hem,. llcr,,ev,:,r, that was not possible so I
 6           A.     Yeo, I do.                                                        8    needed to let t ~.em know that they did need to repo1t the
 9           Q.    What were you referring 't.tJcn yoo naid II I know                 9    next day to the building.
10     th.is is not what I ccrmunicat.ed earlier"?                                   10          Q.       So do you recall •.nich ~.s asked you whether
11           A.    So sccre of the teachlng am.iist;mto that were                    11    they could work remotely or not?
12     in the building we had a iroeting ond they wanted to kooa                     12          A.       Yes, Mrs . Holloway in particular "-as one of
13     if they cculd work roro:el y with the teachers, as the                        13    them and I spoke ~ith also Ms. P.erman.
14     trocrern were continuing to work rerotely. I oharcd                           14          Q.       So at least as of September 9th •• well , was
15     with thoo that I didn't sec why that waon' t pc,;si.blo,                      15    it on September 9th that t~.ey had asked you '<hether they
16     ha.,,ver, I would have to get back to them an:! get                           16    oould w:,rk renx>tely or not?
17     ooaoent frcm Dr. Kade. So I needed to ner.d this em.1il                       17          A.       It 11as that day, yes, th.lt day that they had
1S     to t.hcm bccauoe it 11,w later on that evening trot I                         18    to report to the building, that was the fin,t day that
19     learned that Dr. Wade 1'0Ul d not agree with nx, a llowing                    19    they were ca:ning back in perso." and, yes, we had that
20     the T1ls to otay b:xre. He indicated that all T1ls needed                     20    ocnversat ion that day.
21     to be back in the building.                                                   21          Q.       So at least as of Septetti:>er 9th, there  ,,,re
22                    foere wao issue in the district with G0012                     22    at l east t•..'O teaching assistants that you ~r-e aware of
23     teaching assistants WOO had not been lcooi.ng in to the                       23    who were unsure whether they nooded to report in person
24     claosrocms and S1Jl)!Xlrting t he classroom virtually and                     2~    or ~-ere able to •«m< renx:,tely; is that right?
25     that was not aa ism,e for m., at Morse Sd1ool . I had                         25          A.       They weren't unsure, they wanted me to g lve

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                                                                  Paya so                                                                        Page 9 1
  J                    Hadine Bl th,g-nargan                                      l                   Nadir., Elting -Dargan
 ?.    tha:n ptmniAsion t<> ~rk frcm t-.or-:e . 'l'he directive can'@.        2       build ings with the exceptioo of t hose in the PPSTA
 3     from Dr . il<>1e that they had to be i n t he 1:ullding.     'llley    l       uni t ." SO that i.nclvded ou.r CSE, our clerical , our
 4    srx:)ke wi th roo ag;;.in as the buildlng principal to say can          '1      admi nist.r at.on;, our: kitchen staff, our teaching
 5    you 11.o rl: iL cul for us that ~~ don ' l have to ca:e i n lhe-        5       a.» sistant.s, health aides, everyone other th..m teachers.
 6    bui l ding, and I lold t hem that J ~uld try to do that.                6              Q.       l see it .begins "On September 9, 2020, • and
 1    Rut in bP.:ing lmsuccesE>fol in doing that, 1 needed to                 7        it says on that day "all e,-tployees wi ll be expected to
 .s   tm:lil all of thA:'!1 becau~ they had shared with the                   8       r,,port in petooo. • ~i,ere does it say that all emplO'/OOS
 9    othen; that l was going to ooe if t hey could ,ork f,:oo,               9       m.ist rep.,rt in person on every day after that?
10    home.                                                                  10                        MR. Rll>HFIB!D: Objection to fo,:m.
l1          Q.     And ,,,,1he.n ycu say "lhe d i rect ive caroo fran        ll                        Y~J can answer.
J.2   llr. Wa<le that they needed to be i n persci,," are you                12                        lll.8 Wl'M-SS: 11t0se ,,mis are not en t his
13    referring to the """'randtJll in llxhlbi t 3?                          13       paper. n,.., understanding ~)lout t ~.e distcicL was
14          A.     Yes.                                                      14       clear .
15          Q.     Can you point me i n Ex.'tibi t 3 where it says           15       BY IIR • CllR1-lllll:
16    that teaching assistants crust a ~ in perscn every                     16              Q.       Ucw do you know that?
17    <lay?                                                                  17              A.       Because everyone reported.
1S          A.     It says "All eiiployees wlth t:h.e except ion of          18              Q.       Everyone reported?
19    those in tlie PPS17\ unit." Everyone knows i u the                     19              A. 1111 units reported. Whether every individual
20    district all enployees know t hat PP&1:A pertains to                   20       in every unit reported, I con•t know, but all units
21    teachers only.                                                         Zl       reported. 'J'ne a<kninistrators unit reported, the
22         Q.     ll'hat '• the • - that paragraph •• are yoo                22       cle=ical staff re;orted, the teaching aaaiatants
23    referri n3 to l:}ie thi n l paragraph there?                           23       reported, the irai ntenanoe staff reported. W  e were all
24         A.     Yes. "On septerrb ee 9th, all e,plo-100• wi ll             24       working remotely. A<mnistrators were brought back
25    be expected to report in penaon to their aJJslg,i<!d                   25       before that and t hen this l ett er was to confinn that

                                                                  Page 92                                                                        Page 93
 l                    Nadine Elting-Dargan                                    1                               RadL,c Bl ting·Dorgan
 2    everyone else other than PPSTA ,,,uld be returning.                     2       staff ?
 J         Q.     In your role as principal of Morse, did ycu                 )            A.     Yeo. It ·.rao a b.lck-and·forth conversation.
 4    nonitor atterxlance at every school throughout t he                     4       We discwoed how many t eachers we had absent. We
 5    district?                                                               5       discussed} h<>i it went having the s t aff in the building
 6         A. f Uo. I lrWlitored att endance at tw'.orae , only ITTi          6       fer the fi rst day .back, yes .
 7    own school.                                                             1             Q.      So did you note at that point in t ime that
 8         Q.     So you don' t know what the at t endance                    8       Mrs. ~\::lltcn was not in t he bui lding?
 9    situations were at other schoola in the dist rict on,                   9             A.      1 knew that Mrs . Melten was not in t he
10    say, SQptcabor 10, do you?                                             10       building be<:ause l che<Oked the -- ,nen t he staff coni,s
11          A.     I knew about conversatiooo t hat we had as                ll       i n, they have to sign in . I had started a process of
12    administrators •.., t alked abou: did our otaff report, did            12       cOOcki ng to see if staff had signed :in fro-:n the year
13    ,,, -· how' d your cay go, was ovorythin; okay. I spoke                13       before . k~ had sane i-ssues with staff coning in late.
14    to the principal at Warren, I spoke to the principal at                H        I started - - implemented a process where I WOltld
15    Clinton, and I spoke to tho principal at the midl.lo                   IS       highlight people's naims who were not on t iire to the
16    school.                                                                16       building. I knew that Mrs. fl'.!ltcm was not i.n the
17         Q.      /ln:l. yoo specifically asked each of t hooe              17       buil ding ilecaU&.> the tcachin-3 assi s tant president would
18    princip.1l s ,mother all of the unit s reported on                     18       call and com, to the building to check to see l f all TAs
19    Septeaber 10: b?                                                       19       were present .
20                        MR. RUSJIFIELD: Objection as to form.              20             Q.      Or.;,y. So l et •o take a step back . When a
21                     Go ahead.                                             21       teaching assi stant cares to the hrlldir.g, ar,d for
22                     T.'1E   wrnra.ss,
                                     Yes. Di d your staff        oon,        22       refcre.'llCe purp,.ses, let 's to.lk a.bout t he hegin.:, ing of
23    in, thooe were the quest i ono that J asked.                           23       too 2020, 2021 school y,:,ar . Okay'? So the t e.ach.log
24    BY MR. C/IRW\ll,                                                       24       ,1G!jistants ~ uld com in through the front door of the
25         Q.    Okay. Aud did they ask you about your                       25       building; corroct?


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 l                                                                         1                        Nadil"' gl ting·Jlargan
 2         A.         Ye~ .                                                l    a1:proxim:tl::f!ly 8 o 'clock; right?
 3         Q.         Ar.d t hen they l~W:! tog:> to t he office; is       J          A.     corr+'!Ct. 1t was probably w.i.Lh.in a fe-11
 4   tbat. right:·,                                                        4    minutp..s of 8:00 bet'.dUM studP.nts came in at 8 0 1clock
 5         A.         Yes .                                                5    and 1 ·•muld g~t the stude.11t.s at the f.ror.t door, so [
 6         Q.         Okay.   And ln the o[fke Lhera is a phyfJica l       6    ~'Wl d typica 1.l y check Lhe s ign-in she.et just before
 ?   sign ~jn sheet; right?                                                ·,   9<.>in3 to the front &::or .
 8         A.         Yea.                                                 8          Q.      Okay. My otl1er form of a ttendance that is
 9          Q.    And t hey need to s ign or i11ttial b-t theit            9    rr>:iintained ot:t~t than the ~ysical s i gn .. in sheet?
10   n.-1rr; is that right?                                               10           r,. Yes. Every day I get a report lra, I\ESOP,
11          A.    Yes, t.hw/ i nitial .                                   ll    which is the a.tterrlint:e syst~m where teachers and
12          Q.    o:say. And then t hat •,r.;y you have a writ ten        12    t eachirr; a$sistants call in if they 're going to be
ll   record of •,mo physically care to the building each day;             13    absent; so I get a daily report fro,, t b:m, which my
14   correct ?                                                            14    secretary -.rould print out for ere each m:,ming trot I
15         I\..    That is correct.                                       15    caire in.
16        Q,       Okay. ro you -- do you perscnally check that           16           Q.     llnd in AESOP - - hew does I\BSOP work? How
17   oign- in cheet ever/ day?                                            17    does that gene rate its data?
18          II.    Yes.                                                   18           A.     Any time a te~her or Leaching ascict.mt fr;
19          Q,     Okay, llhen in the day did you do t hat?               19    absent they have t o call in and t hey rep<llt thoir
20          1\.    I typically -.ould check the s ign-in sheet at         20    abseooe. When they report their abser.ce, i t 'o en toot
21   about B o 'c lock because, as I said, staff had to be                21    sheet and they gi ve ire a report . I go in in tho irorning
22   t he re Ir/ 7,50 .                                                   22    and I ask for - - I l"t ln t he date a.'ld I request a
n           Q,     Okoy. And so you would !P l ,x,.\ at the               23    rep::>rt of any a~nces so that 1 ca11 aee vacancies or
24   si gn-in sheet and il'ake • Mte or highlight those ..-ho             2~    positioo• t hat axe fi l led i n te""' of subs.
2S   were not in the buil ding by whenever you checked, but               25         Q.     So ito'hen you ge.neratA an AHSOP report what

                                                                Page 96                                                                  Page 97
 1                        Nadine Elting-Dargan                             1                        Nadine Elting-Dargan
 2   time of day do you get t hese reports?                                2    day, boJt i t •s on autcm,.tic as • building principal you
 3          A.    I u:rually get it by 7: 30 in the llX>mi~.               3    receive i t every iromi ng.
 4          Q.    And that• s for that day; oorre:t?                       4         Q.      Okay. I f a teacher has prearronged for a sub
 5          A,    For that particular day.                                 5    to work for t hem on a panicular day, would that be
 6          Q,    Okay, And ,mt the AllOOP report alloo,s you              6    reflect ed i n t he report that you receive?
 7   to do is see which teachers or teaching assistants are                7         /1.     If a t eacher had arranged -- yes, tho t eocllcr
 s   not going to be in the 1:uilding and then you can ma~e                8    would typically put in the pcrr..on'o narre who•s subbing
 9   apprcpriate calls for substitutes or to shift peopl e                 9    for thecn.
10   around as necessaty to 11'.ake sure all duties are oovered;          10         Q.    Okay, So you ,ruld kno,,• >men ycu get the
11   i s t hat right?                                                     11    report ,nether a porticular absence has already been
12          A.    That i s correct. I don' t call for subs.               12    arranged sbou.ld be covered for or not?
l3   Subs are assigned, so subs ar& in tt.e system as wll. A              13         A.    Correct.
14       ...r says they're g::,ing to be ab::;cnt, the nyntcm will
     tea.~                                                                14         Q.    Okay. And AEOOP fo a self-reported system;
15   automatically ge,,. erat o phono calls to oubo ond offer             15    correct?
16   them poait ioru; or cubs can go in and oee, or tea chew              16         A.      Yes.
17   can have a. conversation with the sub a:iead of tirrc to             11         Q.      So a teacher, a teaching assistant has to
18   prearrange coverage, but the sheet all cW!l       ~   co see         18    call in and I assume it I s an auta::iatcd system, bJt they
19   who 1 s out ru:d who 1 s covering and if t here is or is not         19    tcll a -rr..1.chinc or a person 11 I 'm not going to be here on
20   coverage for a particular class .                                    20    this day" and then thilt io converted into a record;
21          Q.    i\nil so sllcn you gct'-"rat e the report are           21    correct?
22   you -- I'm sony. Do you generate t he report or do you               22         A,      Correct.
23   just receivo the report automaticolly'?                              23         Q.      Okay, So we new have t"" different
24          A.    I can generate it. I can go into ,"\ESOP and            24    atteru::Ll.r.ce cyntans, there 's the physical sign-in system
25   request a speci fic date to generate a report for that               25    and tho i\ESOP syst«n; correct?


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                                                                 Page 90                                                                     v~ge 99
  1                         Nadine Elt ing-Do.rg,n                          1                    Nadine Rlt ing-Dargan
  2         A.       Yes.                                                   2    rreeting there w-as an ad:litiona l sign-fo fihP.et., a
  3         Q.      Are there otti.er wilys in it.tlich atter:d.mce is      3    physical sign-irl. sheet when •,m were in person . And then
 4     recorded. for ntaff rooabers'?                                       4    during COVID if there was a facul ty tmet i.ng Lhere was a
 s          A.      So for the superintendent 'c conference days            5    virtual sign-in sheet.
 6     there 1;:ere sign-in sheets that you hild to actually --             6          Q.      Okay.      l want to go back very quickly just to
 7    there was a rerote sign in that you h.ld to use.                      7    tie things up on Ex:iibit 16.
 8         Q.    Okay. So you had to go to a web portal or a                8                   ML RUSRPJEID: l s that the err.ail one?
 9    website and enter your nam::: or ocrething to J.',;).y l was          9                   1-!R. CM!!'All: Yes, t hat 's t he tm,il fron
)0    here?                                                                10    Ms. Dargan to a m.ur,ber of teaching assistants.
11          A.      1'.1um you signed in to tho iooeting your    nain?     11                          1olR. RUSHPB1D: Okay, Lhank you.
12    and e:Mi l   wa..D   recoroed.                                       12    B'l t-R. C'ARJ.WI:
ll          Q.   Okay. Was U!i:it son~thfr.9 tJ1al ei!ployces              13          Q.          (J;.ay. So if ,,. look at the list of teaching
11    affinratively had to do or did it happen autoniatically              14    assietanta that ycu eent the eifa..i.l to at 7 :55,
15    when they signed ln?                                                 15    M.c:s . t,,;:eltcn is oot oo that list; correct?
16          A.      Tt hai;perled autcmatically ~.-hen you s igned i n     16            A.        Correct.
l'/   to tlle """ting.                                                     l'/           Q,        And at what poi nt did ycu realize that
18          Q.      And th:it sign in w.is specifically for the            16    .Mn,. fl.e1ton ... did y<.ru ever realize that Mrs. Nelton was
19    vi rtual SUpP.tinterY.ient's day; is that right'?                    )9    not on that list?
20          A.     Yeah.                                                   20            /\.       llbool utely. Withi n niinutes of me sendill!J the
21          Q.     Sut on a nomal school day, other t.h:ln ASSO?           21    e.ia.il, r turned arour.d an:J F..ent it to ~1rs. M   elton.
22    and the p:'iys teal sign· in sheet , were there any other            22            Q.        And is that the .... n reflected at the top of
23    w.ays in ..nich at tendance or staff members was                     23    the sheet?
24    recorded'?                                                           24          A.      Yes .
25          A.     Cmly once a moth when the1·e was a farulty              25          Q.     okay. .'.'rl that e~ail 1r.s sent at 12:07 a .m.
                                                               Pag~ 100                                                                     Page 103
 l                        N•dine 6lting•Dirg.r1                             l                     lladir.e €!ting-Dargan
 2    on Septellter 10th; correct?                                          2         Q.    Okay. Does Poughkeepsie City Schcol District
 J             A.    1'hese tirres are absolutely off in te!1t6 of          J    use something called Ti mepiece?
 4    wh<>...n the ema il was sent. . That ema il was sent literally        4         A.    Yes .
 5    with.in minut es. three to four minutes afte r 1 sent the             5         Q.    What i s Timepiece?
 6    fi l:$t ernal 1, 1 sent Lhe secx:x\d enai l .                         6         A.    Tiaepiece is wr pu.rx;-h- in system. OUr - +
 7             Q.    Well, these are l<>Ughkeepsie c i ty School            '/   when people come to wotk t ile •· not all units --
 8    Divtrict •s records that they have p:oduced so the t itres            8    teachers don't uze Timepi ece ru-.d administrators doo' t
 9    say ,mat the times say. But it's your testi mony that                 9    uoe Ti«cpieoe. Hourly eaployee.s uoe Timepiece,
10    thooe tirres are inoorrect?                                          10    cust odial otaff, cleri cal staff . tbey a ll use Timepiece.
11             A.    It is my testin,my that the.. t wo eaails were        11           Q.    Teaching aosi.stants use Ticrepicce?
12    sent literally withi n three to four minutes of each                 12           A.    I don't believe oo. I can't reroomber
13    ether.                                                               13    hcoe!::tly becauze there wao a tire 'llhcn they didn 1 t but
14         Q.    Okay. You don' t have any idea ,i,y that would            14    then they did but then they didn't, so t hat was really a
15    say it was sent after midnight on Septel1Jbo..r 10?                  15    debate between HR and the union ao to l>.ibct hor or not
16         A.    I 'm wondering why the { j rat one hae GMl' next          16    t hey """1d be using Timepi ece. But I believe t hey did
17    to it aud then t he other one dwsn' t "" well. So I 'm               17    at sare point.
18    r.ot sure why they don't look exactly alike because t hey            18          Q.    l\rul is Timepiece another way in >m.ich the
19    sboul d.                                                             19    di.strict -- Poughkeepsie City School Dist r ict collects
20           Q.       I t's your belief that the titre oa the              20    data on atten:lance?
21    September 9th email of 7:5,..5 p.rn. is correct?                     21          A.     Yes .
22           A.       Yes .                                                22          Q.    Okay.
23           Q.      Okay. And then you believe you sent the               23          A.    For staff, yes.
24    follO",.,.•up e:rail to Mrs . f!!elton mjnut es later:; oorrect?     24          Q.    So a t least for t he time that teaching
25           A.       Yea .                                                25    asoistants were using Tirrepiece, that would be! another


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                                                                           Page 102                                                                              P.ayn ) OJ
 l                        Nadine El ting -Dargan                                       l                     Nadine Rlt ing-Dar!!')Jl
 i    oou.r.oe o f nl:tendance data; right.?                                           2     from J\BSOP; right?
 3           A.     Yes, t hat is oorr.;-ct.                                           3               A,   YcG.
 4           Q.     O'.<ay .                                                           4               Q.Did you ooq,are thooe each clay?
 s           A.     T'rn l oo.1dng in my ema i l arid r have the                       s          A.     Not nccczcarily - - I didn•t co:rtpare them. So
      or ig inal eaail tl,at I sent to Mrs . Melton. 'l'.1e fi rot
 .,                                                                                         the clerical for t he buildia9 would oeoo over ""
 6                                                                                     6
      etll(tH went at 7:SS p .m. ~.nd thP. seco11d email went at                       7    attendance report on a weekl y ba:::i& nnd she- would
 a    8:07 p.m.                                                                        8    ccxrq>arc them on a weekl y b..1cU: to "iihat '«'as in Af'.SOP ar.d
 9                        MR. CARMA.~: We would love to have that                      9    what we hc.1d on the sign-in s~et, and if thP.-.;e ws any
10    produced, M.1rk, if )')U could m>ke a note of that.                             10    kind of discrepanc:y, t hen $he w=>Uld say to me, you know,
ll                        MR. RUSIIPIE!D: Mo. Dargan, if }"'1 can                     11    oo-ond-oo didn't oign in on t his day and AeroP has t hem
12    just forward that "'"" i l to          ire,   I ' ll ioNard i t to              12    absent. And oo oaneti rrc.o I l'.Uuld oonf'im with them that
B     Mr. ca11nan.                                                                    13    they •.-ere absent , or if i t was tha t'E!ven;e 1 that they
14                        fflE WIWESS: I wi ll do that rif..ht new.                   14    had signed in aoo then there was sanet hi.113 in AllSOP t h.it
15                      MR. RUSHF'IELD: If yo-a want, r,r. Cnm.an,                    l!i   had thell ab.sertt and t hen I w::n1d let t hem >--.new, you need
16    I ' ll forwaxd i t to you right w,.                                             16    to contact AP.SOP or t-:ft to let them )c."')(U that you were
l?                    MR . CMM/1!1:           It will be great if )'OU                17    here today. But the clerie.>I ""uld actually ae,id a
18    Bates otarrped it first .                                                       18    'iil'eekly -re_EX>rt to the bur.an rescorces office to c:xmfim1
19                        'lllB Wl'ItlBSS,     I rent it .                            19    attendance. So I didn't confinr. the t1<> but the
20                        MR. RUSHP!lllll: 'Ihanlt you.                               20    secret ary did.
21    BY MR. CJ\Rl,V,N:                                                               21         Q.     So each day at apprcximately B o 'cl ock,
22          Q.   So each m,ming ldten yoo ,-ere princiP<il at                         22    within a few nrinutes of a o 'clock, you'd teview the
23    Morse School you would ha•,e two ..t a of attendance data,                      23    physical cign-in sheet for that day; correct?
24    one in the form of a physi cal sign-fo sheet and one .in                        24           A.       Yes .
2S    the form of a repott that was generated and sent to you                         25           Q.       Anrl then what ,ould         you do with ti>!
                                                                       Pa ge 104                                                                                 Page 105
 I                    !Iodine Elting·D.lrgJD                                           1                            Nad irte El ti ng ~D',ugan
 2    infomiat icn en woo wao not in the buil ding each day?                           2           Q.       How oft•n •wld you - -
 3                    MR. RUSHPIBLD: Objection to fonn.                                3           A.  By t~"' end of t he week l """ld l ook at the
 4                        You can a.DS'll-er.                                          4    number of ,:eople t ha t l had ,lio were bein;i hi ghlighted
 S                     THE WI'INESS: If a teacher's :m..,b was not                     5    and l wculd send -- I se.nt, 1 believe, t""     menx,s that I
 6    on the l\l!SOP list for being absent for the day       they   kid                6           up S<!nding out an:! a.fter that l nev.,r had to send
                                                                                            e,, c!ed
 7    had not signed in to the l:uildin;i I highlighted t heir                         7    anything else out. But I believe I sent out two me!DO!l
 8    names . I -- by the er.d of the week I woul d have                               8    reminding staff that they needed to be on t i ll'C, thlt
 9    conversation with the staf f t l',.at were not arrivi ng to                      9    t hey needed to sign in before head.ing up to their
10    ~rk on tiire. It was - - I sent cut general IMTl'OS at                          10    classroo;ns so that we could ensure that they 1t.-cro in the
11    first . Too goal was no: to create tension or conflict                          11    building.
12    with .any of the staff but to mke them aware that                               12          Q.       Afte r )'QU reviewed the IX'Y•ical. s ign-ia sheet
13    students are in tha building by 8:00 a .m. , all staff                          lJ    at approximatel y 8 o'cloc.\ eac..'1-i day, '""'as that oig:n-in
14    need to be here ten minutes before that .                                       1~    s heet t he>.n rerroved fro, t he d••k or was it placed bock
15                     Per the teachers• contract and teachers '                      15    on t he desk for those           ·•to "°""   i n l ate to - ·
16    a.Doist ant contract, thoy ha.d -- per the teachers 1                           16           A.       'Ihe sheet "''as ne'ler taken off of the desk. I
17    cont ract -- my apcl.O<Jies, not the teaching assistants --                     17    stoc:d there and highlighted and 11~nl over 'ltilat I needed
18    thoy hall t en minut e non-cont act tiioo before ha111ng to                     18    to go over.       I r.ever took l t of( t he desk.              llvery week a
19    deal wi th stude~ts, nru:I ftrf goal wns to ansure t hat they                   19    ne-.... sl,eet '•"'OU)d go up.
20    adhored to that t<>n minutes timo.                                              20         Q.    I f a teachi n;i assi stant """"' in at, say, 8 ,JO
21    BY MR. CMWoN:                                                                   21    after ynu had revie•,ied and high! ighted oarres, they would
22         Q.    i\nd did yru -- so would you cenil a cressage to                     22    still be able to s ign t he ahoet for that day; correct?
23    an absent teacher, teac.hirg assistant on a daily basis                         23           A.       Yes .
24    if thay did r.ot sign in to the building?                                       24           Q.     And 1«>uld they be expec:1:ed to even if t hey
25         A.    No.                                                                  25    ~      in l ate?

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                                                             Page 106                                                                       Page H)1
  1                     Nadine Elting-llo.1:9an                          1                          Radinc Elting-D>rgJn
  2         A.      Yes. 'Olat ~a::. in cane of an errcrgency aixi we    2    Mrs. Melton on Scpte•l>cr 9th regarding her failure to
 3    had to evacuate tho building, tho clerical staff wcul d            3    r<p<>rt on that day?
 4    grab t hat clipboard. '!hat clipboard wa,, onr ir.dication         4            /\,   I did not. No, I don't believe I mached out
 5    of who was i n the t:oilding if it ever came to the point          5    to her tmtil I t hink the 9th wa!l like a Thursday or
 6    where \\'e needed to idendfy ~·ho had been in th~                  6    E'riday or son»thing like that, I don't thinJc I reached
 7    tuild.ing.                                                         7    out to rcr until m,ybe that r"nday maybe.
 B          Q.      On a daily bosis you >'CUldn' t follow LIP with      8          Q.    Ar.d b,w did you bcoore aware that !,\rs . Melton
 9    those who w,,re Mt phy,;icolly in the building; right?             9    was not physically reporting to t he bui lding?
10         A.    Ko. S-Otr:'J, can l ,rute for just a m::xnent?         10            A.    She O:ldn't sign i n and she wasn't in her
ll          Q.     Sure .                                               11    room.
12                       (Pause in proceedings.)                        12         Q.     So clid you on Septerrber 9th 11\lke roulrls to
13                       THE '11111/ESS, Sorry.                         13    the roo:n to see woo was there?
14    BY ~U(. O\Hl'Wl ,                                                 H             A.    J oade rounds every day, yes.
15         Q.      Ate you ready7                                       1S            Q.    Did you al so ncte on September 10th tliat
16          A.     Yes .                                                16    Mts . Melt001 was not physically present in the
17         Q.       Okay. At Aotr.e (X)int in tirre you tecame aware    17    building?
18    Lhat ~rs . tlal t{)Jl was :not physically present in the          18            A.    Yes .
19    building; correct?                                                19           Q.       And did you also note on Sept..,:O,,r 11.th that
20          A.    Y~s.                                                  20    Mrs. !leltcn was not physically present in the
21          Q.    1'1'hFm did J'OU: f irst bee~ aware that she was
                  1
                                                                        21    building?
27.   rx>t -- that M.r.s. ~ l ton was not physically rcp.>rting to      22         A.         Again, I don't kna. tho dltes. I believe
23    t he Im !ding?                                                    23    that \l.'5.! came back on a 'l'hur~day oo it was like two days
2~         A.       On Septed:er 9th whm she clidn 't report .          24    and she wasn't there. 1-md then thJ.t 14th I want to say
           ().      Okay. And did you conmmicate with                   25    was that t<bnday or 'l\losday, ocrrcwhcro in there, so we
                                                            Pngo 108                                                                        Page 109
 1                      tladine l!lting·Jli1:9an                         l                          Nadifle RI t ing-l>argan
 2    were back en a 'l'hw:aday and a Friday ru,d then ,,. had tl,e      2    referring to the emails that we previ.oualy 10:X-;.ed at in
 3    weeker:d and then it was Monday and then J think l                 3    Exhibit 16?
 4    reached out to her, I want to say, t<t>nd.'iy or 'tuesday,         4         A.     Yes, the one to.at I forgot to send it and I
 5    13th or 14th.                                                      s    sent    it a few minutes Later, yP.s.
 6         Q.     J.,et's just ]C()k at the ell'8.il. I 'mgoing to       6           Q.     So did you o::nmrunicate          ith Mrs. nelton at
                                                                                                                          'lt.1

 7    share with ycu what's previously OOen marked as                    "/   all hets-een your """i1 en Septeatx!r 9th or
 8    Pl aintiff ' s Exhibit 4.                                          s    Septeiroer 10th, dei;ec.di.ng on whi ch date we' re going off
 9                     (E:xhibit 4 ma::!<ed.)                            9    of, and Septettber 14th with this errail?
10    BY MR. QW,ll\N,                                                   10         A.    I don't believe I CCfmUJnicated with her
11         Q.       The emails here a.re a little cut of order but      11    ouCside of that.
12    I ' 11 direct your attention to the second page of t he           12         Q.    Okay. ma next sentence ~ .. 'lriell, there's
13    email chain. 'l'here•s an ooiail that starte on !>k>nday,         13    •currently I have you 1Mrked a.ooent for Septcnter 8, 9,
14    Septe,nber 14?                                                    14    10, and llth as }'QJ have not reported to the building.'
15         A.     M:n-lmn.                                              1S                   Do you see that?
16         Q.               that?
                    I):, you see                                        16           A.     Yes.
17         A.    Yep.                                                   17           Q.     And I telieve you testified earlier that your
1S         Q.    So is that t he email you ,,ere referring t o          18    koowledge of - -      ,,,n,   l et' s take it a step back.
19    where you reached out to Mrs. r.eJ ten?                           19                   You refer to sept...,.,, 8th, that was the
20         A.       Yes. Yea , so I was referring to the email          20    day of the virtual superin~endent' s conferer.ce; right?
21    letting her ~ low t~t the oriP- that f had sent saying            21           A.     i,e,,. Jum,.

22    that all T"8 were ""PPO""d to be in the tuilding .                22           Q.     And p.1 pr-evioo!;ly testified that you
23         Q.    Ar.d if you loo& a t the second parograp., of          2)    belieVW that. f<trs. ~~lton di.d sign in to the
24    your ereil there, it begi ns, ·AR ( shar.ed i n my lA$t           24    superinterxJent 's conference; right?
2S    cressage, " when ycu say "my bat ~ssage, " a~ you                 25         A,


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                                                                                                                                                 Page 111
 1                           Nadfoe 8ltlng· J>argan                                1                       Nadine Elting-Dargan
 7.                          MIL !~USHPIRtJ): YCAJ hav~ t.o anw,,,er wi t.h ;)     2   maybe she wasn' t. I don't know. I juot didn't have a
 3    "'">J:d, "yes" er      "tU:>".                                               3   definitive whe';l-.er she was or she wasn't . I included
 4                           '11-tH Wl'nlPSS:    r•rn oorty, y~s. J did .          4   t he 8th becaure i t was no,, after ar<l I j uot ~.adn' t heard
 5    J)Y MR . CARl'AN,                                                            5   from her fr001 any of the days, so I inclu:led all of t he
 6          Q.     Okay. Pm) m, Lhe .i nc1 usk,!'1 of SepLE-!ftlr,er 8th           6   days that we had l:een back i n sess ion.
 'I    in thi s erMil you 1i1,-::rul d agree is a mistake; right?                  7         Q.    So at the t .irr.e }U>J 1r1rote this ciroil, you
 B            A.     'J'he inclusi ot1 was t~caus& I didn 't havP-          in~    8   d idn't actually know whether she was abGent or not on
 9    possession the ,;ign-:i n aheet, so T didn 't knew -..,bether                9   September 8th?
10    che was there or not, and based on the fa:;t that she had                   10         A.      I did not.
ll    oot been reporli.ng to the bujld.ing, J l ater:- a)nclude<l                 11         Q.     Okay. And I believe    )'OU   testi f ied . . I'll
12    t hat perhaps may\<, she wasn ' t there, because she hadn' t                12   refer mr"' to SepteJlber 9, 10, and 11, which arc the days
13    reported at all .                                                           13   th.1t Mrs. ~lolton was supposed to be there in peracn;
l4          Q.    But s i tting here today, with t he benefit of                  14   correct?
15    all the hindsight, you ha•,e Septe:roer 8th, to the best                    15         A.     Yen.
16    of your kncwled,:Je, Mrs. Melton was present at the                         16         Q.     Okay. ll:xl you testified that you f irst
17    Duperintendent 'a conference?                                               17   became aware Mrs. ~.cl tan wa.o not physically p,:esent io
18          A.    At that -- again, I had no reason to believe                    18   the building on thoS<> dayc by checking the physical
19    that she wasn't becau.se it ',!,11.5 vi rtual, We're all                    19   oign-.in st.ect; corro..."'t?
20    virtual, so I believed that she was present .                               20         A.     Yen.
21          Q.    Okay. J\J.ld ycv believed today that she was                    21         Q.    Okay. Did anybcdy elre in t he wilding
22    present en that day?                                                        22   ment ion to you that !1rs. 1'lelton was not physically
2)          A.    Well, ttxlay I OOn't kn:'M bec:,mse after: the                  23   present?
24    fact when she didn't show c,p to the l:oilding and didn' t                  24         A.    J had a conversation with my assistant
25    sho,, up to t he buil ding I waa like. ,okay, ""'y!,e she was,              25   principal because we both walked the building and I

                                                                      Page 112
 l                          l!adine Bi ting-Dargan                                 1                   Nadine Eltir,g·Dar<Jan
 2    asked her if she had seen Ms . Melton, and she eaid, no,                     2   AF.SOP for these days; correct?
 3    I ""'" going to ask you the oaire thing. So we j ust had                     3         A.    She was not on the AESOP sheet, correct .
 4    th<! a,nversatioo t hat neit her of us had l aid eyes en                     4         Q.    On Septerrber 9, 10, and 11, Mm. Melton
 5    her.                                                                         5   was -- her ~ignmcnt 'ioil::: the oooputcr lab, cotrect, oo
 5           G,      I:<> you recall what day that conversation took               6   the scocod floor ?
 7    place?                                                                       7         A.    Yez. She didn't recei ve an assigrtrPJit
 8           A.      'Ihlt   ',,,\lG   on t he 9th.                                8   hE!cause we didn't have a oonversat ion al:<Ju.t what she     ti-aG

 9           Q•      So that       was on tile ( irst day?                         9   goir.g to ho doing for the day. So t he te,aching
10           •~ .    TI,.a first day, om-hnln.                                    10   assistants wem all assigned to a t'Oal"l. Most of the;n
11           Q.      YNh, okay.                                                   11   were 1«>rking in the cafetoritml because they were using
12           ,\.     And the reascn it carre 1..rp fo because we were,            12   Chromebooks to log on which they had to oomr, to t he
13    as I said, teaching a.ssista.'ltc: were acting roo about them               13   off ice to get.    And we "~re \,'Orking on securing t he
14    ocmi.ng, a"ld she wan not one that I had a convernation                     14   Intemet in all of the roon-s so t hat t hey ..,uld be able
15    with.                                                                       15   to log on and join the classes that t hey •'E!re worki r.g
16           Q.    Had yoo ever had attendance problems with                      16   with, joi n the fl'eets. Mrs. l{.eltcn had been ll.'Orldng with
17    llrs . Melton before thi,;?                                                 17   two other teachers in the building, so she was oot
IS           A.  No.                                                              18   a.ssigruY.J to a lab waiting there because no Otte was
19           Q.  She pretty consistentl y aho,,-ed u;, to 1o.0rk                  19   car.ing. She , ,as actually supporting two teact.,rs. She
20    every day en ti.ere?                                                        20   was ,-orlting with Mrs. !Inward and Mn;. Craig aoo
21           A.      Yes.                                                         21   supporting their c lasses. So all of the TAs W!!re
22           Q.  Okay. She was ccnsistent about reporting any                     22   supp:,rti.r.g teachers in c lassroans, ar.d those we~ the
23    ahsences thrcugh AFSlP?                                                     23   tw:i classes that Mrs. Melton would have been ... wag
24           A.      Yes.                                                         24   m:,pporting during this t in-e.
25           Q.      l\nd she hadn' t re{l01ted any absences through              25        Q.      And • •


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                                                                                                                                                        Page llS
 1                            Had.in& R1ti.ng ~oargan                              l                      Nadine Elting-Dargan
     2                        ''-~· RHSHFTRfJ):   Before you ask another           2           II.    I did not.
 3       quest.ion can l ju.(jt have 60 seconds?                                   3           Q.     Why not,
 4                       (Pause in proceedings.)                                   4           A.     Because she was SL.'I'PC>sed to report to the
 5       RY MR. CAA/>WJ,                                                           5   bui lding .
 6             Q.      So Mrs. r,'e] tcn was assig,,ed to assisL I.~               6           Q.     Did     )'O'O   thi nk it was important t o know
 ?       tP;a.ch,no wit h t M.i r classP.s; i s t hat oortAt..:t?                  7   .-hether any of the potentially- iirpacted tcac~,irs h.ad
 B             .~.     Y~s.                                                        B   heard fron •irs. Kel ton?
 9             Q.      /md ju$t to i:ecap, •ilhat were tho~e l\o.Q                 9           A.     I did not.         T'n ey ,ere workir.g remotely a11d jf
10       teachers' nrures?                                                        10   t~y h.1:1 a concern with a teaching assistant or a
)l             A.      Mrs . f.o,..ard and Mrs. Craig -- 11.s. Ho~:ar.d and       ll   problem within their class, they're rerrotc 1 then they
n        Nrs. Craig.                                                              12   woold share that information with ore.                 I did finally
13             Q.    l\nd if Mrs. r.eltcn had physically reported to              13   reach out to Vtrs. Craig .i.ftcr, I want to .say, probably
14       t he building, where swld she have been plr/sically                      14   Tucoo.iy or Wcdno!Xby of that - - "' coire back that
15       assigned to be throughout the day?                                       15   Thurnday, prooo.bly noybc Tucs:ln.y or Wedne.sday I think I
16             A.    In the lab where she woold log on virtually                  16   cpokc with Mrti. Cra ig, because I            WJ.D   able to reach out
17       to support thooe t\t.o classes.                                          17   t o ~.or via ocll phone to ask her if she bad heard [ nxn
18             Q.     Did ycu receive any lfessage frcm ei ther o f               18   Mrn. •klton, >nd oho ccnfi11ood that yes, Ms. •ieltoo was
19       t hose teachers that Mru. Melton         w•• not assisting               19   Digni.ng in to hor claso.
20       them?                                                                    20           Q.   I ' m sorry, I might have oJssed it . What dat e
21             I\.    Ne .                                                        21   did she confirm that Mm. M:!ltcn was signing i n?
22            Q.           Before you sent the e,,,,.n to Mrs . Mel ton t hat     22         A.     I believe i t wao Tuecday or W«tnesd:Jy of the
23       ,..-e were j ust l cx>klr.g at in f:xhib i.L 4, did you check wi th      23   foll<>'•Ul9 week. We cam, back, so the 9th was lh<L"Sday,
24       r-ts . lkro1.•atd o-r Mts. Ct"aig to see if Mrs. Melton had              24   Friday "'"" t he 10th, ruybe the 14t h or 15th.
25        reported to theft classes to assi.st?                                   25         Q.     14th was a Monday based on Exhibit 4.
                                                                       Page 116                                                                        Page 117
 I                           Nadine Elting-lla!gan                                 1                          Nadine El ting-Dargan
 2             A.     Okay, Mcnday. So I WO'.Ud say probably                       2   rm,-tJl!ll.
 3       Tuesday or l!ednesday I did f inally reach out to                         l          Q.      And Mrs. ~lton expresses ti-At she' s
 4       Mrs . Craig.                                                              4   ccccemed ab::lut yoor- emil and that she is unf:ilU"e ..·hat
 5            Q.     Okay. An<j she i nfomed you that, yes,                        s you """" by .ayin<J trot you               have not seen her.
 6       Mrs. Mel ton was, i n &ct, present to assist - ·                          6                        Do you      CCC   th.tt?
 7            A.     Was logging in to her virtual claasroan, yes .                ?          A.      Ycz .
 a            Q.     Okay. Mrs. Craig didn't othcr..iec m,nti on                   e          Q.      1'.".hat "'as your reaction to Mre. Mel ton' s
 9       that Mrs . Melton had failed to pcrfom ,ny of her clllties                9   rP..spons&·~
10       as a teaching a.ssist.J.nt to hori CC·rrcct?                             10                          MR . RUSHtlRlll, Objection to form.
11             ·A.   Uo, we did not discuss any of trot.                          1l                     You can ans\4-er.
12             Q.    This cmil in Bxhibit 4 that you sent to                      12                     You• rn asking arout t he response being
13       Mrs. Mel ton en September 14 , the t iireotalrp bore is                  13   everythi ng el",e wrote a.s cp(X)sed to what ·"'~ jWJt went
14       6:54 a .m. Based en your rcoollection, is t b.lt                         14   over; r ight?
15       approximately correct for when you zent t.hJ.t?                          15                          MR. CAJU.WJ:     She can interpret the
16             A.    I 'o not mire but I can l ook in my old cm.li l.             16   question.      If s l'.e u.-xlerstands the qu~t ion she can
1?             Q.    That's not really neceusary.                                 17   answer it.
l8                        If you go up to the f i rst pag,, then,                 18                        Ml . .USHPIEID, Object to the form of the
19       there's an eauil frm !!rs. ilelton to )'OU l ater t hat day,             19   ~sticn.
20       i t'D tire stamped here as 9:51 a .m.                                    20                          If yoo have an answer, attelll)t to answer .
21                        Do you see that?                                        21                         WITNRSS, My response """ that I was
                                                                                                            'll!E
22            A.     Mlrahnm.                                                     22   r.ot go~ to an,,.... r t he questions that Kra . Melton had
23            Q.     And iG this Mm. Melton•o responoc to your                    23   because the directive fron Or. Wade vc1s that all
24       emil?                                                                    24   teachir.g assistants we.re to t"eJX)rt to the building.                [
25           A.      Yes, I believe no, yeah, m-hn:m.           Yes,              25   believe I respooded with an email and l et hP.r ~J'.o« t hat

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                                                                        Page llil                                                                            Page ll!>
    !                  Nadine Bl ting-Dv.rgao                                         1                   Nadine Elting-Dargan
    2   ,mn she co:re to t l:e building that we coul d ha\'e t he                     2   email f rom Dr. Wade indicating t hat teaching assistants
    3   conversation.                                                                 3   nec'<led to be there. I didn't feel that I needed to
 4      BY MR. C~.!W'.N:                                                              4   e,q,lain to her .l,at ,as g,ing to happen .in the buildi ng.
    5         Q.    i\nd if you scroll CXY•n to the bottcm of page                    5   I felt th.1t she needed to be .in the buildi!l<J. and if s he
 6      2 t here's on email that starts you to Mro. ¥.elton that                      6   w,s in the buildi~ then we oould certainly have the
 7      says -- bcgi.r>.!l ' I 'moboolutely willing to sr,,ak ~ith                   7    oonversat ion ar.d I can explain to her ,;.'bat her role
 a      you."                                                                        8    ' ""'ld be and any other questions that she had.
 9                         In thnt the email you're referring to?                     9          Q.    But was it important to ~'OU trot conversation
10             A.     Yes, 11.Tll-hnrn.                                             10    take p1ace in person?
11             Q.     Very top of page 3 the sentenoe begins, ' I                   11           A.    Ycz;. I didn't want to go back and fotth in
12      sent all building tc.:1ching assistants a.'l. etm.il letting                12    an email.
13      you kiiow that a district decision had been rode and per                    13               Q.   Aru:I did you -- do you juot have a preferenoe
H       Ur. Wade's l!R'ail, you a.re all required to raport to the                  14    for in-person coor:unic.ation or          •,1.1:::   there a specific
JS      building each d:}y. 11                                                      15    rea,son th.at you didn •t want to write an ar.swer in an
16                         Is that the speci fic sentence that you                  16    email?
l7      t00ntior.ed a rroment ago?                                                  17          A.    l didn't feel that I needed t o take tiire to
18            A.    Correct.                                                        18    sit and respond to all of those questions ,i,en I had a
19            Q.    Ar.d that 1 s a reference to the cooil '-\9 looked              19    building to run. And these qurotions could M·, e been
?.O     at in ~hibit 16; correct?                                                   20    ans,.,red in person in the buildil>;) as op!)C)Sod to ,re
21            A.    Yes.                                                            21    sitting i n froot of a ocmputer wh,n I r,aoded to be
22            Q.    I ' m going to crore with you -- juot ~ moment                  22    running a building.
2l      here . tlhy did you -- why didn' t you wont to respond to                   23          Q.    So it wa.o your thought proocos that
24      Mrs. Melton's questions via canil?                                          24    responding to t hose quooticm: just waoo' t ~rt.h yoor
25            A.    Because f<rs. •ielton had also received the                     25    time in cm.ii?

                                                                        Page 120                                                                            Pag@ 12-1
 L                         Nadine &lting·Dargan                                      l                         Nadine 2lting·Dargan
 2                         MR. RIJSffi118LD: Objection to fonn.                      ,.                        'l1lB WITNESS:   I did not foel that it was
 3      BY MR. CAAM'IN,                                                              3    necessacy to respond to the email, whether it was my
 4            Q.    I'm sorry, cculd yoo repe<>t your ans--er?                       4    ti.me or -..•h.a.te1,·er else, I fel t that I gav~ M.<;. Melton a
 s            A.    Jt was "'I expectation t hat all TJl.s ..,uld be                 5    response to her email.
 6      i n the building and if there ~"as a con•,ersation that                      6    BY 14!. C/JlMAN:
 ·1     needed to hawen that we ..,uld haw it at t hat time.                         7          Q.        If Hrs. Mol ton !>.ad called you on the phone
 8           Q.    Okay. I didn ' t ask what your expe<:tatico                       8    wruld you have had the ocoversation over that medium?
 9      was.    I asked 'll°hetl-;er ycu tN,!;~ht res1XJr.d ing t o t hofw.          9               A.   Yes, l w::u).d have .
10      questions ill an errail -.'els worth your tb'oo?                            10               Q.   Did you offer co !>.ave a phone call with
11                         MR. RUSHfo'I IUJJ:   Ohject i or! to form.               11    her?
12                      THE WlTN1'.ES : I felt that Mts. l!elton                    12               A.   I ditl not .
B       chose r.ot to care to the buildi ng ar>l I was r.ot goi ng to               13               Q.   l'iby not?
14      entertain an errail conversatioo alx'lut what 'lt.'a.s happening            l4          'A..  Because tl-.e directive ..-as that all teaching
IS      in the bui}djng.                                                            IS    assistant s would report to the bui lding.
16      SY MR. CAR!!AN,                                                             1.6         Q.    So ycu ,-ere willing to have a phone call jUDt
17             Q.    That 's not t he question that I asked. '111&                  11    not will.ing to offer to have a ph::>ne call; is that
18      question that I asked is ~'hethl>r }IOU thought that                        18    r ight?
19      resporu.Hng to that emajl to Mm. Melton •s questior1a via                   19                    MR. R~HFTE!D, Cbjection .
20      e-nail was worth your ti!l"e?                                               20                         ·me wrrnF.ss,      1 -•
21                      MIL RlJSH'Fl RLD: Object ion to fonn. It 'S                 21    BY ftl . c.AAMAII:
22      been asked and ans11.l:!.r.ed twice .                                       22               Q.   l ' m sorry, could you repeat your ans...r'? You
23                     Yov can al:.teapt to answer a third ti.tre ,                 23    were talkJ!Y;:1 over each other.
24      It's just argumenta tive . (',o right ahead, ans.-er the                    24               A.   l did not feel the need to o ffer a ph:>ne
25      question.                                                                   25    c:.i.11.


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                                                            Page 122                                                                       Page 12:l
 I                     Nadfoe l-:lt ing-Dat9an                           l                        Nadine EJtir.9-Dorgon
 2          Q.     Take ;a lock at what has prcviouoly been             2          A.     'I'hiJ.t 'G whJ.t i t cayn .
 )    11'6.tked as Plaint i ff's Fxllibit 5.                            3         Q.      AM so i f an employee filled thi s a,t,
 •I                     (E:Xhi bi t 5 marked, I                         4    anm,•ercd a qucntion 11ye:o" and oouldn 1 t care to the
 5    RY ft.:.~. ~ :                                                    5    buildi!l!), they woulch1' t be able to physically•~ the
 6         Q.      I.et me knm,,, \\1ien rou have it up.                6    attendance sheet , t.wld they?
 7         A.      1 have it .                                          7          A.       Tont i s correct.
 B         Q.      Okay. Have you ever seen this docurrent              a          Q.       Did you h.1vc ~ y oort of procOOure in place
 9    before'/                                                          9    at the bcgiMing of the 2020, 2021 school year for
10         A.      Yes .                                               10    foll<r,ir.g up with p.cpl.e wh.o failed t he health check
ll         Q.      What is t h is?                                     11    form and coold r.ot oocoo to t he building in pen;or,?
12          A.     It is t l:e district ' s hl>alth chcck that every   12                    MR. RUSl!F!ElD: Objection to form. When
13    staff crettber- has to cooplete before e nt:edn9 the             13    ycx, say "failed the healt h check f orm" you' re aayi ng yes
H     bui.ld.ir.g.                                                     11    i n res{X'.)Ose   to the question?
15          Q.     Okay. /ind if ""e look at the ir.st wctiort.<.J     1S                        ~- C'J.R>Wh Yeah, oould tx>t enter t he
16    there at the top it s ays "Prior to P.nte.rh19 any buildi ng     16    bu_ildirtg as a rf!-.sult of one o f their ans~ra .
17    in the Poughkeepsie City School Dist rict, ycu nust              l'/                       'IH& lil'l~'JlSS, There is a UlV!l)•l 9 task
18    oaiplete t.he following heal Lh check Conn. If }'OU              18    force.      ·J1ten:! 's a octnnunity of people !i\1YJ reviewed t hese

                                                                       ,o
19    answered 'yes ' to any of t hese questions you canoot            19    dOC\.lfnP.nts every day.     I was n:>t one of them.
20    enter the Wildir..g. "                                                 av :-fl.   CAWW1:
21                        Do you -   that?                             21          Q.     SC ycu didn't Jeno,.., .,.1:,o answered • yes or •no•
                                                                                                                                       8




22         A.      Yes.                                                22    on any cf t he health forms; is that correct ?
23         Q.    So if an etsplo~e fills this fonn cut and             23          A,     I had ac<:ess to t he health fom and,., check
24    answers "yes" they are not supposed to come to the               24    t he l:ealth fotm for thoce entering t he building. So
25    blll!dlng; right?                                                25    anyone -who entered tlt.e building there was a greeter at


 l                    Nadioe Elting-Dargan                              1                        Nadine Rl tirtg·Dargan
 2    the front door. They would so do<,,,, the l ist of the            2    spreadsheet. 'lne gteeter tor the IYJildi og has access to
 3    form. If Ms. lleltcn had checked 'yes" on her forn, and           3    t he spreadsheet. 'l'ney look at i t as people enter the
 4    cone to the building theo the greeter W-JUl d have bl;O",!ht      4    buil din<; to ocofii:m that t hey' ve eottpleted it before
 5    to my attention "ehe checked yea to a question an:l she's         5    ent ering the building.
 6    here.•                                                            6          Q.     so ea.ch day every enployee who's stJAX)sed to
 7         Q.    !Jut if she follo""Jd this instruction and just        '/   ~ r t to the bui lding is required to f i lJ cut the
 8    filled out the form and did not c,:,re to the building,           s    heal th form; right?
 9    then you .wld not know why she wasn't at t he building;           9          A.     Prior to entering the buil ding, yes.
10    correct ?                                                        10          Q.     l\nd j uat to be clear, that is only going to
11         A.    I would net.                                          11    awl y to people who are ac tually ccxn.lng into a building.
12         Q.    If you scroll all the ••Y down to t he bottan         12    So if a teacher who is worki ng Teriotely is not co:nin3
13    of Bxhibit 5 there 's a sulxnit button.                          13    into the building, they d:>n't have to fill out a health
14                   Do you see that?                                  14    form; right?
15         A.     Yes.                                                 15          A.     Correct .
16         Q.     What hapt:>eru, when ao e"l)loyee clicks the         16          Q.     So for toose who have t o report to the
17    sul:mi t button?                                                 11    building, """1d the record of i.!iether. socrebody filled
18          A.      I t• • sul:rnitted ard it goes into a              18    out the health check form or not be another way t o
19    spreadsheet, an Excel spreadsheet where you can see              19    measure their attendance?
20    C'teryone who respor.ded to the survey. 1hat spreadsheet         20          A.     M>, t his "",aa not used for t he pu.rp:)Ses of
21    is then broken up. It 's a district~~ ide sheet ard it           21    attendance .
22    also fil ters out by building.                                   22          Q.     ll'.'lO do you u,;e to c heok other records of
23          Q.     And who dces that spreadsheet s•t sent to?          23    attendance?
24          A.     All administrators have access to the               24          A.       I 'm sorry?
25    oprcadsheet and the tas~ force has access to cl:e                25          Q.       So I ' 11 rephrase the quest ioo.     If a person


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                                                                  Paga 126
 l                    Nadine Bi ting-Dargan                                    1                            Nadine Elting-Dargan
 2   failed to report to t he building as they had been                        2    to do.     But I believe if t here wao an fo.su~ \o:ith
 3   direct ed to do, "'"" there any process in place to check                 J    cxpooure or zmcthing of that nat ure, there "'~~ fhe
 4   that person ' s oooplet i.on of the heal th che<:k form to see            4    i ndivi dualo designated in the district, and tooi;e "''"'('
 5   if that pethaps provii,d an explanat ion as to .ti)' t hey                5    the people you woJld contact if you had a ccnoen1. You
 6   were not physically in t he building?                                     6    would ooot'1ct too building adminiotrator t o say (l"rhaps
 7        A.      l{o.    Staff   1r8Tlben;   \';ho are $kk or have a          '7   I came in contact with 50!000ne or I wa5 p:;,sit i ve and
 B   reason to oot wire to work that I s whaL AE.90P ls for, to                8    then I would contact too contact tracer. I WO'Jld
 9   indicate your reascn for your absence and \;1h}• yo·.1 're               9     oootact Dr. Wade who would theo desi!jllate ""''"""'' the
10   not -- you know, to indicate ,ey you're not there . 'Ille               10     nurse, to track and that prooe.ss would begin.
11   health check is w,ed to tracl< individuals in ·t he case                11          Q.         But \'OU   ,ml d agree it would provide t i:,,
12   that there was a positive result and )'Q'O needed to                    12     specific instruction if ycu answer "ye~" you carinot ccme
13   i dentify whom had -- who hod been in t he boil<iing at                 13     to th~ building physically; correct?
14   what tirre they had been in the building to -- for                      14           A.        Yes .
15   conta:t tracing.                                                        15          Q.    Okay. Is i t your testimony t hat. the t.ealth
16        Q.      So t he health check form was o.'lly used fer              16     check form was not used for any purpo.se other than
17   oontact-tra:ing purponec?                                               11     contact tracir.g; right?
lB        A.     Correct.                                                    18          A.         Correct.
19        Q.     Tho rcoulto -- ,,,11, io it aloo fair t o say               19          Q.         Did Mrs . Melton report in perscnt to work
20   the health check form provided cpccific inotructioru: to                20     after ycur email September 14?
21   cm;,loyees oo what to do if they answered •yes" to any of               21          A.         She did not.
22   the questions?                                                          22          Q.         Did you ever follow up with her again?
23         A.    'fr.e health check form has been revised a                  23          A.     I'm not sure if I &cnt her another errail or
24   numl:er of times since the firot form was distributed om                24     i f I -- actually at that point I rcachoo out to •• lhe
25   there were 50000 indicators in there what to do, what not               25     last tim> I reached out to II.rs. Molten, r did CC\.'>Y
                                                                  Page 129                                                                     Page 129
 1                       Nadine Elt ing-llargan                               1                       NadLr:ie El Lit:<)-Oargao
 2   Jenequa Faircloth s'ho wao the union prcoiccnt for the                   ,.    r.::rs. >~lton was not CCf'mtUJ'licatir.g with ire in reference
 l   paraprofessionals, the teaching assfotanto.             J\r.d that       3      to why Aile was cut, so my hope was that she would
 4   was my last correspondence with her -- well, no, this                    4     ccmrunicate with her union president .

{!   """' my !ant one was the last ooc you j ust had up which
     said that I sO<tld nrct with you when you cruoo in, but I
                                                                              5
                                                                              6
                                                                                            Q.    You said Mrs. Me.lton was not corrmuticating
                                                                                    with you he.r reasoo as to \\-fly she was cut . What' .s your
 7   didn' t rcspor.d to it in an em.tll. After thot I reached                1     basis for saying that?
 8   out to Dr. Wade to say that Mrs . fl.el ton had not reported             s             A.    Mrs. r-'..eltoo never sent rre an email indicating
 9   to the bui lding.                                                        9     that per her responses to the health check, she was not
10        Q.      ~   you recall when you sent that "'1'9il to               10     allo.red to come into the buil ding or that she had Ileen
11   Dr. Wade?                                                               11      ill or that there was an~hi ng oi: 'lliha.tever i t was that
12        A.    I wa.,t to say the 14th, '"'}be the same day,                12     was """"9  as to why she couldtl ' t core into t he building.
13   l'm not sure ,                                                          13     I di dn't receive anything from 1-lJ:s. Melton indicating
14        Q.      And you m:,nt ioned that you copied                        14     that she was not able to         ~    tc '"Ork.
15   Ms. Fairclcth en your response to Mrs . Melton; is that                 15          Q.      Okay. Did you ever ask Mts. Melton if oho
16   right?                                                                  16     was rl!porting to heC' classroans through the G:ogle Meet
17        A.      Yes.                                                       l'I    ot whatever p)atfotm was l:eiog uf;(:!d?
18        Q.     And what was the reascn for copying                         18          A.     l did not. Once the di rective was it:suod to
19   Ms. Faircloth?                                                          19     report to t he buil ding, my goal -..>as to have Mnl. M?lton
20        A.     Ms. Faircloth was the president for tM tmion                20     oore into the boildi.ng. As a building a<hi.nistrator, I
21   and any tima I had an i ssue with an eq,loyee and they                  21     walk~d th@. buildi ng e·.,ery day. r witnessed the teaching
22   \i.~ re a member of a bargaining unit, I would reach out to             22     assistants in tl-eir cla.c;sccxxn working with their
23   that individual to let them kn::lw that there's a                       23     students   60   Lhat l could verif y a,yself t hat t hey wore
24   situation that could l e~d to a critical evaluati on                    24     doing the job.
2S   letter or anything of that sort . Ar.d so I --                          25          Q.      Js i t your ~inion that -- well, as the


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                                                                  Page l.lO                                                                 rag4:'l 1J J
 I                       Nadine Hl ting-Dargan                                 1                     t\adi ne Elting·Dargan
 ?.   sclux>l pr .inci.pal o f M.:>rse, if a student -- or if a                2                     nt£ Wl'INESS: That was a ooncern for rr':'l,
 3    teaching as.qj stant was not physically in the building,                 3    yes, that she was net repo1t ing t o tha building and 1
 4    cx:1.Jld t hey ccnp1ete their duties?                                    4    did not know ,my.
 5                       MR. RUSHFIE:LD: Objection t o fom.                    5    BY MR. CAAMl\ll:
 6                       Go ahead and att~rrpt to ans-.er.                     6         Q.    Was that your only concem?
 'I                      1'HR Wl'lllF.SS, I believe they CCllld.               7                     1/R. RIBHFJBLD: Obj ection to form.
 8    BY MR. C/IJWM:                                                           8                     rnE WITh'BSS: ht the ti<e, yes.
 9          Q.   11,ey coul d ccmple:e their duticc even if they               9    BY ML CARMI~!,
10    were not physically in t he l;ui ldi r,;'I                              10          Q.    Old you ever receive any oorpl aints fr.co
11         A.    If they ha:! access to the Google Classroo:n                 11    ar1yone that Mrs. t'.elton was fail ing to perfonn Mr-
12    and to work with t~.e teacher , yes.                                    12    duties of ansioting tenchero b the classroom?
13         Q.    So is it fair t.o say thal the only iSb"l.le }'Ou            \3                     MR. RUS!IPIJ!lJ): Objection to fom.
14    had with Mrs. r,,ltcn -.as her Eailure to physically be in              14                     Yo.i <'..ln ansi,,er.
15    t he wil ding?                                                          15                     'tll8 WTTNl!S.~, W:,v,..n are we talking about?
16                     MR. RUSUFTELO:         Cbjection to fom.               16    BY MR. CAWl!N:
17                     You can answer.                                        17         Q,      Any point in tim,. Any point i n tim, from
18                      'l11E W[TIW.,SS: l ' m sctr:ry, can you repeat        18    t he tiu1& th.lt you realized she was not physjcally io the
19    that?                                                                   19    building to today.
20    BY MR. CIIRY.A/1:                                                       7.0          A.    r did oot h:we the oonvcrsat ion with them
21         Q.     Sure. l s H coi:-r:ecl that the only issue you              21    outsi de of askir.g Mrs. C'rai9 the one tiMe was are
22    had with Mrs. llel.t on was her failure to physically be in             22    assisting in the classroom, wac she logging in to the
23    the buildfrq?                                                           23    meeting. And no, I did not have ;r/ff conoom cotside cf
24                      MR. RUSHF!RLD, Objection t o fonn.                    24    that.
25                     You c.an ans-111-er.                                   2S          Q.     Okay. Did ycu ever opeok to any other

                                                                                                                                            Pag.e 133
 l                     Nadine Blting-rargan                                    l                    Nadine P.l t jng-Dargan
 2    teaching assistants about Mrs. r,.)ton ' • l ack of physi cal            2         Q.     You have t o say their names.      If yoo know
 3    presence in the wil ding?                                                3    their names, you. have    to   say them.
 4         A.     Yes, I did. I spoke wi th Sara Hear.an who was               4         A.      Mrs . Holkway asked ire why is Mrs. tielton not
 5    the teaching assistant cui ldi,:g rep. r asked ~,er if ohe               s    in the building, Ys. Biar,.ea asked m, why was Hrs. Mel ton
 6    had heard from Mrs. Melton.                                              6    not :in the. building, Ms. Jchnson asked rre why was
 7         Q.    Ik> you recall when that conversation took                    '/   M.rs . Melton Mt in the building, and how is i t that she
 8    place?                                                                   8    could stay !too, and they couldn' t .
 9         A.     I believe it """ probabl y the 10th tMybe,                   9          Q.    Are }'O'J a1<are of any •• otller than physically
10    betwoan tho 10th and t he 14th, I ' m not sure.                         10    being in the building, are you a.are of any ""Y in wch
11         Q.    Okay. It waa around the time t hat this issue                11    Mrs. Keltcn's duties wer:e dj (fer.ent: Utan any of those
12    initially arooe; correct?                                               12    teaching assistants?
13         A.    Yeo.                                                         13          A.    Her duties    ,-.revery different becawie oho
14         Q.    J\ncl what did you talk to Iola . !lernan about ?            14    was not di.J.-ectly in a claaaro:rn ~tth students all day.
15         A.    If cite had heard froo Mrs . ~lel ton.                       15    She was in the lab . She set up the lab ar.d prepared for
16         Q,    And what did she tell )'OU?                                  16    assessmeot-s and evaluations or whatever:- else was coming
17         A.     No.                                                         17    throogh t he lab. She c,.'Overed for teachers preps 1-ben
18         Q.     Did a.'Tj teaching assistants ever conplain to              18    teachers went on prep and J didn't have a substitute she
19    you that r.rs. lleltcn was not physically present in the                19                                                · differmt in
                                                                                    covered. Her te!3p::ma.ih1HtlP..s w~re ve:r:1
20    building?                                                               20    that she did not -· when she covered a l unch or a lt.mch
21         A.     Yes, several of the teachi ng assistants                    21    duty, she '""1Jld bring tru, children d°""1 to t he lab as
22    wanted to !mew t,,.., did she get to stay oowe am they                  n     cppooed to taking t.lie children out on t he playg,oond for
23    didn' t.                                                                23    recess .
24         Q.     Which teaching assistants?                                  24         Q.     1 thcught Mr.A. Melton wt1s asi;istir:g Craig and
25         n.     I don' t ·,dsh to say their narres.                         25    another teacher?


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 l                       Nadine Rl ti.ng·lJargan                                       1                         Nadine 81t i ng·Darsan
 7.   prior t<> al:'ri vin.g at r-'.<>rae t lertP.r1ta.r.y Sct~oo1. "                  7.   Septer.her .,.'Tiether this healt:h c:hP.Ck fo1m rerraioed
 3                       ls there anywhere in this doo.m~.nt that                      3    ac;L.ive?
 4     il says i t's l imited to specif ic days?                                       4          A.     '1'1e fonn \oras t:liere .   I r>evP.r went back t o it,
 5          A.     'l'his d:x-wtt~nt "';~ s attaclied to a t.eito and you              5    used .it, afte.r the days of teacl-.-P..rs and 'L\s eating in to

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 6    had tu click the Urik i n the lx>ttooi o( t.h~
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             gave you specific dates hi 'Which w~ were (.'O'nducl:ing
                                                                           '11. i.e
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                                                                                       6    set up dasaroore. It wa.a never used after that,
                                                                                                  Q.   lt -v.•a5 ne,;er taken cb,,;n, t.o your knowledge?
 8    Ol' ~ming t~ building for s :aff to co:re in. SO thie                            8          II.  We 11 , you had to open t ll<l ...,., to open the
 9    dcx."Uire:nt wa~ only used for those two to t h'J"'Ae day$.                      9    fon1 to set to i t . So il wasn 't posted sare-...ilere for
10           Q.      There •s mr"'here on this document that it says                  10    people to uoe on a daily basis. It w;ic a llnk in the
ll    thal it 's l imi ted to tho.:;e Hpecific days; cocte-::l?                       11    """'° that you had to clic'.< oo on t hose dayo that you
12            A.     BP.fore ynu ge-t to the d:x,1rrent it ha_s the                   12    were going to care in.
13    specific dates in the maro for the days that t he                               13         Q.       Right . But the link rerainod acti ve after
14    building will be cpen. Once you open it -· no, there' s                         14    the first ,-eek of Septe:nber; right?
15    nothing in the doc1Jrent itself.                                                15         A.       Yeo, it did.
16           Q.     Okay. Do ,,,., kn"" once thooe f.,, days - • do                   16         Q.       Okay. ilnd do you knew where the •·         '°•
                                                                                                                                                    let' s
17    you re:rei!ber spec ifi cally which days they ,-ere this was                    17    look ckr...n at the bottom here t here 0- a oubmit button .
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18    in use?                                                                         18                      Do you see that ?
l9           A.      I want so say 1taybe Septaroer 3rd or 4th or                     19          A.     Ye,,.
20    2nd or 3rd, I can't remeooer. I'd have to !)'.U.l up the                        20          Q.   0~.ay. What happens wr.en an CJ\'l'lOye< fills
2)    """"·                                                                           21    this out and clicks the subnit button?
22         Q.          The first week of Septe;nber, l a tbat about                   22         A.    It filters into an Excel spreadoheet and that
23    d ghl?                                                                          23    spreadsheet again my a55iatant principal Mm. Penn would
24               A.    Yes .                                                          24    use that oo those days that we were ooming into the
25               Q.    o:..,y .   Do   you kr,u., after the fit-st ""el< of           25    bui !ding. 'lie •-ere checl<ing to see      •no was in tho
                                                                          Page 140
 1                     l!adine Elting-Dargan                                           l                         Nadiru,  Elting·lm~an
 2     building. And again, i t was used for purposes of                               2    for a nmcnt. I have a 3 o'clock that I need to l•t
 J    contact tracing in the event that during those days t hat                        )    ffl'/ •• one of ffl'/ teclul knew to CXll!IIIUilicate.
 4    ..., had staff caui.n;; in and setting up if •e bad received                     4                         (Discuooico held off tho record.I
 5    a report or an incident of anything occurr~ or anyone                            S                         (Recess taken.)
 6    getting sicl<, '" •culd able to go back and iomedi.ately                         6    BY MR. CM!'lll!:

                                  =
 7    pull to aay, okay. these are our teachers. 11,is is our                          7            Q.    Mo. Dargan, oo I believe you testified that
 8    staff that we bad            in.                                                 8    t.>ie Morse staff health check fonr, that i$ Bxh.i.bit 6 was
 9           Q.    And do you kncra it that cproadshect still                          9    sent to staff t he first week of Septen-ber-; ls that
10    exists?                                                                         10    r ight?
11           1\ .  Ye~, it does. I believe it :;t i ll exists                         11                        ?-R. C'ARMN~: ll.s . Dargan, you a.re on mute.
12    OOCJU!:le we nover U!iod i t after, ar: I &aid . So I 'msure                    12                        'll!E WI'INESS: Sorry. Yes, that ls
I)    if you clicked on t ho link ic doesn' t just go away or                         13    correct.
14    expire.                                                                         14    BY 14!. CJ\RMA!I:
IS           Q.    So lb. l'cll.'1 or yourself could access the data                  1S            Q.    1,rul the Poughkeepsie City School Olstrict
16    and see if sarebody bad been filling this out even after                        16    ™"'1th check form that's s"'""1 in l!xhibit 5, that became
1?    tbooe t hree days?                                                              17    a•tailable when?
18           A.    Correct .                                                          18                        MR. RUSJ!PIELD: Yoo ' re not asklrq about
19           Q.    Okay.                                                              19    this particular one, yoo're asking l:ecause $hP. 1S
20                     MR. Ci\RMl\N: fir. Ru.ohfield, to the extent                   20    testified there's various ones like this; so you're
21    that that exists, '" "'ul d lil:e i t t o be produced.                          21    asking about the first one, I gucsa?
22                     MR. RUSHPi l!LD: Put it in writing, give                       22                        MR. CARl'All, l' 11 clarify.
23    "" a letter or Ml email or S011Cthir.g and I will forward                       23    BY IR. CARMAN:
24    i t to whoever might have access .                                              24            Q.    When I tal k a.bout t ho Pooghlc•epsi• City
2,                     M WI'.lNESS: I juzt need to take a break                       25    School Cistricc health check form, unl•ss it is


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 1                    Nadirui ~:lting-Dargan                                   1                       Nadir.a E'.1 ting-Dargan
 2    particul arly relevant to th~ que~tion that I'm asking,                  ?.   Sept.enJ:er 10th; is r.11at r ight?
 l    _yo,J can as..~uma that l •m referring generally to all                  J           A.     Yes . Aell, t he 8th started s11perinteodent 10
 ·1   :iterat .ions, all versiol')S of the P:.oghkeepsic City School          ~     ccnfer.ence day.
 s    District health <:hec:k Conn. If t here is particular                   s            Q.     Right. Okay. So i t was so,,,time before
 6    l anguage that appear~ .i n Rxhibi t 5 that you believe does            6     Septlffilber 8; oorrect?
 ?    or dOP.s riot ap~ar in other versi.cns, and if tha.t i s.               ?            A.      Yes.
 8    m l~vant to th& answer that you 're giving to a question,               8            Q.  1:.i you have El<hibit l in front of you still?
 9    pleaS<> note that. That is totally fine. But if I just                  9     1 can resend j t i f you need m2 to.
10    generally say E'oughkeepsie City School Oi$trict health                10            A.      Mn-rum.
1l    check fonn, l rooa:n any coe that was ever available .                 11            Q.      1'hat is the •,.-e lcct00 back im;ro f nxt1
12    Make$ &en&e'?                                                          12     Dr. Wade?
ll          A.   Yes .                                                       13            A.      Yes.
14         Q.    So I'll go back new an:l re ...ask rny gueation.            14           Q.       If     yr,J   look at the n11nuiered p,,.ragr,pho near
15                     When did the Poughkeepsie Ci ty School                15     the bottom of t he f irst page there'• OUJOOered para.Jraph
L6    District health cl.eek foxm such ;;rn the one shawn in                 16     2.
17    Exhibit 5 becom, available for at.;iff - " ' to use?                   l.7                           Do you eee that?
18            A.       l 'm not sure e>( tl:;e P..xact. date. t believe it   J.8          A.       Yes .
19    wae maybe late /Wijuet, just befo>:e •chool started                    19           Q.       And it •a}"' 'The heal t h chock survey llllSt be
20    acxretirre in there, i believe. Actually it ',,'iiS before             20     coopleted no earlier t han b.o hour;s before entcrin.3 the-
21    that because ~hen "'~ ( irat started comir.g back into the             ?.l    building. "
22    bui lding,, we had t o oc:,rplete t he h•.alth check form, so          n                             rs Jt yoor understanding that the health
23    l'rn (u.>t [X>sithe o( the dat:e , but it was prior to the             23     ch?.ck survey 'refer red to in nurrbered pai:agraph 2 of
?.4   f.it:'St ....~ek of school.                                            24     ill<llibit J is the l>:>ughkeepsie City School District
2;            Q.       And the first -ic of school began                     25     has.1th check fol;TTI such as the coo s:.,1.0'"11 in Exhibit S?

                                                                 Page 141                                                                          Page us
 1                   Nadine Bl ting-Datgan                                    l                    Nadine Blting-Da1-gau
 2         A.    Yes, that is correct. Or. Wade '-iQuld not                   2     That was only for those coming in to l+Jrse to Get up
 3    have been aware of the !brse form.                                      3     their rooms.
 4         Q.    Okay. And ao ae of September 3rd -- or is it                 4     BY MR. C/IW/,N,
 5    fair to say t hat tt.e Pooghkeepeie Cit y SChool District               s          Q.     Okay. So r•n rephrase ro:y question then.
 6    district-wide health check fo:m would have l:e,;n                       6                     'lbere we.re t,..,.,..,) di f (erft versi on.D of a
 7    available at l east as of September 3rd?                                7     health cheek form sent to l'l:Jree ""'?loyees within two or
 s         A.    Tt,.at if; correct, and that ~-as t he CJq>eetation          8     three day,, of one another; is that fair?
 9    toot all staff s-cul d be completin,1 that district form.               9                           ML RUSHFIElD, Objection to form.
10         Q.    Okay. Md that'o allout t he tim, that you                   10                           1IIE WI'!NESS, Yeo, )'OU can say.
11    testified that the Morse staff healt h check fom Wall                  11     BY MR. Cl'J1Ml'!I!:
12    cont out to a:nployeen of Morse who were o::xning i n to set           12           Q.   I ' m asking if you would say?
13    up their cla.caroaro; correct?                                         13          A.    I would say that the Morse survey form was
14                     MR. RUSHF'IELD: Objectioo to fol'.lll.                14     sent out prior to Dr. wade•s maro, and Dr. Wade 's rrt;?rro
15                     THE WI'Th'ESS: 'Ihe r.'.orse fom was set up a         15     spoke to all district emploo1ees and the expectations
16    oouple days prior to this because the 2nd and the 3rd                  16     moving forward oaning back for the ect.ool y,,ar. The
17    .,.,re the days that the teache:s were co.-..ing in to Morse           17     Morse school forrn was attached to a 1retm that spo'.<e
1S    to prepare their roans .                                               18     specifically to t,,., days of coming in to set up
19    BY MR. CJ\RIIJl!I:                                                     19     classroan.s.
20         Q.    Okay. So there ,ere t""' health check foras                 20           Q.          Is i t your recollectioo that the Morse health
21    sent out tc employees within t'..o days of each other; is              21     check form could only be aoceeeed throogh a l ink in a
22    that fair?                                                             22     rrerroranch.":rt?
23                     MR. RUSIIPIBLD: Objection to fore.                    23             A.       Oorrect.
24                     TICE lH'lNESS ,   Not all eopl oyees, no.             24                            MR. C'.1\RIWI, Okay. Just piggybacking en
25    <hly !oloroe staf f received the Morse he"1th check form.              25     cur spreadsheet diecussioo frcm earlier, Mr. Rushfiel d,


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                                                                  t>age l\16                                                                   Fage 147
  t                   Nodine Elting-Dargan                                       1                     Jladir"' Elting -Dargan
 2     to the extent that th<1t memo exista, we would Hke that                   2          A.     Christina Gene Greco waa the nall'C of the
 3     be produced ao well.      I will include t hat in the saire               3   person '...no created U,e form and originally P.ad access to
 4    email oo ycu l,'O\lld ha"e that information.                               4   the spreadsheet . Jt was only a fe·.;. "-'?eks in that chc
 5                        MR. RUSHFI ELD, Right.                                 5   g.<:we access to };uildi(';3 administrators . We did oot
 6    BY MR. Cl>.RJ'All ,                                                        6   originally have access to the sheet .
 1         Q.      Di d an.y eaployee of Horse ever con':-act you                7       Q.     tlnen you say "we" y~ .1 ~a.n building
 s     regording clarificat ion as to whi ch health cbeck form                   8   administrators; right?
 9     they should be fillillg out at any poillt i n tire?                       9         h.      Yes.
10            A.    1/o.                                                       10          Q.      Did ~brae e ver have to clocc as a result       or
11            Q. to you icncw who had acoesa t o t he Morse --                 11    CO\/ID-19 infection?
12    the results of the l'.oroe health check form?                            12         A.    Not before I left , no . I don' t bel ieve so
lJ            A.  14rs . Penn and r:,yse l f.                                  13    after that. 'Dlerc were revcral build.iDJS that di d but I
           Q.     Anybody else?                                                14    don't believe Morcc ~ one of them.
15         A.     !lo, not that I know of anyway.                              15         Q.     Okay. The link to nccesa the Morf'.e staff
1.6        Q.     So on t hose t•,-o days that you t estified t~.at            16    health check follll of Exhibit 6, ..-as that owr available
l'/   the M:lrse health check form was in use, 1,,'ICrc either you             17    on the t-brsc School hone p.lge'?
lB    or Ms. Pen..'1. checking the spreadsheet .is people ca«c into            18         A.     No.
19    the building to n\ake sure they had f illed out the                      19         Q.     l.ook at the first poragraph instruction on
7,0   fonn?                                                                    20    exhibit 6, the !:ccor.d sentence it ca.ye, "If you an.c;wer
?.l         A.      Ms. Peru, was. She hod her &,•,ice at the                  21    •yes ' to   .l.'l)' questions do not OOO'e in and   you will 00
?.2   greeter station. ~k? didn't have il greeter en thoce                     22    contacted ."
23    days.                                                                    23                          Do you aee t hat?
24            Q. Okay. Do you knw •i<ho ha!j or had accesG to                  24         A.       Yes .
25    the results of the district-wide health ct.eek form?                     25         Q.       liho was reoporwi.ble for contacting people if
                                                                 Page 148                                                                      t>.1g.i3 l 49
 l                     Nadfoe Rlt ing-flar:gan                                  l                       Nadine Elting-D.u'gan
 2    they anawered yes• to any of these questions?
                    11
                                                                                2          A.      Tne rremo specified that for the next t -.Q days
 3         A.    J beliew ;t would have been Mro. Penn                          3    you •'OU.ld -- if you were corning illto to the building,
 4    because she creatE:d the form.                                            4    you neoded to -- and it was a pact of -- part of t hat
 5            Q.    And it's your unde~stand.ing -- you might not               5    was corrrpl.et ing t hat foun.
 &    kr""' this -- but it's your understanding that Ms. Penn                   6          Q.      And was the <rem:>randum explicit that that
 ·,   onl y checked the results for thio fom for the two doyo                   7    healt h check fom •wld onl y be uoed for t"" days and
 S    that i t ,as in use; correct?                                             8    ne"er ag-c:1i11 thereafter?
 9             A.    'fhat is correct.                                          9         A.    No. Nothing hldicated that l t ~ukln't be
JO             Q.    And so after September 21:d or 3rd, she would             JO    used after or it \o.O\Jldn't bP. looked at aft er. rt was
ll    have atopped l ooking at the results; right?                             11    only stated that yo"J would have used it for t hose t,.,,'O
12             A.    correct , t hece was no need to l ook at the              12    days for the. planning purposes of corning Jnto the
13    form at that point . The Jl:d the di strict had                          13    building . so t ~.are ...as rD conversat ion about >rhat ..-ould
14    i n:i;,lemented -· had sent Q'U.t t he ""1n.'.> r.11.t all staff had     14    hap~n after.
15    to use the district form. so ther:e was no need to                       15         Q.      Okay. We.re you aware when that <<!11l>randum
16    tronitor the for,m. anyrrore because we were:n • t using it for          16    was t.e.'lt around that the school district was developing
17    the purposes o( tlte bui l ding . l!:veryone was using the               rt    i ts a,.n d istrict-·A·ide health check fonn?
18    diatrict sheet .                                                         18         A.       ,·~s.
19            Q.     After ·· AC the~ was an i nitial rMm:ltar.dum             19         Q.     Okay. And so did ycu create. the M:>r5" staff
20    where you oaid - - J apologi1.a. I don't have t he.                      ?.O   heal th check form because the dist rict-wide health check
2l    ireiro.ratxlum i n fr:ont of re. We've requested it ,                    21    fonn was not yet ready t o go live?
22    r.opefully •e ' 11 g,,t i t soo,,. There •, as a mem:,randum             22          A.    'lh~ di strict did have a form that was live
23    wi th a l ink to the l'.orae staff he.alth check and did that            23    but i t had so mar:1y quest icr..s . As I said, the form had
24    merro.rar.dun s~cify that that he<ilth check form was only               2~    been revised so mny times. We didn't use that Mc'.ause
25    going to t<, in use Cor : hooe two days?                                 25    we didn •t need all that illformation. We , ..te really


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                                                                    ~'.1'18   J !:,I)                                                                             Page 1s1
 J                      Nadine Blting •Dargan                                               I                    Nadine Bl t i ng-!>argan
 2   trying to V11deratand and j ust be sure ,mo it was that                             2           A.     Conect . Correct. It was se1vll)(J a dual
 3   was ooming into the bu.i1di119. ll was an atte:rpt t.o get                          3      purpose. I t •,,as a nuntier of t hi~s th.it , .,"C could glean
 4   the roans set up to make w.11:e t hat we had to have qur                            4      from the information that was there.
 5   opening plan t03et l-.er which i ndicatOO tt>.at our                                5           Q.     Okay. So "1th t he ~'orse health check form of
 6   cl assr00f!'6 were set up, that the desks ;,;ere separated,                         6      Bxh.ibit 6, if a person answered "ye.s," M!l. Penn •.,.-oo)d be
 7   that we had · - we ,,,..e.re follo,,ing COVi D guidelines c1s far                   ?      responsibl e for oootacting that peracn?
 8   as settirt:J up   l'OOOlS.   SO thia fonn was to help us m;1};e                     8           A.      Yes, because -- yes.               Yes.
 9   sure that , okay, so we can go throogh •• look quickly                              9           Q.      ti> you know if anybody ans»ered yes during
10   and say, okay, we got tive f ir:::t grade. That ffe,lll!j all                      10      those t•II:) dn.yG, the M::)l."SC heal th check fonn?
ll   of our first grade classes are net. We got five seco.,d                            11           I\,    I cbn' t know.
12   grade ... tha'; r.eans all of our ·- you     kr.O'li',   So   it was a             12           Q.    Okay. Cb you know whether Or. WrlOO was a.ware
13   10JCh quicker ""Y to get tre infonMtion that we needed,                            13      that tho l<broo staff health check form was in use ,.1..,.
14   and if there ...,"Crc a.ny fosues with am•bod;t t:ein9 oic.k, we                   14      he sent hie mcnnrondur.l on Septc:nber 3rd?
15   could c,,rtoinly kncr, right a\lay who had been in the                             15           ll,   He wa!l not. kl I indicated earlier, he .,,;,uld
16   building.                                                                          16      have bad oo way of         knorllmJ.       Hc' D oot on M:)rs.e st aff.
17        Q.      So iD it fai r to oay then th.lt you were ucing                       17      He wo,oilldn 't have b:::cn copied on the aero as far as
18   the d.,to from the 11:>rse health ch.."C< form for purpooeo                        18      setting up and preparing for sturlento and sta[f to
19   other than just contact tracir.g?                                                  19      return.
20         A.     In thi.D caoe it wao contact t racing bec.luoo                        20           Q.      Ok.ly. When that ucmorondwr, · · sorry, >hen
21   \IO didn't have access t o the district form at this t ire.                        21      the ""110rorulum camrunicating the Moroe staff health
22         Q.    You also j"5t said that you w,ed thiv to                               22      check form waz !::ent, Wil.!j that only sent to >brse
23   check t o malce sure that yo, had covered all of your                              23      staff?
24   firat grade cl assroom, and all o( your seoond grade                               24           A.      Ye5.
2S   cl assroooo; is that right?                                                        25           Q.     E--0 i t   'llo'a.50 1 t   sent to anybody who was on a
                                                                   Page 152
 1                    lladine Elting·O.U9an                                              1                      ~dine Elting-°""9an
 2   COVID-plan."ling coomittee but wasn't a member of ¥.on::c                           2           A.    'lhis \"as prior to atudcnts caning to the
 3   staff?                                                                              3      building. No. 'Ihi.s •..:as onl y for ataff. We ~-e:ren•t:
 4        A.     llo, i t .-as only for l>broc.                                          4      open yet for students.
 5        Q.     Okny. Did this health check form go thr01.'9'h                          5           Q.    When did otudento otart cc,ning to tho
 6   any oort of approval process "1th the reopening                                     6      building to collect devices?
 7   ca:rnittee or COi/ID conrnittee?                                                    7           A.    I w.lllt to say             '"ybe the 8th,   9th, 10th •ilon
 9        A.     No. Again, it was only used for buildir.g                               8      superinter.dent's conference day started..
 9   purpose.s. We needed approval for things that were going                            9           Q.     And -.nP.n &tlk'lents came in on thoee days, did
10   to be used district wide.        These "'~re just for the                          JO      they have to fill out a health check form before?
11   purposes of these oo days so i t did not .                                         11           A.     They did not enter the building. No. They
12        Q.    Were staff required to care in to the                                   12      '"'""' to the door, they were greeted at the door, t hey
13   building on Septeriler 2nd or 3rd to set up their                                  13      ,.,re given a form to fill out, and thAy filled out a
14   classroom?                                                                         H       forn, they we.r e handed a device. They did not enter the
15         A.     They ,we net reguired. We •<>re requesting                            15      building.
16   that they coJre in. If thoy chooe - - they did not haw                             16             Q.    I think just a f<r, final questions hero . Di d
17   to. It i,,."asn't mandatory.                                                       17      Morse School have a marse on staff in S~pte:rber o!"
19         Q.     Okay.    Did the Morse health check form                              18      2020?
19   ccmmmicatc to any students or parents?                                             ]9           A.     No.
20        A.     No, it was just for tho staff. There was no                            20            Q.    Would yo-, agree that in general it ls ••
21   expcctatio.~ for anyone to l:e in the building except                              21      Mcirse School wuld prefer i ts teaching assista.,ts
22   staff comin<J in to prepare their      =·                                          22      perform their duties than not perform. their duties?
23        Q.     So if a student was, fer exarrple coming to                            23            A.    I'm sorry, say that again.
24   the ooilding to pick up a Chronx,l:ook or laptop, did they                         24           Q.     Sure . rt •s kind of a bread g~.r.eral questicn
25   haw to fill out a heal th creek form?                                              25      but I '11 ask it again, and if ;<>11 need further


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                                                                   Page 1s1
 1                   Nadine Elting-Dargan                                          1                         lladinc Elting-llar!lO)l
 2    clarification let rre know.                                                  2    getting a benefit; right?
 3                    Would you agree that i t's -- in the eycc                    3          li.     Yee.
 4    of Morse School , it ' s generally preferable that t heir                              Q.    0:<ay. Do you kn:r< today silother rtm;e School
 5    tcachir.g aooifltants perform their duties than not                          5    iz still operating with s:udents and te..1chers relfOte?
 6    perform their duties?                                                        6          A.     Well, the school year en:l.ed on tbe --
 7                         MR. RUSHFIELD:   Objectioo to fo1111.                   7                     MR. RUSHFIBLD: You're talking :..l:cut on
 s                     Ycu can answer.                                             8    Jw,e 29th?
 9                    nra WlllffiSS: rd say it 's an expectation                    9   BY MR. CTIJOO\II:
10    that they perf0l'1ll their duties.                                          1.0         Q.     M-/ question is today, what is ~orae School 'a
11    BY MR. CARl'llN:                                                            11    policy, if che knON1:1 that. I ur.derstand she's no l onger
12         Q.    Why is it an expectation?                                        12    principal , but if she kncr"'5 it, is fl.or~o School - - or
13          .lt. Because wec're all professionals and we have a                   13    let's say -- I' l l clarify tho quoetion .
      job to do and you get paid to do a job, so the                              14                 At the end of tree 2020, 2021 school year, was
15    e~tation is that you do what ycu' rc paid to do.                            IS    f,k>rse Eleimntary School operating with tefQte learning
1.6        Q.    llrrl that job is cbne fer the benefit of the                    16    for students an-1 re:oote teachbg for teac.Yler$?
17    students; correct?                                                          11                         I-Ill. RUSHPI2ID: You' re 111.lted.
19         A.    Absolutely.                                                      18                         'IRE WITN&SS: Sorry. No.
19         Q.    And so teaching assistants performing t heir                     19    BY MR. CAIIM1'N:
20    job functions is a benefit to the ctudcnts?                                 20         Q.    !low was ~orse School educating it• students
21          A.      That's correct.                                               21    at the end of the 2020, 2021 echool year?
22         Q.      And eo then I think generally you would agree                  22         A.    In pcrcon for t hose who OOll'{lleted a survey
23    that i t• s preferable that teaching assfotants perform                     23    and cho~o to -- for t.booc families that chose to send
24    their job functione than not perform their jcb functions                    24    their children to school, they were in person ar,1 a l l
25    because then ctudcntt:: get a benefit in.otead of not                       25    staff was in person.

                                                                   P1tg t\ lSli                                                                    Page 1 57
 1                   lladine Blt ing-Cnrgan                                        l                    Nadine Blting-Oargan
 i         Q.    When you say "all staff- that rm.ans teachers                     2    on a yearly basis and if those subs ate .q;proved and
 3    as -~ll; correct?                                                            3    they're i n the system, then yes, t hey can pick up a jcb
 4         A.       Yes.                                                           4    firat ccme, first &erved.
 5         Q.       Okay.    Just a f'"" questionc about   ho,                     5         Q.     Okay. So ther,, ' s no hierarchy for
 6    substituting works . i'l'ben a teacher is not able to teach                  6    substitut1 onc-e i t gets to the po.int --..tu~re the teacher
 '/   for s.:xre reason, they're going to be out, ~'hat •s the                     7    says, I don 't have anyt:,oo,J specific, it•e just the fiCBt
 8    proce:lure for getting • subat itute for that teacher?                       8    scl>etitute to respo.nd geto the jcb £or that <l.:>y;
 9          A.     'Ibey have to call in tc AA.<nP, whee.he< they                  9    right?
10    do it onl ine or over t he phone, they <".all in to AESOP                   10         I\.    Correct .
11    and they put i n thei r ahc.ence. 1'he put in thefr absence                 11         Q.     Okay. What happens if thero are no subs
12    reason, the date, the time, an.i they check "yes" the}'                     ii    available?
13    r.eed a sub or "no" they do not need a sub.                                 13         A.     If there are no sub$ available thee t ypically
14         Q.    And j f they check that they do need a sub                       14    the buildfog prindp>l wilJ assign one of the teaching
15    then what happens?                                                          15    assistants will be po.lied fron one of the claseee that
16         A.    If they have confh~ with so~tA that they                         16    they are wJpp:>rt:ing and they will ser,.•e as a sub to
17    are .... t hat's 9>U.19 to 1:,-ub for them then they select                 17    cover that class, i ( tOOse classes can be cancelled.
18    that person arid secur,, t he sub. If they ],.ave not                       18         Q.     If • teacher has a n,gul ar teaching iWoietant
19    confi,:,rr;d with an i ndividual, then they put "sub needed"                lS    that assi sts t hem c., a da ily basis, i s there a
20    and they close out a.ad the system then go..nerates a                       zo    pre!enmce for that tAa.ching as.<";istant to cover the
21    rep:>rt. to serd out to subs if there's a vacancy and a                     21    class?
22    8Ub can at."Cept that position,                                             22         A.      Yes .
23         Q.      And is that a first•cone, fi:rst•Sel."\<ed systa:ri            23         Q.      Ol:.ay.    Can a teacher p.1t in a preference that
24    at that p::>tnt?                                                            24    they Wnnt the ir t~ar.hing assistant to teach a class over
25         A.      Yes. All subs have t o be district approved                    25    a substitut~ teacher?


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                                                                           vm113 1'8                                                                                   Page l!.9
     l                         Nadine El ting-lJargan                                      I                   l,adine Blting·D•rs<m
     2        A.    The only time the t•acher • • the district                             2    r appreciate your takirq time to be here.
     J   expectation ·· the diBtrict r equirewent is that you trt                          3                   11lE REPOR'~: ~:r. Rushfield, did you
     4   to secure a sub before utilizing a teaching nsalat a.nt .                         4    need to order a ocpy of the transcdpt?
     5
     6
         If there iB no &ll.b then t hat t eachir.g assistant, as 1
         indicated earlier, •.'ill get preference over another
                                                                                           5
                                                                                           6
                                                                                                                       ~-
                                                                                                                    RUSIIFIELJJ: Y~s.
                                                                                                                (Off record a t J , 24 p .m. I
     7   t eaching assistant in that class. Uowever, t he dist r i ct                      7
     9   requires that you attoopt to gain a s ub before                                   8
     9   appointing - · befo re assigning a teaching assistant.                            9
 JO            Q.    l.nd do you know whet her ·· it: that a                           10
 11      cont ractual req,;irerent throllgh a .bargaining agree,rent                   II
 12      or is that just dist rict polic-1?                                            12
 13            A.    I t 'c dist rict policy. 'Ihorc ic no                             13
 H       contractual o.grc=nt pertaining t o !jubG for trochcro or                     14
15       Tl\s.                                                                         15
16                            MR. Ci\.'l>~',N:        I think that in all I have       16
17       for too,,y.                                                                   17
19                            So, Mr. Runhffold, i f y,:,u 've got any                 18
19       follow-up poi nt .o t he witnco.s is ycure.                                   19
20                         MR. RUS!ll'I BID: No, I run fine . We can                   20
21       CXCUGe Mn . Dorga,, . If you' 11 ecru! •e that email request                  21
22       t hen I wi ll fol lO'< up on it wi th the client to lllilke sure              22
23       that we can produce to the extent t hese thi ngs ca., be                      23
24       found, the thfogs you request.                                                24
25                         Thank you all and thank you, Ms. Dargan.                    25
                                                                           Page lGO                                                                                    Vage 161
  1                                                                                     1
    2                         ~ T'?'N'Rf:.r.   £itRATA CKRRT
                                                                                         '                      t, ~Al)TNR RLT INC Di\RCAN, h /Jvi: rea<:I the


 •'                                                                                     •s'
         K I TN'RSS NA.MR:    NADINE BLTI NG·DARGAN oaTE,           JUNE 29, 202 1             r m ·~1olnu (tllJXl1l i t; km :iml hctn1by tifl' i x :ny   signature thAt
         CASE tQ.MB :   CAROL MBLTO!I v , POOGH.KEBPSJE ClT'l SCHOOL                           aaiao iG t rue ..nd corrQct, o~copt           ilQ   not ed ab0'1e,
                        O t G1'1U<.."1'
  s      Rea eon Cucl<lS ,    ( 1)    to cla.ruy lbe l.'ecoro, (2! t o cortcorm         6

                                                                                        .,
         to the tactSJ       (3 )    to correct a transcri ption error,                                                                  NAOlll k 6 t.TING~OA.P.Grol

         w     other fplea&e expl.:iin            )

                                                                                        •
  6
  7      J'IMR   tnm          CJO.NCR                              RD.SON COOR

 •       --      --
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                                                                                       10
                                                                                               TIIB STATE OP
                                                                                               COUNTY OF
                                                                                                            ---
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                                                                                                                                     >
  9
         --      --                                                                                    Detore ae,
,o                                                                                     11
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                                                                                                                                                                       00

                                                                                       12      this day personally appeared !IADl h°B BLTING·DJl~C~N. luiO'/lln
ll
         --      --                                                                    lJ      to oe tor proved to me W\C:er oatb or th.rough
12
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         -- --
                                                                                       14                             I (desceiption o! identity cn~d or other
l)

u        -- --                                                                         "       d,,.:icu,mmL I   to lk! t lse petooe whose    na,oo 1u imb m: i:i.bed 1;<>
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LS
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